   24-3296 (L)
                  25-119 (Con)
UNITED STATES COURT OF APPEALS
    FOR THE SECOND CIRCUIT
                 NEWTON’S PHARMACY, INC.,

                                      Plaintiff-Appellant

                                v.

           PROCTOR & GAMBLE COMPANY, ET. AL.,

                                     Defendants-Appellees

          On Appeal from the United States District Court
               For the Eastern District of New York


  PLAINTIFF-APPELLANT NEWTON’S PHARMACY, INC.’S
                    APPENDIX
                   Volume 6 of 6


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1    UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
2
     ------------------------------x
3                                         23-MD-3089(BMC)
     In Re: Oral Phenylephrine
4    Marketing and Sales Practices
     Litigation
5                                         United States Courthouse
                                          Brooklyn, New York
6
                                          April 2, 2024
7                                         6:00 p.m.
     ------------------------------x
8
               TRANSCRIPT OF CIVIL CAUSE FOR PROCEEDING
9                BEFORE THE HONORABLE BRIAN M. COGAN
                 UNITED STATES SENIOR DISTRICT JUDGE
10

11   APPEARANCES

12
     For the Plaintiffs:        DOUGLAS & LONDON
13                              BY: MICHAEL LONDON, ESQ.

14                              FEGAN SCOTT LLC
                                BY: ELIZABETH FEGAN, ESQ.
15
                                LIEFF CABRASER HEIMANN &
16                              BERNSTEIN LLP
                                BY: JONATHAN SELBIN, ESQ.
17
                                DI CELLO LEVITT GUTZLER LLC
18                              BY: ADAM LEVITT, ESQ.

19                              SULTZER & LIPARI PLLC
                                BY: JASON SULTZER, ESQ.
20
                                SEEGER WEISS LLP
21                              BY: CHRISTOPHER SEEGER, ESQ.

22            (Continued on next page.)

23

24

25

                           Rivka Teich CSR RPR RMR FCRR
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1    (Appearances)

2

3    For Defendant               COVINGTON & BURLING LLP
     Procter & Gamble Co.        BY: ANDREW SOUKUP, ESQ.
4

5    For Defendant               KIRKLAND & ELLIS
     GlaxoSmithKline             BY: JAY LEFKOWITZ
6    Consumer Healthcare
     Holdings
7

8    For Defendant               O'MELVENHY & ELLIS
     Johnson & Johnson           BY: HANNAH CHANOINE
9    Consumer

10

11

12

13
     Court Reporter:             Rivka Teich, CSR, RPR, RMR, FCRR
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15
     Proceedings recorded by mechanical stenography.      Transcript
16   produced by computer-aided transcription.

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1                          (Video Conference.)

2                THE COURT:    Let's call the case and not get

3    appearances, which I assume the court reporter has already

4    gathered.

5                THE COURTROOM DEPUTY:   Good afternoon.      In Re: Oral

6    Phenylephrine Marketing and Sales Practices Litigation.

7                THE COURT:    Case 23-CV-MDL-3089.

8                I think there is about, if I'm counting right, 60

9    people on the phone.      Obviously I'm only go to have one

10   spokesperson per party, and hopefully less than that.

11               We've got a lot to talk about.      I'd like to plow

12   through it like Sherman through Georgia if we can.

13               Let me ask this about the plaintiffs' counsel

14   proposal as to who is going to represent what and how many

15   firms we're going to have.      The plaintiffs seem all in

16   agreement -- I'll get to the defendants in a minute -- the

17   plaintiffs seem in agreement, am I right about that?

18               MR. LONDON:    Yes, the consensus of the plaintiffs is

19   that we are in agreement.

20               THE COURT:    I have to find your box.     I see you.

21               The defendants had some concern about appointing

22   someone to be class counsel at this point.          Let me hear from

23   the defendant who raised that concern.

24               MS. CHANOINE:    Yes, your Honor.    Hannah Chanoine on

25   behalf of Johnson and Johnson Consumer, but I'll be speaking

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1    on behalf of the joint defendants on this point.

2              We have concerns with the request for appointment of

3    interim class counsel because what class are we talking about?

4    It's premature.   It's not clear what classes they will be

5    appointed to represent.     The motion doesn't identify a

6    proposed class.   There is no consolidated complaint that

7    identifies a class.

8              And we don't have an objection to the Court

9    appointing a leadership structure, obviously; but the

10   plaintiffs haven't explained why interim class counsel is

11   necessary or appropriate.

12             THE COURT:    As I understand it, the interim class

13   counsel they want to appoint is the same as one of the

14   leadership positions they are already filling.          So what is the

15   harm?

16             MS. CHANOINE:     To the extent --

17             THE COURT:    I agree, it's vague.         It doesn't really

18   tell us what they are going to do.       But if they want it, does

19   it cost the defendants anything?       Does it cost the case any

20   inefficiencies?

21             MS. CHANOINE:     Your Honor, the vagueness is itself

22   the problem.   We don't really know what this is going to

23   encompass.   And we certainly don't want to be waiving any of

24   our any concerns that might arise later.

25             THE COURT:    Okay.    Mr. London, are you trying to get

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1    a leg up on class certification to say, aha, there must be a

2    class because we have class counsel appointed?

3              MR. LONDON:     Absolutely not -- I probably am, your

4    Honor, but I'm not.    We're not, your Honor.

5              We're surprised that this objection -- we think,

6    obviously it should be done and it will assist in allowing us

7    to move forward to get to the topic of complaint and master

8    complaint and the form it will take.       As set forth in our

9    papers and response, this is quite standard, and we hope we

10   can get past this with counsel.

11             THE COURT:    Let's not worry about standard or we'll

12   get too early in a crabs path, a place I don't want to be.

13             What is the harm to get that presumably and then

14   revisiting the idea of class counsel?

15             MR. LONDON:     I don't think there is a harm.   If your

16   Honor wants to hear more argument on this, frankly, as the

17   consensus group we have placed folks to argue this,

18   Mr. Levitt, if you want to hear the strong beliefs why it is

19   appropriate and warranted now.      I'll turn to the tables to

20   Mr. Levitt.   As your Honor said, there is no significant harm;

21   but frankly, there is no harm in not doing it.

22             THE COURT:    Okay.    I can see harm in doing it.     Just

23   because it's jumping the gun because we don't know who the

24   class counsel is representing without a definition of the

25   class.   So I'd like at least a proposed definition of the

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1    class before I go ahead and appoint class counsel.

2                I'll give you one more pitch at it, Mr. Levitt, then

3    I want to move on.

4                MR. LEVITT:   Adam Levitt on plaintiffs' behalf.       I

5    occasionally will stutter when I speak.        It's not a problem

6    for me, and shouldn't be for you.       Anything that I say that

7    isn't a hundred percent clear, I'll go right back over it.

8                THE COURT:    Okay.

9                MR. LEVITT:   In terms of your Honor's question about

10   what is the harm.    Could we push it down the road, sure we

11   could.   But traditionally, not even traditionally in every

12   class case that I've been involved in, whether it's been

13   certainly as large a group as this, appointing interim class

14   counsel creates a sense of clarity and purpose.       We then are

15   able to speak for the class we ultimately propose.       We're not

16   asking for an appointment of actual class counsel, which will

17   occur at the class certification stage.        We're asking for the

18   interim appointment, which let's us go forward and speak for

19   the proposed class.

20               In terms of the defendants' point that they don't

21   want to waive anything.     The defendants aren't waiving

22   anything.    They will have every opportunity at the class

23   certification stage to say we are no good at what we do;

24   that's a conversation we can have at that point.

25               But in between now and then, there is no harm in

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1    appointing.    And it creates a greater sense of efficiency and

2    streamlining the process and investing us to the proposed

3    leadership group with the ability to speak for whatever class

4    we ultimately seek certification of and the ultimate

5    appointment as class counsel.

6              THE COURT:    Go ahead.   I will appoint the proposed

7    class interim class counsel, interim class counsel.      I will

8    expressly declare that it is without the waiver of any rights

9    on the part of the defendants.      It is not a precursor to say

10   that class action treatment is appropriate for this case or

11   that any proposed definition of a class or sub class is

12   appropriate.    That's all reserved.

13             But the plaintiffs seem to think there is something

14   useful that might come of that; I can't see any harm to it.

15   So go ahead let's do that.     Okay.

16             MR. LEVITT:    Thank you, your Honor.

17             THE COURT:    Next, the defendants are not interested

18   in any liaison counsel; is that right?

19             MS. CHANOINE:    Yes, your Honor.     We see no need for

20   formal organization of defense counsel or appointment of

21   defense liaison counsel at this time.       We have been operating

22   in a coordinated and efficient manner.       We have been able to

23   communicate in an efficient manner and will continue to do so.

24   Frankly, appointment of lead defense counsel unnecessarily and

25   unfairly burdens any particular defendant with additional cost

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1    and burdens of leadership.      And we just haven't seen any need

2    for it at this stage.

3               Plaintiffs' counsels' experience in other cases is

4    not relevant or sufficient reason.      We have contrary

5    experience among us.    They haven't identified any real reason.

6    At minimum, we would prefer any discussion around this to wait

7    until after a motion to dismiss.      If the Court thinks it's

8    beneficial, we can also discuss the proposals.

9               THE COURT:   With one caveat.     I'll let the

10   defendants do their own representations just like I'm letting

11   the plaintiffs do theirs.     But if there is going to be a

12   motion directed to what I think will be a consolidated

13   complaint, which we'll talk about in a second, if I get 12

14   largely identical briefs, I'm not going to be happy about

15   that.

16              MS. CHANOINE:    If I may speak to that, your Honor.

17              I think I can represent very forcefully on behalf of

18   defense group that is unilaterally not our plan.      I can hand

19   it over to Mr. Soukup to speak more on that, on the subject of

20   our proposal on a motion to dismiss directed to a consolidated

21   master complaint, but our plan right now is one motion to

22   dismiss.

23              THE COURT:   Okay.

24              MS. CHANOINE:    We can address the threshold

25   preemption issues.

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1               THE COURT:    I don't think I need to hear from anyone

2    else on of that.    That's my only concern.

3               Plaintiffs are in no position to insist on a liaison

4    counsel for the defendants, right, Mr. London?

5               MR. LONDON:    No, your Honor, with that

6    representation; that was obviously a concern of ours.      As I'm

7    in a case with another group here and we have been working

8    cooperatively with the three or four defense spokespersons to

9    date.    What I have seen in the past is at times when other

10   issues come up, we are forced to -- in that other case -- meet

11   and confer with nine different products makers.       I hope that

12   doesn't come up.

13              But as counsel has represented, we'll continue to

14   work with their three or four spokespersons that will serve in

15   this quasi-liaison role.     We don't care, that's fine.

16              THE COURT:    That's fine.

17              So next let's talk about a consolidated complaint.

18   The plaintiffs are in favor of that?

19              MR. LONDON:    I'm going to turn the mic over to

20   Jonathan Selbin to speak to that.

21              MR. SELBIN:    Thank you, Mike.    And thank you, your

22   Honor.

23              We will obviously take on the job of putting

24   together a consolidated master complaint.       That's going to

25   take a little bit of time post-appointment of leadership.         And

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1    so, in light of that, and in light of what we have heard from

2    the defendants about their desire to get the preemption issue

3    teed up early, which we welcome -- we think this isn't a case

4    that is subject to preemption, so we think we'll be able to

5    persuade your Honor of that.     That's an issue for another day.

6                We have a proposal that we'd like to discuss with

7    the defendants.    We haven't had an opportunity to meet and

8    confer with them about it yet, but I will flag it.      Which is,

9    that we essentially endeavor to get on file in very short

10   order what I would call a skinny complaint or a bellwether

11   complaint.    Essentially, allegedly, the core claims for a

12   single state, we would suggest New York would be an obvious

13   choice given that your Honor is New York federal judge

14   familiar with the laws of New York, but we can talk to the

15   defendants about what state.     And essentially allow them to

16   file a motion to dismiss on preemption grounds early, which

17   they want to do against that complaint, while we continue to

18   work on putting together the master complaint.

19               And the reason there is, as your Honor knows, there

20   are a couple dozen or more defendants here at issue for who

21   the issue, the laws of many states with a large number of

22   plaintiffs and getting that fully put-together master

23   complaint is not going to enable us, I don't think, to get

24   this preemption motion teed up early.       That would be our

25   proposal.    Again, we haven't met and conferred yet; we're

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1    happy to do that.

2                We would seek some guidance from your Honor about

3    your willingness to consider that kind of approach.

4                THE COURT:    Let me hear if any defendant, without

5    committing yourself, you haven't had a chance to think about

6    it or talk to each other, does anybody have an adverse

7    reaction to that?

8                I appreciate what counsel is saying.    The

9    consolidated complaint is going to have to go through the

10   separate consumer statutes in 50 states that's not all

11   representative to the preemption issue.       I think there are

12   central issues that probably span all 50 states that you

13   probably could cover in one, as counsel called it, skinny-down

14   complaint.    Anyone think that's totally not viable, we don't

15   even want to think about it?

16               MR. SOUKUP:    I'll be speaking on behalf of all the

17   defendants here.    From our perspective, that's an intriguing

18   proposal.    That's the first we're hearing about it.     We ask

19   the plaintiffs to share their views, since this is the first

20   time we're hearing about it.

21               But our initial reaction is we're a little concerned

22   about the prospect of whack-a-mole and piece meal having to

23   address piece meal issues here in a variety of situations.         It

24   could be inefficient for us if we get the benefit of the

25   Court's ruling granting preemption, and then for plaintiffs to

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1    turn around and say, well, okay, that's now not going to

2    happen so here is the next one.      But the idea, while I invite

3    other defendants to weigh in, it does have some appeal to

4    getting the threshold of cross-cutting issues resolved early.

5    From our perspective, that should be the absolute first issue

6    that the Court considers here.      We do think there is a strong

7    preemption defense.

8               THE COURT:    I think if we go with this, Mr. Selbin,

9    you got to commit to it.     That is to say, if I find there is

10   preemption -- I have no idea at this stage whether there is

11   preemption -- then you can't say, okay, the judge has granted

12   the motion to dismiss now we'll file an amended complaint that

13   we think can get around preemption.       Because that defeats the

14   purpose.   We'd be at just as long a schedule as having a

15   master consolidated complaint with a full exposition as there

16   could possibly be.

17              MR. SELBIN:    I think it's a fair point, your Honor.

18   In the context of meeting and conferring with the defendants

19   on this, which we can do this week as far as I'm concerned, we

20   can address that proactively in our discussions.

21              I do think, for what it's worth, that we can

22   probably get that skinny New York, or whatever complaint it's

23   ultimately going to be, on file certainly this month.      So I

24   think that will move the process forward and allow them to get

25   their early shot at the preemption issue.

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1              THE COURT:    I'm going to leave it to everybody to

2    talk and see if you can work something out.          Obviously, I

3    think any defendant probably has a veto on the whole thing

4    since we don't have a spokesperson for all defendants.         If

5    every defendant can get behind one plan, reach an agreement

6    with the plaintiffs, I think that might work, might.         Okay.

7              MR. SELBIN:     Thank you, your Honor.

8              THE COURT:    Next, evidence preservation.       I assume

9    that all the defendants' counsel put their clients on notice,

10   everything is being preserved.      This is not going to be a

11   problem, right?

12             MS. CHANOINE:     That's correct, your Honor.

13             THE COURT:    And I take it, you're going to start

14   giving me proposed confidentiality orders, protocols, things

15   like that, there are a lot of documents to search here.         When

16   can I expect those?    Do I have to wait for a master complaint

17   or even the skinny complaint on preemption to get those

18   preliminary orders out of the way?

19             MR. LONDON:     No.   I think those foundational orders

20   given the, I believe appointment, of a steering committee,

21   that could move forward.     We can begin those processes with

22   the defendants with the proposed protective order.         We can

23   send them a small working group already on some of the ESI

24   issues, a topic I'm very familiar with.        But we'll get

25   together with the defendants and get something committed to

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1    the Court.    I venture to say within 30 days, but hopefully

2    three weeks or so, on a protective order on the side protocol.

3                MS. CHANOINE:    May I be heard on this?

4                THE COURT:   Sure.

5                MS. CHANOINE:    Thank you.    We have no objection to

6    starting to work on some of these preliminary issues like

7    protective orders, ESI orders.     I do anticipate it will take

8    sometime.

9                One of the downsides with large industry MDLs like

10   this is it creates complexity because many of the defendants

11   here are competitors.     So there are appropriate protections

12   that need to be negotiated, not just with the plaintiffs but

13   also taking into account that defendants here, while we are

14   committing to working cooperatively here, we are also

15   competitors.    Based on my experience in other cases, sometimes

16   this takes 60 days to work out.     We'll work as expeditiously

17   as we can and work with the plaintiffs on this here too.

18               THE COURT:   I understand the competitive pressures

19   and there are ways to do it, with attorneys-eyes-only and

20   firewalls, things like that, you know all those ways.

21               Sixty days seems a little long for me; but if you

22   really do it in 60 days, I won't care.       So see if you can do

23   that.   Okay.

24               Next, I think the plaintiffs raised the issue of

25   Rule 26 disclosures.     What is up with that?

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1                MR. LONDON:    We think, at least at this point, to

2    get the automatic disclosures from the defendants we certainly

3    don't need them, and my count is 102 cases, but instead a

4    master set of these disclosures.      Everything has been stayed

5    since the transfer to your Honor, and some district courts

6    before that.    We think at the very least getting a master set

7    from each defendant moving forward.       We can discuss with

8    counsel a timeline if they need 30 days or 45 days from now.

9    But that's what we think would be prudent to move forward with

10   discovery at this point and then engage on the 26(f)

11   conference on other matters.

12               THE COURT:    I don't know how the defendants feel

13   about it.    It seems to me, in a case like this, it's really

14   hard to do Rule 26 disclosures this early in the case.         Maybe

15   they take the Rule 26 disclosure very seriously.         I don't let

16   them get that summary judgment if they didn't disclose.         I'm

17   not sure everybody knows their case well enough to be able to

18   say what evidence supported it at this early stage.         But if my

19   concern is not well-based, then fine, let's get it going

20   because that's what you're going to use to start drafting your

21   interrogatories and document requests.

22               Any defendants share my concern?        Or you think you

23   can get that in in 30 or 45 days?

24               MR. LEFKOWTIZ:    Jay Lefkowtiz representing

25   GlaxoSmithKline but speaking for the whole group.

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1              I think that it's very hard to understand where this

2    case is going.   What would be appropriate in the initial

3    disclosure, especially hearing your perspective on how

4    seriously you take them, and we will take them just as

5    seriously as the Court does, without seeing the master

6    complaint, without understanding what the real target is here,

7    I think there is a lot of work that can't really be done.        The

8    complaint really should be the first salvo in this case.     And

9    I know it may take them a little bit of time, but we are

10   already anticipating what that is going to look like, so we're

11   already working on our motion to dismiss.

12             And I actually think maybe the most efficient thing

13   to do so that we don't have to worry about this kind of

14   specter of whack-a-mole, is figure out how much time they need

15   to get their master complaint in.     Everything can tee off from

16   there.

17             But we will represent that we can file our motion

18   very shortly after that is filed.     Because, as I said, we're

19   already anticipating what it is going to be, we're drafting,

20   and we'll just have to fine tune things when we see their

21   complaint.   Then we can get all the rest of this on the road.

22             THE COURT:   Are you talking about the skinny

23   complaint or the big complaint?

24             MR. LEFKOWTIZ:   I'm talking about the large

25   complaint, the real complaint that they are going to file.

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1               Because my only concern is they will file a

2    complaint under New York and then they are going to, in the

3    context of other state law issues, raise different types of

4    conduct.   And then all of a sudden, we're not necessarily

5    going to have a ruling that addresses everything that they are

6    alleging would be at issue.

7               THE COURT:   It's just disclosure.        It's not any

8    rulings.   Basically, if you look at any random sample of five

9    complaints that have been filed, even before they are

10   consolidated, you know what they are being sued for.         Right.

11              Let me put it this way, because you don't have a

12   consolidated complaint I'll be more forgiving than I usually

13   am in a Rule 26 disclosure that needs to be supplemented after

14   the consolidated complaint is filed.       If there is something in

15   there that you go, I couldn't anticipate this, there is

16   something strange about Wyoming law that I didn't know about,

17   that would be fine.     But I really think I don't want to wait

18   60 days to get a consolidated complaint and then have the Rule

19   26(a) disclosures.    It's just waiting too long.

20              Look, we boil down to brass tacks.        Everybody knows

21   what this case is about.     Really.    There will be lots of legal

22   issues and nuances and all that in terms of the facts and what

23   happened and who knew what when.       You know where to look for

24   those documents.   To the extent they help your case, you can

25   start identifying.    Let's start in 45 days.

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1              MR. LEFKOWTIZ:     That would be for both plaintiffs

2    and defendants?

3              THE COURT:    Absolutely.     As you know, the plaintiffs

4    won't have all that much to do.      Okay.

5              Defendants said there are some improperly named

6    defendants.   Who is improperly named?

7              MS. CHANOINE:     I represent Johnson & Johnson, but

8    I'm speaking for the joint defense group on this issue.

9              We have provided the plaintiffs with a list that

10   spans multiple defendants.      And the problems are quite -- they

11   cross the spectrum.    We have completely fictitious defendants.

12   We have holding company defendants that have no role at all.

13   We have foreign defendants that are not under this Court's

14   jurisdiction and haven't been properly served.       We have

15   predecessor entities that are not properly named before the

16   case.

17             We have provided that list.        We propose that we go

18   through a process of meeting and conferring with plaintiffs'

19   counsel and look to potentially streamline the process of

20   dealing with improperly named defendants through the process

21   of the filing of the master complaint.

22             THE COURT:    Are both sides on board with this

23   discussion?

24             MR. LONDON:     Your Honor, we received the first list

25   of, air quote, improperly named defendants from counsel Friday

                           Rivka Teich CSR RPR RMR FCRR
                              Official Court Reporter
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1    night; and we thanked her for sending it.        First we saw the

2    issue was in the agenda they provided.        We received a

3    supplement from them today of the improperly named defendants.

4    I have not looked at it yet.      Of course, we will meet and

5    confer with them.

6              I am looking at some of the names right now.          It's

7    the Kenvue defendant, which is the new J&J.          It looks like GSK

8    was probably the most improperly named.        It just seems like --

9    I really can't speak to it.      It seems like they might be

10   improperly the proper name of the company.           But we'll engage

11   with counsel this week to clean up the improperly named

12   defendants.   We've done this with some of these defendants in

13   the past, in other litigation.      We will engage and meet and

14   confer as soon as possible.

15             THE COURT:    I mean, you're going to have some

16   improperly named defendants as a pure holding company.          Do

17   what you can and bring issues to me as soon as you can when

18   you have a joint issue, when you come to an impasse.          And

19   let's try to get those resolved.       We have to know who the

20   right parties are before we can do much else.

21             MR. LONDON:     Should we bring those to you in a 37.3

22   letter discovery issue?

23             THE COURT:    Yes, exactly.     What I like for those

24   kind of letters, is I like a joint letter where both sides put

25   in their positions.    And I'll either decide it based on that

                           Rivka Teich CSR RPR RMR FCRR
                              Official Court Reporter
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1    letter or I'll tell you here is what I need more from each

2    side to figure it out.

3                MR. LONDON:    Thank you.

4                THE COURT:    I think that's all on my agenda.    What

5    else does anybody have?      It would be amazing if everybody says

6    nothing.

7                MR. LONDON:    I'm looking at my list, your Honor.

8                A minor issue.    Would it be possible establishing

9    future case management conferences with the Court so we could

10   have them on our calendar?      I recognize -- I love the name

11   "skinny complaint" due in 30-odd days, then some motion

12   practice.    So if we could establish some benchmarks going

13   forward, every 45 days or so.

14               THE COURT:    Let's do 45 days to start.   Let me pick

15   a date for that.    If I'm off trial we won't have to do in the

16   evening.

17               MR. LONDON:    I invited everybody to Brooklyn.

18               THE COURT:    I wasn't sure how well a call of this

19   size would work, but it obviously is a huge savings for a lot

20   of lawyers and their clients to not have to come to one place

21   for a relatively short conference.

22               Let's say May 23 at 10:00 a.m. again by video.

23   Going once, okay.

24               I want to get to the point where we do every 60

25   days, and maybe even every 90 days.       But to start out we

                          Rivka Teich CSR RPR RMR FCRR
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1    should stick to the 45 days.

2              Okay.   Anything else we need to talk about?      All

3    right.   Thank you all for calling in.     Nice to meet you all.

4    We will be talking soon, I'm sure.     Take care.   We're

5    adjourned.

6              (Whereupon, the matter was concluded.)

7                         *     *    *     *     *

8    I certify that the foregoing is a correct transcript from the
     record of proceedings in the above-entitled matter.
9

10   /s/ Rivka Teich
     Rivka Teich, CSR RPR RMR FCRR
11   Official Court Reporter
     Eastern District of New York
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                         Rivka Teich CSR RPR RMR FCRR
                            Official Court Reporter
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                                              A-1170

                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


   IN RE: ORAL PHENYLEPHRINE                            MDL No. 3089
   MARKETING AND SALES PRACTICES                        Case No. 1:23-md-03089-BMC
   LITIGATION

   THIS DOCUMENT APPLIES TO:

   Newton’s Pharmacy, Inc. v. Proctor &
   Gamble Company, et al.
   CASE NO. 1:23-CV-09307-BMC



      PLAINTIFF NEWTON’S PHARMACY, INC.’S MOTION FOR PARTIAL RELIEF
      FROM THIS COURT’S NOVEMBER 12, 2024 ORDER ENTERING JUDGMENT
     PURSUANT TO FED. R. CIV. P. 60(B) AND FOR REMAND OF ITS LANHAM ACT
                 CLAIM TO THE SOUTHERN DISTRICT OF OHIO


         COMES NOW, plaintiff Newton’s Pharmacy, Inc., (“NPI”) by and through its undersigned

  counsel and files this Motion pursuant to Federal Rule of Civil Procedure 60(b), for Partial Relief

  from the Order Entering Judgment (Dkt. 252) (“Final Judgment”) entered by this Court on

  November 12, 2024, and for Remand of its individual lawsuit to the Federal District Court for the

  Southern District of Ohio. Fed. R. Civ. Pro. 60(b) allows for a party to seek relief from a final

  order for a reason of “mistake, inadvertence, surprise, or excusable neglect,” or because applying

  the judgment prospectively “is no longer equitable; or ... any other reason that justifies relief.”

         NPI filed its original complaint against these Defendants in the Federal District Court for

  the Southern District of Ohio on September 28, 2023, asserting a number of state law claims which

  overlapped with those advanced by the individual consumer plaintiffs in this MDL (said common

  claims being the basis for the original consolidation of NPI’s Complaint into this MDL for initial

  consolidated proceedings), along with a count for under the federal Lanham Act, 15 U.S.C. §



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  1125(A), based on NPI’s distinct status and distinct claims as a pharmacy plaintiff. After transfer

  and centralization before this Court, Interim Class Counsel for plaintiffs filed a “Streamlined

  Complaint” alleging representative examples of the conduct and claims allegedly at issue in the

  MDL related in the marketing and labeling of oral phenylephrine products. The Court granted

  Defendants’ motion to dismiss the Streamlined Complaint on October 29, 2024 (Dkt. 249), and on

  November 12, 2024, entered Final Judgment in favor of Defendants on all state statutory, common

  law, and RICO claims by individual consumer plaintiffs which the Court found to be preempted

  by the Federal Food, Drug, and Cosmetic Act (the “FDCA”) (Dkt. 252). The Final Judgment also

  dismissed with prejudice “[a]ll claims in the complaints transferred into the above-captioned

  master docket,” which includes NPI’s Lanham Act claim from its original complaint. Id.

         While NPI does not challenge that portion of the Final Judgment which dismissed with

  prejudice its claims arising under state law, the Court should not have dismissed with prejudice

  NPI’s federal Lanham Act claim because this claim was not included in the Streamlined Complaint,

  was not subject of the motion to dismiss, and is not preempted by the FDCA under United States

  Supreme Court precedent. As the Court’s dismissal of NPI’s Lanham Act claim appears to have

  resulted from mistake and/or inadvertence under these circumstances, Plaintiff NPI is entitled to

  partial relief from the Court’s Final Judgment under Fed. R. Civ. P. 60(b). Additionally, with the

  issuance of Final Judgment, pretrial proceedings in this transferee court are effectively concluded,

  and thus it is appropriate to remand this action back to the Federal District Court for the Southern

  District of Ohio where it was originally filed, so that the district court there can adjudicate the

  remaining federal Lanham Act claim.

          For the foregoing reasons, and for the reasons stated in NPI’s Memorandum in Support of

  its Motion filed contemporaneously herewith, Plaintiff NPI respectfully requests that: (1) the Court



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  enter an order pursuant to Fed. R. Civ. P. 61(b), clarifying that NPI’s federal Lanham Act claim

  has not been dismissed by the Court’s Order and Memorandum and Final Judgment, and therefore

  remains unadjudicated and pending; and (2) order that NPI’s remaining cause of action under the

  Lanham Act be remanded to the Federal District Court for the Southern District of Ohio for further

  proceedings on its remaining claim.

  DATE: November 15, 2024                      Respectfully submitted,

                                               /s/ Alyson S. Beridon______________
                                               Alyson S. Beridon, Trial Attorney (#87496)
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                                               Ph: 479-968-2030
                                               Fax: 479-968-6253
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                                               Attorneys for Plaintiff Newton’s Pharmacy, Inc.

                                               *Pro Hac Vice Admitted




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 15, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system which will send notification of such filing

  to all attorneys of record.

                                               /s/ Alyson S. Beridon
                                               Alyson S. Beridon




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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK


    IN RE: ORAL PHENYLEPHRINE                                MDL No. 3089
    MARKETING AND SALES PRACTICES                            Case No. 1:23-md-03089-BMC
    LITIGATION

    THIS DOCUMENT APPLIES TO:

    Newton’s Pharmacy, Inc. v. Proctor &
    Gamble Company, et al.
    CASE NO. 1:23-CV-09307-BMC



 PLAINTIFF NEWTON’S PHARMACY, INC.’S MEMORANDUM IN SUPPORT OF ITS
   MOTION FOR PARTIAL RELIEF FROM THIS COURT’S NOVEMBER 12, 2024
  ORDER ENTERING JUDGMENT PURSUANT TO FED. R. CIV. P. 60(B) AND FOR
 REMAND OF ITS LANHAM ACT CLAIM TO THE SOUTHERN DISTRICT OF OHIO


           COMES NOW, plaintiff Newton’s Pharmacy, Inc., (“NPI”) by and through its undersigned

counsel and files this Memorandum of Law in Support of its Motion for Partial Relief from the

Order Entering Judgment (Dkt. 252) (“Final Judgment”) entered by this Court on November 12,

2024, and for Remand of its individual lawsuit to the Federal District Court for the Southern

District of Ohio. As grounds for its Motion, NPI states as follows:

           1.      NPI is an independent retail pharmacy doing business in Russellville, Arkansas. 1

           2.      NPI filed its original Complaint against these Defendants on September 28, 2023

in the Federal District Court for the Southern District of Ohio.2

           3.      NPI’s Complaint asserted common-law claims in Counts I, II, IV, and V, which

overlapped with claims advanced by individual consumer plaintiffs in this MDL and provided the



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     See Case No. 1:23-cv-00613-DRC, Dkt. 1 at ¶4, filed on September 28, 2023) (attached hereto as Exhibit A)
2
     See id.

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basis for the transfer of NPI’s Complaint to this Court for initial consolidated proceedings pursuant

to 28 U.S.C. § 1407. 3 However, NPI also asserted a claim against these Defendants in Count III

under the federal Lanham Act, 15 U.S.C. § 1125(A), based on NPI’s distinct status and distinct

claims as a pharmacy plaintiff.

          4.      On May 3, 2024, Interim Class Counsel filed “an Initial Streamlined Consolidated

Complaint” (Dkt. 200) (“Streamlined Complaint”) under New York law alleging representative

examples of the conduct and claims allegedly at issue in the MDL related in the marketing and

labeling of oral phenylephrine products. See Dkt. 252 at 1. The causes of action asserted in the

Streamlined Complaint included Violation of the New York Deceptive Acts and Practices Act

(Count 1); Violation of the New York False Advertising Act (Count 2); Breach of Express Warranty

(Count 3); Breach of Implied Warranty of Merchantability (Count 4); Unjust Enrichment (Count

5); Fraudulent Concealment (Count 6); and Violations of the Racketeer Influenced and Corrupt

Organizations Act (RICO), 18 U.S.C. § 1962(c)-(d) (Count 7). The Streamlined Complaint did

not include a count under the federal Lanham Act.

          5.      The parties agreed and the Court ordered "that to the extent the Court grants or

denies Defendants' motion to dismiss based on preemption and/or primary jurisdiction and/or any

initial RICO argument(s) raised, the order will apply to all cases in this multidistrict litigation or

otherwise subject to transfer into this multidistrict litigation." See Dkt. 204 at 2. Additionally,

Interim Class Counsel agreed that should the Court grant Defendant’s motion, it would “resolve

this litigation in its entirety, regardless of additional specific examples of wrongful conduct,

additional products named, additional Plaintiff-related allegations, or additional state-law claims

that are pled or could be pled in a future Full Master Consolidated Complaint.” Id. at 3.


3
    See Case: 1:23-cv-00613-DRC, Dkt. 11 (attached hereto as Exhibit B)

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       6.      On October 29, 2024, following full briefing and oral argument on Defendant’s

motion to dismiss, the Court issued a Memorandum Decision and Order granting the motion and

dismissing all counts under the Streamlined Complaint. Dkt. 249. Subsequently, on November 12,

2024, the Court issued a final judgment order dismissing with prejudice “[a]ll claims in the

complaints transferred into the above-captioned master docket.” Dkt. 252 at 2.

       7.      Pursuant to Federal Rule of Civil Procedure 60(b), “[o]n motion and just terms, the

court may relieve a party or its legal representative from a final ... order[ ] ... for the following

reasons: ... mistake, inadvertence, surprise, or excusable neglect ... applying [the judgment]

prospectively is no longer equitable; or ... any other reason that justifies relief.” Sound Around Inc.

v. Shenzhen Keenray Innovations Ltd., No. 22-CV-6943 (HG), 2023 WL 5670679, at *2 (E.D.N.Y.

July 28, 2023) (quoting Fed. R. Civ. P. 60(b)). The purpose of Rule 60(b) is to “strike[ ] a balance

between serving the ends of justice and preserving the finality of judgments.” Datiz v. Int'l

Recovery Assocs., Inc., No. 15CV3549ADSAKT, 2017 WL 59085, at *2 (E.D.N.Y. Jan. 4, 2017)

(quoting Nemaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986)).

       8.      As stated above, NPI’s original Complaint brought one count under the federal

Lanham Act which was not asserted by individual consumer plaintiffs. NPI’s Lanham Act claim

was not included as a count in the Streamlined Complaint, which was the subject of Defendants’

motion to dismiss, and was not addressed by the Court’s ruling granting the motion to dismiss.

       9.      The Court’s Final Judgment dismissed with prejudice all state statutory, common

law, and RICO claims by individual consumer plaintiffs which the Court found to be preempted

by the Federal Food, Drug, and Cosmetic Act (the “FDCA”). See Dkt. 249 at 14, 16-17; Dkt. 252

at 2. However, neither the Defendants’ motion to dismiss nor the Court’s order on the same

asserted that NPI’s Lanham Act claim would be subject to preemption similar to the state law and



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RICO claims. This was correct as the United States Supreme Court has ruled that the FDCA does

not preclude a private party from bringing a Lanham Act claim challenging as misleading a food

label that is regulated by the FDCA. See POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102,

134 S. Ct. 2228, 189 L. Ed. 2d 141 (2014); see also Church & Dwight Co. Inc. v. SPD Swiss

Precision Diagnostics, GmbH, 104 F. Supp. 3d 348, 355–62 (S.D.N.Y. 2015), aff'd, 836 F.3d 153

(2d Cir. 2016), and aff'd, 843 F.3d 48 (2d Cir. 2016).

       10.     Whether caused through mistake or inadvertence, it would be inequitable and

contrary to the precepts of justice and due process for the Court to dismiss NPI’s cause of action

under the Lanham Act with prejudice, particularly since this claim was not challenged by the

motion to dismiss and is not subject to the same preemption argument which the Court found

compelled dismissal of all other state law and RICO claims asserted by plaintiffs in this MDL.

       11.     For the foregoing reasons, and pursuant to Fed. R. Civ. P. 61(b), Plaintiff NPI

respectfully requests that the Court enter an order clarifying that NPI’s federal Lanham Act claim

has not been dismissed by the Court’s Order and Memorandum and Final Judgment, and therefore

remains unadjudicated and pending.

       12.     Additionally, NPI moves the Court to remand this action back to the Federal

District Court for the Southern District of Ohio where it was originally filed, so that the

district court there can adjudicate the remaining federal Lanham Act claim. With the issuance

of Final Judgment, pretrial proceedings in this transferee court are effectively concluded, and

thus remand is appropriate. See In re McKinsey & Co., Inc. Nat'l Prescription Opiate

Litig., No. 21-CV-04386-CRB, 2024 WL 2845529, at *1 (N.D. Cal. June 4, 2024) (citing 28

U.S.C. § 1407(a)) (“The MDL statute provides that the Panel “ ‘shall ... remand[ ]’ ” each action

to the transferor district “ ‘at or before the conclusion’ ” of pretrial proceedings.”). Even if the

pre-trial proceedings here were not at an end,
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NPI would still meet its burden to demonstrate remand is warranted because Final Judgment

demonstrates that “the discrete function performed by the transferee court has been completed,”

and thus “the case will [not] benefit from further coordinated proceedings as part of the MDL.” In

re Baycol Prods. Litig., 265 F.R.D. 453, 455 (D. Minn. 2008); see also In re Methyl Tertiary Butyl

Ether (“MTBE”) Prods. Liab. Litig., No. 1:00-1898, 2019 WL 117302, at *2 (S.D.N.Y. Jan. 7,

2019) (“The party seeking remand prior to the conclusion of pretrial proceedings bears the burden

of establishing that remand is warranted.”).

       13.     As the Court’s Final Judgment has dismissed all individual consumer claims with

prejudice, NPI’s federal Lanham Act claim is the last remaining active claim against Defendants

among the plaintiffs, and so the efficiencies gained by centralization before this Court no longer

exist. The appropriate course of action is for the Court to remand NPI back to its jurisdiction of

original filing in the Federal District Court for the Southern District of Ohio for further

proceedings on its remaining claim.
DATE: November 15, 2024                        Respectfully submitted,

                                               /s/ Alyson S. Beridon______________
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                                               Attorneys for Plaintiff Newton’s Pharmacy Inc.
                                               *Pro Hac Vice Admitted
                                                  5
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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 15, 2024, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all attorneys of record.

                                             /s/ Alyson S. Beridon
                                             Alyson S. Beridon




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                         EXHIBITA
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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT CINCINNATI

  NEWTON’S PHARMACY, INC.,
  individually and on behalf of those similarly
  situated,

                                Plaintiffs,

                 v.                                    Case No. ____________________

   PROCTER & GAMBLE COMPANY;
   KENVUE, INC.; MCNEIL CONSUMER                       JURY TRIAL DEMAND
   HEALTHCARE; RECKITT & BENCKISER
   LLC; and GLAXOSMITHKLINE, LLC,

                                Defendants.


                               CLASS ACTION COMPLAINT

        Plaintiff Newton’s Pharmacy Inc., (“Plaintiff”), brings this action individually and on

 behalf of all others similarly situated, upon personal knowledge as to themselves and their

 own acts, and upon information and belief as to all other matters based on the investigation of

 counsel, allege as follows:

                                       INTRODUCTION

        1.       This case arises from the Plaintiff’s and putative class members' purchase of

 ineffective over-the-counter (“OTC”) medications drugs that were manufactured, promoted,

 marketed, distributed and sold as providing nasal decongestant effects when the active

 ingredient in those medications, phenylephrine ("PE") has failed to demonstrate any

 pharmacological benefit to treat that symptom beyond what would be offered by a placebo

 when administered orally. On September 11, 2023, the Nonprescription Drug Advisory


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 Committee (“NDAC”) to the Food and Drug Administration issued a report concluding that

 oral OTC medications using PE as the active ingredient to treat nasal congestion had no effect

 beyond placebo in treating that condition. At the time the NDAC issued this report the Plaintiff

 and thousands of other similarly situated retail pharmacies across the country had hundreds

 of these OTC medications stocked on its shelves that immediately lost value. The FDA is now

 considering whether to pull these products from the market and retail pharmacies are now

 stuck having to decide whether to pull these products from its shelves, cancel wholesaling

 contracts, or impose disclaimers that the manufacturers of these products have failed to

 include on their own products.

        2.       The case involves some of the most well-known consumer facing brands in

 the OTC medication market including Advil, Tylenol, Dayquil, Nyquil, TheraFlu, Sudafed

 and many others. Throughout this Complaint the Defendants’ OTC products containing orally

 administered PE as the active ingredient to provide nasal decongestant relief shall be referred to

 as the “Ineffective Decongestant Products.”

        3.       Plaintiff seeks damages and equitable relief, individually and on behalf of

 other class members, for Defendants’ improper marketing sales tactics that have resulted in

 retail pharmacy loss of sales and other pecuniary harm as a result of Defendant’s unfair and

 deceptive practices.

                                        PARTIES

      A. Plaintiff

        4.       Plaintiff Newton Pharmacy Inc., is an Arkansas corporation with its principal

 place of business in Russellville, Arkansas. Plaintiff is a licensed retail pharmacy and has been

 in the business of providing both prescription and OTC medications along with other personal

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 and household goods to members of the general public for over fifty years. As part of its

 routine business, Plaintiff stocked on its shelves the Ineffective Decongestant Products made

 by the Defendants. Plaintiff purchases these products through wholesalers with the intent to

 resell them to customers within the store. Plaintiff paid money for Defendants' Ineffective

 Decongestant Products and as a result of the Defendant’s false representations that these

 products provided nasal decongestant relief, and now Plaintiff has a large inventory of product

 whose resale value has been impaired. Plaintiff has also had to devote time and resources to

 establishing an appropriate cold and flu therapy inventory now that customers are beginning

 to understand that traditional brands using oral PE they relied upon to provide nasal

 decongestant relief do not actually treat such a symptom.

      B. Defendants

        5.      Defendant The Procter & Gamble Company ("P&G") is an Ohio corporation

 with its principal place of business and headquarters located at One Procter & Gamble Plaza

 in Cincinnati, Ohio. At all times material to this case, P&G has been engaged in the

 manufacturing, sale, and distribution of OTC medications containing PE that have been

 falsely marketed as providing nasal decongestant relief when in fact PE provides no such

 relief. GSK markets, promotes, and distributes Ineffective Decongestive Products containing

 PE through the Vicks, Dayquil, Nyquil, and FluTherapy brands.

        6.      Defendant Kenvue Inc. (“Kenvue”) is an American consumer health company

 and formerly the consumer division of Johnson & Johnson (“J&J”). Kenvue is headquartered

 in New Jersey. At all relevant times Kenvue and its predecessor J&J has been engaged in the

 manufacturing, sale, and distribution of OTC medications containing PE that have been falsely

 marketed as providing nasal decongestant relief when in fact PE provides no such relief.


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 Kenvue and previously J&J markets, promotes, and distributes Ineffective Decongestive

 Products containing PE through the Sudafed PE and Benadryl brands.

        7.      Defendant McNeil Consumer Healthcare ("McNeil") is a wholly owned

 subsidiary of Kenvue with headquarters in Pennsylvania. At all times material to this case,

 McNeil has been engaged in the manufacturing, sale, and distribution of OTC medications

 containing PE that have been falsely marketed as providing nasal decongestant relief when in

 fact PE provides no such relief. McNeil markets, promotes, and distributes Ineffective

 Decongestive Products containing PE through the Tylenol Cold + Flu brand.

        8.      Defendants Reckitt & Benckiser LLC (“Reckitt”) is a Delaware limited

 liability corporation with its headquarters and principal place of business located in

 Parsippany, New Jersey. At all times material to this case, Reckitt has been engaged in the

 manufacturing, sale, and distribution of OTC medications containing PE that have been falsely

 marketed as providing nasal decongestant relief when in fact PE provides no such relief.

 Reckitt markets, promotes, and distributes Ineffective Decongestive Products containing PE

 through the Mucinex brand.

        9.      Defendant GlaxoSmithKline LLC (“GSK”) is a Delaware corporation with its

 principal place of business in Philadelphia, Pennsylvania. At all times material to this case,

 GSK has been engaged in the manufacturing, sale, and distribution of OTC medications

 containing PE that have been falsely marketed as providing nasal decongestant relief when in

 fact PE provides no such relief. GSK markets, promotes, and distributes Ineffective

 Decongestive Products containing PE through the Theraflu, Advil, and Robitussin brands.

       10.      Collectively the P&G, Kenvue, Reckitt, and GSK shall be collectively referred



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 to throughout the complaint when appropriate as “Defendants.”

                                 JURISDICTION AND VENUE

        11.     This Court has original jurisdiction under the Class Action Fairness Act, 28

 U.S.C. § 1332(d), because (a) at least one member of the proposed class is a citizen of a state

 different from that of each Defendant, (b) the amount in controversy exceeds $5,000,000,

 exclusive of interest and costs, (c) the proposed class consists of more than 100 class members,

 and (d) none of the exceptions under the subsection apply to this action.

        12.      This Court has personal jurisdiction over Defendants because each Defendant

 has sufficient minimum contacts in this state, and because each Defendant has otherwise

 intentionally availed itself of the markets within this state through their business activities, such

 that the exercise of jurisdiction by this Court is proper and necessary.

        13.      Venue is proper in this District because the claims alleged in this action accrued

 in this District and each Defendant regularly transacts its affairs in this District.

        14.      Each Defendant is subject to the personal jurisdiction of this Court because the

 Defendants conduct business within this state, maintain and carry out continuous and

 systematic contacts within this state and this judicial District, regularly transacts business

 within this state and this judicial District, and regularly avails themselves of the benefits of

 their presence in this state and this judicial District.

                                   FACTUAL ALLEGATIONS

      A. The Big Business Of Nasal Decongestants

        15.      The market for drugs purported to relieve congestion is over $2 billion per year

 and includes at least 250 products.

        16.      One of the two leading ingredients, only phenylephrine ("PE") is sold over the

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 counter (“OTC”). The other leading ingredient, pseudoephedrine, is effective but is usually

 sold behind the counter from locked containers, and consumers are limited in the number they

 can buy. As a result, PE drugs are more popular and account for approximately 80% of the $2

 billion annual market.

        17.     These medicines are most often used to treat the common cold. According to

 the American Lung Association, approximately 200 different viruses can cause cold like

 symptoms which often leads to runny nose, congestion, sneezing.

        18.     In the United States, colds account for more visits to the doctor than any other

 single condition. Adults get an average of two to four colds per year, mostly between

 September and May. In the United States it is estimated that people in the United States suffer

 1 billion colds annually.

        19.     There are no antiviral medications available for treating the common cold and

 instead the vast majority of patients rely on products to provide symptom relief. OTC

 medications are a common form patients seek to receive symptom relief for the common cold.

        20.     This stunning demand has caused companies to leverage the OTC space in

 order to provide ostensible symptom relief for the millions of Americans suffering this

 common ailment.

        21.     When OTC medications containing pseudoephedrine began receiving adding

 regulatory scrutiny (due to their propensity to make it into the illegal drug market), companies

 began marketing efforts to drive consumers to products containing PE.

        22.     PE and pseudoephedrine have different mechanism of action. PE is a specific

 alpha-1 adrenergic receptor agonist that works by temporarily constricting blood vessels. By


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 contrast, pseudoephedrine is a relatively less selective agonist that acts on both alpha and beta-

 adrenergic receptors and is therefore more lipophilic than PE and is more accessible to the

 central nervous system because it crosses the blood-brain barrier. As a result, pseudophedrine

 when taken orally does not metabolize at the same rate as PE making it more bioavailable

 when administered orally when compared to PE. Defendants are well aware of the

 mechanisms of action between pseudophedrine and PE and the different metabolic rates for

 each ingredient.

      B. Defendants Marketed OTC Medications Containing PE As A Decongestant

        23.      P&G market the following OTC medications as a decongestant: Vicks Nyquil

 Severe Cold and Flu, Vicks NyQuil Sinex, Vicks Dayquil Severe Cold and Flu, Vicks Sinex

 Severe, Vicks Flu Therapy Night Severe Cold and Flu. On its website, P&G makes the following

 representations regarding PE:




        24.      P&G’s product package all indicate that PE provides decongestant relief. As just

 one example, here is the product packaging for Dayquil Severe Fold and Flu:




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        25.     Kenvue, formerly J&J, and McNeil through their consumer brands market the

 following OTC medications as decongestants: Sudafed PE, Benadryl Allergy Plus Congestion, and

 Tylenol Cold + Flu. On its website for Sudafed OE, J&J makes the following representations:




        26.     GSK market the following OTC medications as decongestants: Advil Sinus

 Congestion and Pain and Robitussin. On its website GSK makes the following representations:




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         27.       PE is listed as the active ingredient providing the “decongestant” effect marketed

  in all of these products.

         28.       Each Defendant makes similar claims that PE works as the active nasal

  decongestant ingredients in these numerous consumer facing brands. Each Defendant promises,

  and expects consumers to rely upon these promises, that these products contain active ingredients

  that will aid to relieve the symptoms of nasal congestion.

         29.       Defendants know that consumers rely upon decongestant relief when searching for

  an OTC medication to provide symptom relief for the common cold and other ailments and

  illnesses causing nasal congestion and directly market their products as providing this relief. In

  fact, in many of the product packaging for cold and flu OTC medications “nasal congestion” is

  often the first symptom listed that these OTC medications treat. Defendants do this because they

  know when suffering from cold and flu and other similar ailments nasal congestion is one of the

  key symptoms consumers of these OTC medications seek to relieve.

         30.       Defendants marketing and promotional efforts created an expectation in

  consumer’s minds that PE was an effective decongestant and it created demand for these types of

  products. As a result, Plaintiff and other similarly situated retail pharmacies took steps to ensure


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  that they could meet this consumer demand by purchasing these products and devoting shelf space

  to these products. As demand was constant retail pharmacies needed to ensure an adequate supply

  of these medications for fear of losing customers to other competitors if these products were not

  in stock on an as needed basis.

          31.     All Defendants either in websites, advertisements, product packaging or other

  messages communicated to the public that all Ineffective Decongestant Products would help

  alleviate nasal congestion. For all Ineffective Decongestant Products these statements were false

  or misleading and caused customers of Plaintiff and the putative classes to believe that these

  products would be effective in providing relief from nasal congestion. Customer relied upon these

  representations and would not have purchased the Ineffective Decongestant Products had they

  been aware that PE simply was not effective as a nasal decongestant. Retail pharmacies would not

  have stocked these products, would not have entered into wholesaling contracts to secure a supply

  of these products, and would not have devoted shelf space to these products had they known of

  this fact.

       C. PE Is Simply Not A Decongestant When Administered Orally

          32.     Unfortunately for consumers (but known to Defendants), phenylephrine does

  not work when taken orally to relieve congestion. This is because once metabolized by the

  stomach the bioavailable amount of PE available is around 1%, an insufficient amount to

  actually result in a pharmacological effect.

          33.     The NDAC conducted a meta-review of the original data used by the FDA to

  approve PE as a nasal decongestant and the data from studies conducted after the initial FDA

  review. The conclusion of the NDAC could not be more clear: PE when used orally does not work


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  as a decongestant. Specifically, the NDAC found:




         34.      The NDAC reached this conclusion through an exhaustive review of the available

  studies including studies from 2015-2017 showing that PE when taken orally at the dosages

  available in OTC medications resulted in no greater effect on decongestants than a placebo. The

  NDAC Briefing Document published on September 11, 2023 on the oral efficacy of PE as a

  decongestant is attached as Exhibit A.

         35.      The FDA is now considering banning PE from oral medication, which would result

  in pulling hundreds of products containing PE from shelves. Since the FDA panel’s conclusion

  came out, prices for oral medication containing PE have plummeted and consumers are looking

  elsewhere for the decongestant relief Defendants promised PE would deliver.

       D. Defendants Knew PE Is Not Effective As A Decongestant.

         36.      Defendants are large corporations with dedicated units devoted to reviewing and

  commenting on studies that affect their products.

         37.      As a result, Defendants knew of the studies cited by the NDAC and specifically

  were aware of the studies from 2015-present that demonstrate PE is not an effective decongestant.

         38.      Nevertheless, Defendants continued to promote to the public that OTC



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  medications containing PE and that would be administered orally were effective as a

  “decongestant.”

       E. Retail Pharmacies Have Been Injured By Defendants’ Misrepresentations About
          the Effectiveness of the Ineffective Decongestant Products

         39.        The FDA originally designated PE as safe and effective for use as a decongestant

  in 1976 and it became a common ingredient in multidrug cold medications like DayQuil and

  Sudafed PE over the course of the past 50 years. When originally greenlighted relied upon a review

  of 14 studies (12 unpublished and two published) from pharmaceutical companies.

         40.        Retail pharmacies like Plaintiff are pharmacies where drugs are compounded,

  dispensed, stored or sold and where prescriptions are filled or dispensed to the general public. Foot

  traffic is an important part of retail pharmacy business and the common cold and flu are one of the

  common drivers of foot traffic within retail pharmacies as customers come into obtain both

  prescription and OTC medications to relieve cold and flu symptoms.

         41.        Retail pharmacy is a highly competitive space in the provision of healthcare in this

  country and the industry has seen a dramatic amount of consolidation. Additionally, According to

  a report by the Assistant Secretary for Planning and Evaluation (ASPE), there has been a change

  in the location where Americans receive their drugs. Between 2016 and 2021, there has been a

  95% increase in the number of Americans receiving their drugs from home health care.

  Additionally, there has been a 45% increase in drugs received from clinics and a 35% increase

  from mail-order pharmacies over the same period. On the other hand, there has been a decline in

  drugs received from long-term facilities (17%), federal facilities (9%), and independent

  pharmacies (5%). The shift towards home health care, clinics, and mail-order pharmacies can be

  attributed to the increasing consumer preference for over-the-counter (OTC) drugs and the


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  growing demand for home delivery of medications, which is expected to contribute to the growth

  of the U.S. pharmacy market in the coming years but is expected to add to the decline in market

  share for independent retail pharmacies like Plaintiff.

         42.      To meet these market conditions, pharmacies in the U.S. offer a variety of patient-

  care services and implement strategies to increase medication sales. Pharmacies offer their

  customers a wide range of services. For example, 84% of pharmacies provide flu immunizations,

  80% provide non-flu immunizations, 53% offer blood pressure monitoring, and 30% offer diabetes

  education.

         43.      Ensuring adequate supply of routine OTC medications commonly used by

  members of the general public is a key part of the retail pharmacy business because it helps drive

  foot traffic and ensure customers come into stores. These market pressures require pharmacies like

  Plaintiff to carry a variety of OTC medication and as a result Plaintiff purchased through

  wholesalers the Ineffective Decongestant Products and provided a large amount of shelf space for

  the sale of these products because customers often look for these types of well marketed and

  promoted OTC medications to treat symptoms associated with the common cold and flu.

         44.      When the NDAC announced the results of its review and its conclusion that PE

  when administered orally was simply not an effective nasal decongestant, contrary to what

  Defendants have been telling Plaintiff, retail pharmacies, and consumers for years, the value and

  desirability of the Ineffective Decongestant Products plummeted. As a result, Plaintiff and other

  retail pharmacies now have a surplus of product whose value has been impaired, may eventually

  be removed from the market altogether, and face the prospect of taking either a partial or total loss

  on their purchases.



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           45.     Worse because the FDA has not yet pulled these products from the market and

  because not every consumer is aware of the recent disclosures, retail pharmacies are having to

  devote significant resources to educating customers about these developments. This process is

  hindered because even today on their websites, advertisements, and product labels, the Defendants

  continue to misrepresent the Ineffective Decongestant Products as being effective in treating nasal

  congestion.

           46.     Retail pharmacies like Plaintiff have purchased virtually all available OTC

  medications marketed, distributed and sold by the Defendants containing PE as the active

  ingredient purportedly to treat nasal decongestant. Retail pharmacies are therefore caught in a

  difficult situation as to removing these products from product shelves altogether and risk losing

  foot traffic as customers go to other sources or continue to purchase these products and educate

  customers about the ineffectiveness of these products to treat the conditions Defendants claim they

  treat.

                                      CLASS ALLEGATIONS

           47.     Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), 23(b)(3), and 23(c)(4)

  of the Federal Rules of Civil Procedure on behalf of themselves and all others similarly situated.

  Plaintiffs seek to represent the following Classes:

           All retail pharmacies that purchased oral nasal decongestant containing phenylephrine
           manufactured by Defendants (the “Nationwide Class”).


           All retail pharmacies who purchased an oral nasal decongestant containing
           phenylephrine manufactured by Defendants in the State of Arkansas (the “Arkansas
           Class”).

           48.     Excluded from the Classes are any retail pharmacies that manufacturer or promote



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  their own version of OTC medications containing PE as the active ingredient to treat nasal

  decongestants and Defendants, and any of the Defendants’ members, affiliates, parents,

  subsidiaries, officers, directors, employees, successors, or assigns; the judicial officers, and their

  immediate family members; and Court staff assigned to this case. Plaintiffs reserve the right to

  modify or amend the Class definition, as appropriate, during the course of this litigation. This

  action has been brought and may properly be maintained on behalf of the Classes proposed herein

  under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

         49.      Certification of Plaintiffs’ claims for classwide treatment is appropriate because

  Plaintiffs can prove the elements of their claims using the same evidence as would be used to prove

  those elements in individual actions alleging the same claims.

         50.      Numerosity: Rule 23(a)(1): The members of the Classes are so numerous and

  geographically dispersed that individual joinder of all Class Members is impracticable. Plaintiffs

  are informed and believe that there are hundreds of thousands of members of the Classes based on

  the size of the market for decongestant products and Defendants’ share of that market, but the

  precise number of Class members is unknown to Plaintiffs.

         51.      Commonality and Predominance: Rule 23(a)(2) and (b)(3): This action involves

  common questions of law and fact which predominate over any questions affecting individual

  Class members, including, without limitation: a. When Defendants knew that phenylephrine was

  ineffective as a decongestant; b. Whether Defendants sold Ineffective Decongestant Products as

  effective; c. What measures Defendants took to conceal the true nature of their Ineffective

  Decongestant Products; d. Defendants’ duty to disclose the true nature of their Ineffective

  Decongestant Products; e. Whether Plaintiffs and the other Class members overpaid for



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  Defendants’ Ineffective Decongestant Products; and f. Whether Plaintiffs and the other Class

  members are entitled to equitable and injunctive relief.

         52.       Typicality: Rule 23(a)(3): Plaintiffs’ claims are typical of the other Class

  Members’ claims because, among other things, all Class members were comparably injured

  through Defendants’ wrongful conduct as described above. Plaintiffs suffered damages as a direct

  proximate result of the same wrongful practices in which Defendants engaged.

         53.       Adequacy: Rule 23(a)(4): Plaintiffs are adequate Class Representatives because

  their interests do not conflict with the interests of the other members of the Classes they seek to

  represent; Plaintiffs have retained counsel competent and experienced in complex class action

  litigation; and Plaintiffs intend to prosecute this action vigorously. Plaintiffs and their counsel will

  fairly and adequately protect the Class’s interests.

         54.       Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is superior

  to any other available means for the fair and efficient adjudication of this controversy and no

  unusual difficulties are likely to be encountered in managing this class action. The damages or

  other financial detriment suffered by Plaintiffs and the other Class members are relatively small

  compared to the burden and expense that would be required to individually litigate their claims

  against Defendants, so it would be impracticable for the members of the Classes to individually

  seek redress for Defendants’ wrongful conduct. Even if Class members could afford individual

  litigation, such litigation creates a potential for inconsistent or contradictory judgments. It

  increases the delay and expense to all parties and the court system. By contrast, a class action is

  suited and intended to manage such difficulties and provide the benefits of uniform and common

  adjudication, economy of scale, and comprehensive supervision.



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         55.       Declaratory Relief: Federal Rule of Civil Procedure 23(b)(2): Defendants have

  acted or refused to act on grounds generally applicable to Plaintiffs and the other members of the

  Classes, thereby making declaratory relief appropriate, with respect to each Class as a whole.

                                                CLAIMS

                                     COUNT I
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                  (All Defendants)

          56.     Plaintiffs repeat and reallege the foregoing as if fully set forth herein.

          57.     Plaintiffs bring this claim on behalf of the Nationwide Classes or, in the alternative,

  the State Classes (the “Class,” for purposes of this Count).

          58.     Defendants were at all times a “merchant” within the meaning of Article 2 of the

  U.C.C., as codified under applicable law.

          59.     The Ineffective Decongestant Products are and were “goods” within the meaning

  of Article 2 of the U.C.C., as codified under applicable law

          60.     Defendants were obligated to provide Plaintiffs and the other Class members

  Ineffective Decongestant Products that were of merchantable quality, were reasonably fit for the

  purpose for which they were sold, and conformed to the standards of the trade.

          61.     Defendants impliedly warranted that those drugs were of merchantable quality and

  fit for that purpose.

          62.     Defendants breached their implied warranties, because their Ineffective

  Decongestant Products were not of merchantable quality or fit for their ordinary purpose.

          63.     Defendants’ breaches of implied warranties were a direct and proximate cause of

  Plaintiffs’ and the other Class members’ damages.




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                                         COUNT II
                           FRAUD BY OMISSION OR CONCEALMENT
                                      (All Defendants)

            64.   Plaintiffs repeat and reallege the forgoing as if fully set forth herein.

            65.   Plaintiffs bring this claim on behalf of the Nationwide Classes or, in the alternative,

  the State Classes (the “Class,” for purposes of this Count).

            66.   Defendants intentionally and knowingly falsely concealed, suppressed and/or

  omitted material facts including as to the standard, quality or grade of the PE Drugs. Due to their

  fraudulent conduct, Plaintiffs and the other Class members have suffered actual damages.

            67.   Defendants knew that phenylephrine is ineffective at safe dosages when consumed

  orally.

            68.   Defendants were obligated to inform Plaintiff and the other members of the Class

  of the effectiveness of phenylephrine due to their exclusive and superior knowledge of the

  Decongestant Products.

            69.   Plaintiffs and other Class members also expressly reposed a trust and confidence in

  Defendants because the nature of their dealings as a healthcare entity and with Plaintiffs and other

  members of the Class as their consumers.

            70.   Plaintiffs and the other Class members would not have purchased the Decongestant

  Products but for Defendants’ omissions and concealment of material facts regarding the nature and

  quality of the Decongestant Products and existence of the Decongestant Products, or would have

  paid less for the Decongestant Products.

            71.   Defendants knew their concealment and suppression of material facts was false and

  misleading and knew the effect of concealing those material facts.

            72.   Defendants acted with malice, oppression, and fraud.



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         73.     Plaintiffs and the other Class members reasonably relied on Defendants’ knowing,

  affirmative, and active false concealment and omissions. As a direct and proximate result of

  Defendants’ omissions and active concealment of material facts regarding the Decongestant

  Products, Plaintiffs and the other Class members have suffered actual damages in an amount to be

  determined at trial.

                                         COUNT III
                         FALSE ADVERTISING UNDER THE LANHAM ACT
                                     15 U.S.C. § 1125(A)
                                       (All Defendants)

         74.     Plaintiffs repeat and reallege the foregoing as if fully set forth herein.

         75.     Plaintiffs bring this claim on behalf of the nationwide Class or, in the alternative,

  the State Classes (the “Class,” for purposes of this Count).

         76.     Defendants made and make false and misleading statements regarding the

  descriptions of fact and/or representations of fact in commerce regarding the nature,

  characteristics, qualities, and/or origin of the Ineffective Decongestant Products. Such false and

  misleading statements include claiming that PE in oral OTC medications acts as a “decongestant”

  and/or that the Ineffective Decongestant Products were effective in treating the symptoms of nasal

  congestion.

         77.     These representations constitute false advertising in violation of Section 43(a) of

  the Lanham Act, 15 U.S.C. § 1125(a).

         78.     These misrepresentations are made in interstate commerce and in connection with

  the Defendants’ goods, which are sold, marketed, and distributed in interstate commerce.

  Defendants make these misrepresentations in advertising, product packaging, websites throughout

  the United States.

         79.     These misrepresentations are false or misleading, confusing and deceptive.


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         80.     These misrepresentations deceived or had the tendency to deceive Plaintiff, the

  Class, and their customers. Among other things these misrepresentations cause confusion within

  the general public and Plaintiff and the Class’ customers by duping them into believing that the

  Ineffective Decongestant Products are effective in treating nasal congestion. Customers came to

  believe these products were effective and required and expected retail pharmacies like Plaintiff

  and the Class to carry these products. Had Plaintiff and the Class not carried these products

  customers would have looked elsewhere for these products because of Defendants

  misrepresentations caused customers to believe the Ineffective Decongestant Products could treat

  nasal congestion.

         81.     Defendants have acted in bad faith and have willfully and deliberately committed

  the foregoing acts with knowledge that the information is intended to deceive or confuse

  customers.

         82.     Retail pharmacies like Plaintiff and the Class have been injured and are likely to be

  injured as a result of Defendants’ false and misleading claims. These injuries include paying more

  for the Ineffective Decongestant Products than they otherwise would have, devoting shelf space to

  these products that could have been devoted to other products that actually worked, incurring the

  initial costs to stock the product and then costs associated with both removing the product from

  the shelves and re-stocking with different effective products, having inventory at the time of the

  NDAC report that could not be sold or had to be sold at a loss, devoting resources to educate

  customers on Defendants’ misleading misrepresentations, and losing customer trust and loyalty

  because Plaintiff and the Class stocked and sold OTC medications that could not and did not

  deliver the relief to customers that Defendants promised.

         83.     Retail Pharmacies like Plaintiff and the Class are within the zone of interest to be



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  protected by the Lanham Act as pharmacists and staff of these retail establishments are often called

  to answer questions and concerns patients have when seeking to alleviate common symptoms

  associated with the common cold and flu and other ailments like nasal congestion. Retail

  pharmacies like Plaintiff and the Class are expected to carry these OTC medications and customers

  have come to trust retail pharmacies to carry and provide these types of medications when patients

  and customers need them.

         84.     Accordingly, Plaintiff and the Class have suffered and will likely suffer injury to

  their commercial interest in their business reputation as well as injury to their commercial interests

  in sales and future sales as a result of Defendants’ misrepresentations. These misrepresentations

  have a chilling effect on the ability to credibly engage in the pharmacy business and discourage

  customers from seeking purchases of other goods and services that in fact would provide the nasal

  congestion relief that Defendants promised the Ineffective Decongestant Products offered.

         85.     Plaintiffs and the Class are entitled to recover their actual damages and costs of this

  action in an amount to be proven at trial and such damage should be trebled as allowed by 15

  U.S.C. § 1117(A).

         86.     Plaintiff and the Class are further entitled to recover the Defendants profits, the

  amount of which is currently unknown, and which amount should be trebled as allowed under 15

  U.S.C. § 1117(a). This is an exceptional case pursuant to 15 U.S.C. § 1117(a), and Plaintiffs and

  the Class are therefore entitled to recover their reasonable attorneys’ fees.

                                        COUNT IV
                              NEGLIGENT MISREPRESENTATION
                                      (All Defendants)

         87.     Plaintiffs repeat and reallege the foregoing as if fully set forth herein.

         88.     Plaintiffs bring this claim on behalf of the nationwide Class or, in the alternative,



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  the State Classes (the “Class,” for purposes of this Count).

         89.      Defendants had a duty to provide truthful and accurate information regarding the

  Ineffective Decongestant Products. Defendants had a duty to make themselves aware of the

  medical literature regarding PE and to track over time the medical literature regarding the efficacy

  of PE to treat nasal congestion when administered orally.

         90.      Defendants breached these duties in the following ways:

           a. Misrepresenting that PE when administered orally is effective in treating nasal

                congestion;

           b. Misrepresenting that PE when administered orally provided “decongestant” effects;

           c. Misrepresenting that the Ineffective Decongestant Products was an effective treatment

                to alleviate nasal congestion.

           d. Failing to timely learn or review the available medical literature to determine that PE

                when administered orally was ineffective to treat nasal congestion.

           e. Failing to timely alert the FDA that the Ineffective Decongestant Products were

                ineffective to treat the condition of nasal congestion.

         91.       Additionally, Defendants made and make false and misleading statements

  regarding the descriptions of fact and/or representations of fact in commerce regarding the nature,

  characteristics, qualities, and/or origin of the Ineffective Decongestant Products. Such false and

  misleading statements include claiming that PE in oral OTC medications acts as a “decongestant”

  and/or that the Ineffective Decongestant Products were effective in treating the symptoms of nasal

  congestion.

         92.      These breaches and misrepresentations caused Plaintiff and the class harm. As a

  result of the breaches of duties described herein Plaintiff and the Class have product that they



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  cannot sell or must sell at significant discounts, must devote resources to educated customers as to

  the truth of PE’s effectiveness to treat nasal congestion when administered orally, and loss of

  customer goodwill and loyalty for selling products that were ineffective to treat the conditions

  Defendants promised they would treat.

         93.     Plaintiffs and the Class are entitled to recover their actual damages and costs of

  this action in an amount to be proven at trial.

                                            COUNT V
                                      UNJUST ENRICHMENT
                                         (All Defendants)

         94.     Plaintiffs repeat and reallege the foregoing as if fully set forth herein.

         95.     Plaintiffs bring this claim on behalf of the nationwide Class or, in the alternative,

  the State Classes (the “Class,” for purposes of this Count).

         96.     It would be inequitable for Defendants to insulate themselves from liability on this

  unjust enrichment claim by asserting that retail sales by their retailers cuts off any relationship

  between the Plaintiffs and the Classes and Defendants because Plaintiffs and the other Class

  members cannot seek a remedy directly from Defendants’ retailers based on Defendants’ sale of

  the Decongestant Products.

         97.      Plaintiffs and all other Class members conferred a benefit on Defendants by

  purchasing Decongestant Products.

         98.     Defendants have been unjustly enriched in retaining the revenues derived from

  Class members’ purchases of Decongestant Products, which retention under these circumstances

  is unjust and inequitable because Defendants misrepresented that Decongestant Products were

  effective for providing congestion relief when in fact they were not, which caused injuries to

  Plaintiffs and all Class members because they paid a price premium due to Defendants’ deception.



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  Because Defendants’ retention of the non-gratuitous benefit conferred on it by Plaintiffs and all

  Class members is unjust and inequitable, Defendants must pay restitution to Plaintiffs and the

  Class members for their unjust enrichment, as ordered by the Court.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of the other Class members,

  respectfully request that the Court enter judgement in their favor and against Defendant, as follows:

          A. Certification of the proposed Class with Plaintiffs as class representatives;

          B. Appointment of Plaintiffs’ counsel as Class Counsel;

          C. Injunctive relief, including, but not limited to requiring Defendants to make full
             disclosure of their knowledge of the efficacy of their Ineffective Decongestant
             Products;

          D. Disgorgement of their profits from the sales of their Ineffective Decongestant Products;

          E. Damages, including punitive damages, treble damages costs, and disgorgement in an
             amount to be determined at trial;

          F. An order requiring Defendants to pay both pre- and post-judgment interest on all
             amounts awarded;

          G. An award of costs and attorneys’ fees; and

          H. Such other further relief as may be appropriate.

                                   DEMAND FOR JURY TRIAL

          Plaintiff, individually and on behalf of those similarly situated, demands a trial by jury on

  all issues so triable.




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  Dated: September 27, 2023             Respectfully submitted,

                                        By: /s/ Alyson S. Beridon
                                        Alyson S. Beridon, Trial Attorney (#87496)
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                                         & Wall, PLLC
                                        600 Vine St., Suite 2720
                                        Cincinnati, OH 45202
                                        Ph: (513) 381-2224
                                        Fax: (615) 994-8625
                                        alyson@hsglawgroup.com

                                        Benjamin A. Gastel* (TN BPR #28699)
                                        Joey Leniski* (TN BPR #22891)
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                                        Nashville, TN 37203
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                                        joey@hsglawgroup.com

                                        James A. Streett* (ABA #2007092)
                                        Streett Law Firm, P.A.
                                        107 West Main
                                        Russellville, AR 72801
                                        Ph: 479-968-2030
                                        Fax: 479-968-6253
                                        james@streettlaw.com


                                        *Application for admission pro hac vice forthcoming




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    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a)        PLAINTIFFS                                                                                                         DEFENDANTS
                   NEWTON'S PHARMACY, INC., individually and on                                                                      PROCTER & GAMBLE COMPANY; KENVUE, INC.;
                   hehalf of those similarly situated.                                                                               MCNEIL            CONSUMER                HEALTHCARE,                   F RECKITT            &
          (b)     County of Residence of First Listed Plaintiff                  Pope      County,       AR                          County of Residence of First Listed Defendant                    Hamilton           County,           OH
                                          (EXCEPT
                                                IN       U.S. PLAINTIFF CASES)                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                     NOTE:         INLAND CONDEMNATION CASES, USE THE LOCATION                               OF
                                                                                                                                                   THE TRACT OF LAND INVOLVED.

          (c)     Attorneys (Firm Name, Address, and Telephone Number)                                                                Attorneys (If Known)
                  Alyson S. Beridon, Ph: (513) 381-2224
                   Herzfeld, Suetholz, Gastel, Leniski & Wall, PLLC
                  600 Vine St.. Ste 2720.                 Cincinnati. OH                45202
    II.       BASIS      OF     JURISDICTION                (Place an “‘X”’ in One Box Only)                    IIL.        CITIZENSHIP OF PRINCIPAL                                PARTIES            (Place an “X” in One Box for Plaintiff
                                                                                                                               (For Diversity Cases Only)                                              and One Box for Defendant)
im        1     U.S. Government                13       Federal Question                                                                                  PTF DEF                                                         PTF       DEF
                  Plaintiff                               (U.S. Government Not a Party)                                    Citizen of This State             im    1    im     1   Incorporated or Principal Place                im   4        4
                                                                                                                                                                                      of Business In This State

im 2            U.S. Government                [x] 4    Diversity                                                          Citizen of Another State          [x] 2      im     2   Incorporated and Principal Place               im   5    im 5
                    Defendant                             (Indicate Citizenship of Parties in Item III)                                                                               of Business In Another State

                                                                                                                           Citizen or Subject of a           im   3     im     3   Foreign Nation                                 im   6    im 6
                                                                                                                              Foreign Country
    IV.         NATURE          OF SUIT (Place an “x” in One Box Only)                                                                                            Click here for: Nature of Suit Code Descriptions.
|                  CONTRACT                                                     TORTS                                        FORFEITURE/PENALTY                               BANKRUPTCY                          OTHER STATUTES                    |
          110   Insurance                        PERSONAL INJURY                      PERSONAL INJURY                  | 625 Drug Related Seizure                       422 Appeal 28 USC 158                   375 False Claims Act
          120   Marine                           310 Airplane                     im 365 Personal Injury -                   of Property 21 USC 881                     423 Withdrawal                          376 Qui Tam (31 USC
          130   Miller Act                       315 Airplane Product                    Product Liability             | 690 Other                                          28 USC 157                              3729(a))
          140   Negotiable Instrument                Liability                    im 367 Health Care/                                                                      INTELLECTUAL                  |      400 State Reapportionment
L] 150 Recovery of Overpayment                   320 Assault, Libel &                       Pharmaceutical                                                              PROPERTY RIGHTS                  | | 410 Antitrust
              & Enforcement of Judgment               Slander                            Personal Injury                                                          [|    820 Copyrights                          430   Banks and Banking
          151 Medicare Act                       330 Federal Employers’                  Product Liability                                                              830 Patent                              450   Commerce
—         152 Recovery of Defaulted                  Liability                    im 368 Asbestos Personal                                                        -     835 Patent - Abbreviated                460   Deportation
               Student Loans                     340 Marine                               Injury Product                                                                    New Drug Application                470   Racketeer Influenced and
               (Excludes Veterans)               345 Marine Product                       Liability                                                               c]    840 Trademark                                 Corrupt Organizations
im  153 Recovery of Overpayment                      Liability                     PERSONAL PROPERTY                                    LABOR                     [|    880 Defend Trade Secrets         |      480 Consumer Credit
        of Veteran’s Benefits                    350 Motor Vehicle                  370 Other Fraud                           710 Fair Labor Standards                      Act of 2016                             (15 USC 1681 or 1692)
CT] 160 Stockholders’ Suits                      355 Motor Vehicle                i 371 Truth in Lending                          Act                                                                    |      485 Telephone Consumer
    [_] 190 Other Contract                             Product Liability          [_] 380 Other Personal               |      1720 Labor/Management               ___ SOCIAL SECURITY __|                             Protection Act
[ _] 195 Contract Product Liability           [X] 360 Other Personal                     Property Damage                    Relations                                   861   HIA (1395ff)                      490 Cable/Sat TV
 | 196 Franchise                                      Injury                      im 385 Property Damage               re Railway Labor Act                             862   Black Lung (923)                  850 Securities/Commodities/
                                                  362 Personal Injury -                  Product Liability              751 Family and Medical                          863   DIWC/DIWW (405(g))                    Exchange
                                                      Medical Malpractice                                                   Leave Act                                   864   SSID Title XVI             |      890 Other Statutory Actions
                REAL PROPERTY                       CIVIL RIGHTS                    PRISONER PETITIONS                        790 Other Labor Litigation          [|    865 RSI (405(g))                 ||     891 Agricultural Acts
    |_| 210 Land Condemnation                    440 Other Civil Rights                 Habeas Corpus:                 | _|791 Employee Retirement                                                       | | 893 Environmental Matters
    [_] 220 Foreclosure                          441 Voting                       [_] 463 Alien Detainee                          Income Security Act                   FEDERAL TAX SUITS                       895 Freedom of Information
    |     230 Rent Lease & Ejectment             442 Employment                   | | 510 Motions to Vacate                                                       L_|   870 Taxes (U.S. Plaintiff                   Act
          240 Torts to Land                      443 Housing/                             Sentence                                                                          or Defendant)                       896 Arbitration
    |     245 Tort Product Liability                 Accommodations               | | 530 General                                                                 L]    871 IRS—Third Party              -      899 Administrative Procedure
    |     290 All Other Real Property            445 Amer. w/Disabilities - |           535 Death Penalty                         IMMIGRATION                                  26 USC 7609                          Act/Review or Appeal of
                                                     Employment                         Other:                                462 Naturalization Application                                                        Agency Decision
                                                 446 Amer. w/Disabilities -             540 Mandamus & Other                  465 Other Immigration                                                      |      950 Constitutionality of
                                                     Other                              550 Civil Rights                          Actions                                                                           State Statutes
                                                 448 Education                          555 Prison Condition
                                                                                        560 Civil Detainee -
                                                                                            Conditions of
                                                                                            Confinement
    V.        ORIGIN          (Place an “X” in One Box Only)
x] 1            Original              2   Removed from                     3.     Remanded from                Ol 4 Reinstated or             Ol     5 Transferred from               6    Multidistrict                   8 Multidistrict
                Proceeding                State Court                             Appellate Court                   Reopened                           Another District                    Litigation -                      Litigation -
                                                                                                                                                       (specify)                           Transfer                          Direct File
                                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                    Class Action Fairness Act, 28 U.S.C. § 1332(d)
    VI.         CAUSE         OF ACTION             Brief description of cause:
                                                    Breach of warranty and violations of state consumer protection and common                            laws regarding sale of consumer            products.

    VIL.         REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                                      DEMAND $                                         CHECK YES only if demanded in complaint:
                 COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                             +$5,000,000                                      JURY DEMAND:         [x]Yes    []No
    VILL. RELATED CASE(S)
                 IF   ANY                              (See instructions):         JUDGE                                                                                DOCKET       NUMBER


    DATE                                                                                SIGNATURE     OF ATTORNEY              OF RECORD
    Sep 28, 2023                                                                        /s/ Alyson S. Beridon
    FOR OFFICE          USE ONLY

          RECEIPT #                       AMOUNT                                            APPLYING IFP                                             JUDGE                                   MAG. JUDGE
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                     INSTRUCTIONS             FOR ATTORNEYS                 A-1207
                                                                            COMPLETING          CIVIL COVER            SHEET      FORM       JS 44
                                                                  Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I(a)       Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
           the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
           in this section "(see attachment)".

I.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

Til.       Residence (citizenship) of Principal Parties.    This section of the JS 44 is to be completed if diversity of citizenship was indicated above.   Mark this
           section for each principal party.

           Nature of Suit. Place an '"X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Nature of Suit Code Descriptions.

           Origin. Place an "X" in one of the seven boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statute.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.       Requested in Complaint. Class Action. Place an '"X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any.   If there are related pending cases, insert the docket
            numbers and the corresponding judge names for such cases.

Date and Attorney Signature.         Date and sign the civil cover sheet.
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                      EXHIBIT
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  NDAC Briefing Document: Oral Phenylephrine in the CCABA Monograph


                                       FDA Briefing Document


                   Efficacy of Oral Phenylephrine as a Nasal Decongestant


                     Nonprescription Drug Advisory Committee Meeting
                                    September 11 and 12, 2023


                         Division of Nonprescription Drugs 1 (DNPD1)
                           Office of Nonprescription Drugs (ONPD)

                Division of Inflammation and Immune Pharmacology (DIIP)
                           Office of Clinical Pharmacology (OCP)

                              Division of Epidemiology II (DEPI-II)
                         Office of Surveillance and Epidemiology (OSE)



                                         DISCLAIMER STATEMENT
  The attached package contains background information prepared by the Food and Drug Administration
  (FDA) for the panel members of the Advisory Committee. The FDA background package often contains
  assessments and/or conclusions and recommendations written by individual FDA reviewers. Such
  conclusions and recommendations do not necessarily represent the final position of the individual
  reviewers, nor do they necessarily represent the final position of the Review Division or Office. We are
  bringing the issue of whether orally administered phenylephrine is efficacious as a nasal decongestant
  (when administered at dosages consistent with the Cough, Cold, Allergy, Bronchodilator and Antiasthma
  [CCABA] over-the-counter [OTC] monograph) to this Advisory Committee in order to gain the
  Committee’s insights and opinions. The background package may not include all issues relevant to the
  final regulatory recommendation and instead is intended to focus on issues identified by the Agency for
  discussion by the Advisory Committee. The FDA will not issue a final determination on the issues at hand
  until input from the Advisory Committee process has been considered and all reviews have been
  finalized. The final determination may be affected by issues not discussed at the Advisory Committee
  meeting.




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  Glossary
  AC                   Advisory Committee
  AE                   adverse event
  ANPR                 Advanced Notice of Proposed Rulemaking
  CARES Act            Coronavirus Aid, Relief, and Economic Security Act of 2020
  CCABA Monograph      Cough, Cold, Allergy, Bronchodilator, and Antiasthma OTC Monograph
  CHPA                 Consumer Healthcare Products Association
  CMEA                 Combat Methamphetamine Epidemic Act of 2005 (signed into law in 2006)
  CP                   Citizen Petition
  BP                   blood pressure
  EEU                  environmental exposure units
  ER                   extended-release
  FDA                  Food and Drug Administration
  FM                   final monograph
  GRASE                Generally Recognized as Safe and Effective
  HR                   heart rate
  ICH                  International Council for Harmonisation of Technical Requirements for
                       Pharmaceuticals for Human Use
  IND                  investigational new drug
  IR                   immediate-release
  ITT                  intent-to-treat
  IV                   intravenous
  L/M                  loratadine-montelukast
  NAR                  nasal airway resistance
  NDA                  new drug application
  NDAC                 Nonprescription Drugs Advisory Committee
  OTC                  over-the-counter
  PAR                  perennial allergic rhinitis
  PD                   pharmacodynamic
  PE                   phenylephrine
  PEH                  phenylephrine hydrochloride salt
  PEB                  phenylephrine bitartrate salt
  PK                   pharmacokinetic
  PNIF                 peak nasal inspiratory flow
  PPA                  phenylpropanolamine
  PSE                  pseudoephedrine
  SAP                  statistical analysis plan
  SAR                  seasonal allergic rhinitis
  SD                   standard deviation
  TFM                  Tentative Final Monographs




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         Introduction and Background
           Introduction and Charge to the Advisory Committee
  Thank you for participating in the Nonprescription Drugs Advisory Committee (NDAC) meeting to be
  held on September 11 and 12, 2023.
  The Food and Drug Administration (FDA or the Agency) is convening this Advisory Committee (AC) to
  discuss the adequacy of efficacy data available for orally administered phenylephrine (PE) as a nasal
  decongestant and whether the oral nasal decongestants phenylephrine hydrochloride and
  phenylephrine bitartrate should be reclassified as not Generally Recognized as Safe and Effective
  (GRASE) due to lack of efficacy.
  The Agency has been evaluating data with regard to the efficacy of oral PE since the NDAC meeting held
  in December of 2007,1 which had been prompted by data submitted to the Agency by Leslie Hendeles,
  PharmD, Randy Hatton, PharmD, and Almut Winterstein, PhD, in a 2007 Citizen Petition earlier that year
  (2007 CP).2 The CP requested that the Agency amend the dosage(s) of both oral PE salts by increasing
  the maximum dosage for patients ≥12 years of age, and “withdraw approval for use” (i.e., reclassify as
  not GRASE) in children <12 years of age. At that meeting, several meta-analyses of the original studies
  that supported the decision to include PE in the monograph were presented and discussed. Additionally,
  several industry speakers presented new bioavailability data that show that <1% of an oral PE dose is
  systemically available in an active form as well as clinical information from two environmental exposure
  unit (EEU) studies that suggest that PE is not more effective than placebo. The NDAC provided feedback
  that more clinical data would be needed in order to make a final decision regarding the effectiveness of
  oral PE (for patients 12 years of age and older).3
  Since the 2007 NDAC meeting, three large clinical trials have been conducted, two of which are cited in a
  second CP submitted by Drs. Hendeles and Hatton on November 4, 2015 (2015 CP) requesting that both
  oral phenylephrine salts be reclassified as Not GRASE due to lack of efficacy (i.e., to remove oral PE from
  the Final Monograph).4



  1
      NDAC meeting held on December 14, 2007, information available at: https://wayback.archive-
  it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDrugs.
  2
   Hendeles L, Hatton RA, Winterstein AG. Citizen Petition – Phenylephrine. Docket ID: FDA-2007-P-108 (formerly
  FDA-2007-P-0047/CP1), available at: https://www.regulations.gov/docket/FDA-2007-P-0108. Note: The 2007
  Citizen Petition was withdrawn by the petitioners on June 19, 2023, citing the fact that new information is
  available showing that doses up to 40 mg are not effective and that they have since submitted a second CP (2015
  CP) requesting the Agency reclassify the status of oral PE as not GRASE. See Footnote 4.
  3
    Note that the NDAC did not discuss the petitioner’s second request to withdraw use in children less than 12 years
  of age. Pediatric use of cough and cold medicines (including phenylephrine) in the CCABA OTC Monograph was
  discussed at a joint Nonprescription Drugs and Pediatric Advisory Committee meeting held on October 18 and 19
  of 2007. Information available at: https://wayback.archive-
  it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDrugs.
  4 Hendeles L, Hatton RA. Citizen Petition – Phenylephrine. Docket ID: FDA-2015-P-4131, available at:

  https://www.regulations.gov/docket/FDA-2015-P-4131. The petitioners recently published a summary of their
  findings (Hatton and Hendeles 2022) and submitted additional information to the CP docket in May 2022.
  Additionally, the American Association of Colleges of Pharmacy (AACP) submitted a letter to the docket in July of
  2022, in support of the petitioner’s request.


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  Since the 2007 NDAC meeting the Agency has continued to re-evaluate the scientific support for use of
  oral PE as a nasal decongestant, and we have now completed a thorough review of all those data. Our
  review includes all of the available clinical pharmacology and clinical data, which include significant new
  data that were not available at the time that the original GRASE decision was made (to include oral PE in
  the monograph), as well as a detailed evaluation of each of the original studies that supported that
  decision. As such, throughout this document, the term “new” (when referring to data, studies, or trials)
  refers to any data that was generated or has become available since the publication of that nasal
  decongestant FM Federal Register notice on August 23, 1994 (59 FR 43386).
  In accordance with the effectiveness standard for determining that a category of over-the-counter (OTC)
  drugs is generally recognized as safe and effective that is set forth in 21 CFR § 330.10(a)(4)(ii), which
  defines effectiveness as: “a reasonable expectation that, in a significant proportion of the target
  population, the pharmacological effect of the drug, when used under adequate directions for use and
  warnings against unsafe use, will provide clinically significant relief of the type claimed”, we have now
  come to the initial conclusion that orally administered PE is not effective as a nasal decongestant at the
  monographed dosage (10 mg of PE hydrochloride every 4 hours) as well as at doses up to 40 mg (dosed
  every 4 hours). We will present the scientific data that support our conclusions and seek concurrence
  from the AC on the strength of that evidence. Because this would represent a major change in the
  Agency’s position, we believe that presenting this information in an open public forum, along with a full
  discussion and vote from the AC, will be extremely helpful.
  During our review, the Agency has not identified any safety issues with orally administered PE products,
  and none are planned to be discussed at the meeting. However, we are concerned about avoiding
  potential unintended consequences with regard to changing the GRASE status of oral PE. We anticipate
  that any action taken by the Agency in this regard will have significant downstream effects, including
  effects on both industry and consumers, because the only other oral decongestant listed in the CCABA
  Monograph is pseudoephedrine (PSE), which is now regulated as a ‘behind-the-counter’ product under
  the Combat Methamphetamine Epidemic Act of 2005 (CMEA).5 Subsequently, and in response to the
  CMEA, most OTC products were reformulated away from inclusion of PSE to PE. As a result, consumers
  will require education to make the appropriate choices for alternative treatments. We recognize that
  many of these educational components will require input and coordination with communication
  specialists within the Agency, professional organizations that can aid in focusing and amplifying the
  messaging, and industry.
  That stated, there are a number of potential benefits that would be derived by changing the GRASE
  status of oral PE. These include but are not limited to avoiding the unnecessary costs and delay in care
  of taking a drug that has no benefit, avoiding the risks of potential allergic reactions or other side effects
  related to use of phenylephrine in combination products, avoiding the inherent risks (especially for
  combination therapies) of taking more in order to seek some benefit, avoiding the risks of medication
  use in children, lowering of overall healthcare costs, and avoiding missed opportunities for use of more
  effective treatments (including seeing a doctor if needed).
  Should the Agency take an action regarding the GRASE status of oral phenylephrine, we also understand
  that a significant impact on industry would be inevitable. Manufacturers, warehousers, and pharmacies
  all have a significant supply chain investment in stocks of PE, either as a precursor chemical, ingredient


  5
      Combat Methamphetamine Epidemic Act of 2005, signed into law on March 9, 2006.


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  itself, or in a finished product. There will also be significant retooling costs. In addition to OTC products,
  prescription products and drug development programs will be affected (because acceptability of PE in
  the formulation was/is based on the GRASE status of PE). However, other than providing historical use
  data to frame the discussion regarding potential impacts, the Agency does not intend to present or
  discuss impacts on industry at the meeting. Instead, we will ask you to focus on two issues: 1) the
  scientific merits of our findings regarding the lack of efficacy of oral PE, and 2) the risk
  management/communication/educational issues that would arise if the Agency makes the decision to
  remove oral PE from the OTC monograph (i.e., change its status to not GRASE), including the unintended
  consequences that may result from substitution and use of alternative treatments such as safety issues
  related to the use of drugs that contain other active ingredients, prolonged use of topical intranasal
  decongestant products that may result in rebound congestion (rhinitis medicamentosa, a condition that
  is difficult to treat), and safety issues related to the off-label use of other products or ingredients. We
  will also ask you to focus on the education of consumers regarding alternatives to phenylephrine
  (including both oral and intranasal products), how to obtain PSE from behind-the-counter, and
  education of consumers with a preference for PE regarding why it is being removed from the market.
  Specifically, we will ask you, as a member of the Advisory Committee, to address the following points for
  consideration:
  1. Do the scientific data support that the monographed dosage of orally administered PE (for adults
     and children 12 years of age and older, 10 mg of PEH every 4 hours, not to exceed 60 mg in
     24 hours) is effective as a nasal decongestant?
  2. Do the scientific data support that doses of orally administered PE up to 40 mg are effective as a
     nasal decongestant?
  3. Discuss the potential consequences, unintended consequences, and risk mitigation/communication
     strategies if a decision were made to remove oral PE from the Monograph due to lack of efficacy.
  Note that, when not otherwise specified in this document, all doses and dosages are for the
  adult/adolescent dosage of the hydrochloride salt (PEH). However, the voting and discussion apply to all
  age groups as well as both salts, because inclusion in the monograph of doses for lower age groups was
  based on extrapolation from older age groups, and inclusion of the bitartrate salt (PEB) was based solely
  on bioavailability data (see Section 1.3, Background on Phenylephrine, for details).

        Background on the CCABA Monograph
  The CCABA monograph is complex and wide-ranging, including antihistamine (oral), nasal decongestant
  (oral and topical), expectorant (oral), antitussive (oral and topical), and bronchodilator (oral and inhaled)
  ingredients (Table 16). It provides a listing of permitted ingredients along with required labeling and
  dosing (Table 17 for oral ingredients, Table 18 for topical and inhaled ingredients), as well as permitted
  combinations of ingredients, including with ingredients in several other OTC monographs (Table 19).
  Several ingredients are listed in multiple sections. For example, diphenhydramine (hydrochloride and
  citrate salts) is listed as both an antihistamine and as an antitussive (as well as in several other OTC
  monographs), and ephedrine is included as both an oral bronchodilator (ephedrine, ephedrine
  hydrochloride, ephedrine sulfate, and racephedrine hydrochloride) and as a topical nasal decongestant
  (ephedrine, ephedrine hydrochloride, and ephedrine sulfate as nasal drops, nasal spray, or nasal jelly).
  Additionally, the monograph includes professional (i.e., prescription) labeling and dosing for certain oral




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  ingredients in children down to 2 years of age, and in one instance (triprolidine hydrochloride) down to
  4 months of age (Table 17).6
  Inclusion of ingredients in the CCABA Monograph was based on recommendations made by an Advisory
  Review Panel on Over-the-Counter Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Products
  (hereafter referred to as ‘the Panel’ or the ‘Cough-Cold Panel’). The Panel was convened by the National
  Academy of Sciences / National Research Council (NAS/NRC) on behalf of the FDA, to review and provide
  recommendations to the Agency regarding the safety and efficacy of therapeutic groups of these
  products.7 The Agency published the Cough-Cold Panel’s recommendations as a Proposed Rule (ANPR)
  in 19768 and issued Tentative Final Monographs (TFM) in segments by drug class between 1982 and
  1988: anticholinergics and expectorants (1982), bronchodilators (1982), antitussives (1983),
  antihistamines (1985), nasal decongestants (1985), and permitted combinations (1988).9 Respectively,
  each TFM established the conditions under which an ingredient within a drug class, or permitted
  combination of ingredients or drug classes, would be considered to be Category I, ‘generally recognized
  as safe and effective’ (GRAS/GRAE, also referred to as GRASE). Final Monographs (FM) for each of the
  drug classes in the CCABA monograph were subsequently published in segments: anticholinergics
  (1985), bronchodilators (1986), antitussives (1987), expectorants (1989), antihistamines (1992), nasal




  6
    Professional labeling is theoretically available only to physicians and only by prescription, and is specific to oral
  ingredients, including: all antihistamines (diphenhydramine is listed twice, as both an antihistamine and as an
  antitussive), ephedrine, chlophedianol, and codeine. Guaifenesin is also listed, but only with specific labeling for
  use as a single-ingredient product for “stable chronic bronchitis.”
  7
    In 1972, in response to the Kefauver-Harris Amendment [AKA the “Drug Efficacy Amendment”, signed into law by
  President Kennedy on October 10, 1962] to the Food, Drug, and Cosmetic Act, which required drug manufacturers
  to provide proof of the effectiveness [as well as safety] of their drugs before approval, the Agency implemented an
  administrative process of reviewing OTC drugs through rulemaking by therapeutic classes (e.g., antacids,
  antiperspirants, cold remedies). This process [usually referred to as “DESI” for Drug Efficacy Study Implementation]
  involved convening an Advisory Panel for each therapeutic class to review data relating to claims and active
  ingredients. The Panel reports and comments were then published in the Federal Register as Advanced Notice(s) of
  Proposed Rulemaking (ANPR) and after FDA review, a Tentative Final Monograph (TFM) for each therapeutic class
  of drugs was published. The final step was the publication of a Final Monograph (FM) for each class, which sets
  forth the allowable claims, labeling, and active ingredients for OTC drugs in each class. Drugs marketed in
  accordance with a FM are considered to be generally recognized as safe and effective (GRAS/GRAE or GRASE) and
  do not require FDA approval of a marketing application.
  8
      Cough-cold ANPR, ANPR: 41 FR 38312 (September 9, 1976).
  9
   Tentative Final Monographs: Anticholinergic and expectorant: 47 FR 30002 (July 9, 1982); Bronchodilator: 47 FR
  47520 (October 26, 1982); Antitussive: 48 FR 48576 (October 19, 1983); Antihistamine: 50 FR 2200 (January 15,
  1985), with corrections in 50 FR 6199 (February 14, 1985) and 50 FR 9040 (March 6, 1985), and with an
  amendment in 52 FR 31892 (August 24, 1987); Decongestant: 50 FR 2220 (January 15, 1985); Permitted
  combinations: 53 FR 30522 (August 12, 1988).


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  decongestants (1994), and permitted combinations (2002).10 FMs are/were included in the Code of
  Federal Regulations.11,12
  Of note, on the basis of the Panel’s recommendations, the ANPR included three oral decongestant
  ingredients: phenylpropanolamine (PPA), pseudoephedrine (PSE), and phenylephrine hydrochloride.
  However, PPA was excluded from the listing of ingredients included as GRASE in the 1985 Tentative Final
  and the 1994 Final Decongestant Monographs because of potential safety issues, and was removed from
  OTC use in 2005 after a large safety analysis showed that it was associated with hemorrhagic stroke in
  women of childbearing age.13 This left only PEH and PSE as GRASE oral nasal decongestants (PEB was
  added in 2006). However, after passage of the CMEA in 2006, PSE became regulated as
  ‘behind-the-counter’, limiting its use in the OTC setting and leaving PE as the only remaining OTC oral
  decongestant.
  Over the years, multiple amendments to the CCABA monograph have been contemplated by the
  Agency, but while some amendments have been made, no major overhaul of the monograph has been
  carried out, and almost no amendments have been made in the last 15 years. Additionally, the Agency
  has received multiple CPs, several of which are outlined in this review, requesting to amend various
  aspects of the monograph. Changes contemplated by the Agency were primarily delayed by the time
  and resources needed to fully review the issues. That stated, the Coronavirus Aid, Relief, and Economic
  Security Act (CARES Act), signed into law on March 27, 2020, does provide an updated pathway to issue,
  revise, or amend OTC monographs by replacing rulemaking with an administrative order process, which
  will simplify the process of making any contemplated changes to the monograph.14 In addition to


  10
    Final Monographs: Anticholinergic: 50 FR 46582 (November 8, 1985); Bronchodilator: 51 FR 35326 (October 2,
  1986); Antitussive: 52 FR 30042 (August 12, 1987); Expectorant: 54 FR 8494 (February 28, 1989); Antihistamine: 57
  FR 58356 (December 9, 1992); Nasal decongestant: 59 FR 43386 (August 23, 1994); Permitted Combinations: 67 FR
  78158 (December 23, 2002).
  11
    The FM for nasal decongestants was issued in 59 FR 43386 on August 23, 1994. The nasal decongestant
  monograph previously resided as 21 CFR § 341.20(a) within the CCABA OTC Monograph, 21 CFR § 341 (eCFR :: 21
  CFR Part 341 -- Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Drug Products for Over-the-Counter
  Human Use). The CCABA OTC Monograph (including all amendments) was deemed to be a Final Order (OTC
  Monograph M012, Order Number OTC000026, posted on the FDA web portal on October 14, 2022) under the
  CARES Act (Coronavirus Aid, Relief, and Economic Security Act, signed into law on March 27, 2020:
  https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf). M012 is available at:
  https://dps.fda.gov/omuf/monographsearch/monograph m012.
  12
    Additional rulemaking history is available at: Rulemaking History for OTC Nasal Decongestant Drug Products |
  FDA. This page represents that status of OTC rulemakings prior to the enactment of the CARES Act (e.g., before
  March 27, 2020). This rulemaking history site is intended as a research aid and is not an official FDA record.
  13
    Data from the Yale Hemorrhagic Stroke Project study, discussed at an NDAC meeting held on October 19, 2000.
  A proposed rule, reclassifying PPA from Category 1 to Category 2 for OTC use in both nasal decongestant and
  weight control products, was published in 70 FR 75988 (December 22, 2005). See
  https://www.fda.gov/drugs/historical-status-otc-rulemakings/rulemaking-history-otc-weight-control-drug-
  products#PPA and https://www.fda.gov/drugs/information-drug-class/phenylpropanolamine-ppa-information-
  page.
  14
    The CARES Act (Public Law No. 116-136, 134 Stat. 281, 457), which added section 505G to the Federal Food, Drug
  and Cosmetic Act (21 U.S.C. 355g), includes provisions that govern the way certain OTC drugs are regulated in the
  United States. Section 505G reforms and modernizes the OTC drug review process. For information about OTC




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  reaffirming and giving FDA specific authority to add, remove, or change the GRASE conditions for an OTC
  monograph, the CARES Act also requires the Agency to report to Congress yearly on the status of certain
  planned revisions to the CCABA monograph, and specifically on pediatric dosing issues. Since all of the
  GRASE determinations for the CCABA drugs, including phenylephrine, were made based on
  extrapolation of efficacy and dosing from adult data, one must address these pediatric issues by
  addressing the adult data under the pediatric extrapolation principles set forth in the Agency’s draft
  guidance on the General Clinical Pharmacology Considerations for Pediatric Studies of Drugs, Including
  Biological Products15 and in International Council for Harmonisation of Technical Requirements for
  Pharmaceuticals for Human Use (ICH) E11A.16 For this reason, any recommendations made regarding
  the efficacy of oral PE in adults would apply to its use in adolescents and children. As noted previously,
  the CCABA OTC Monograph conditions previously set forth in 21 CFR § 341 were deemed to be a final
  order by the CARES Act and can now be found in OTC Monograph M012, meaning that the CCABA
  monograph may now be amended via the new administrative order process established under Section
  505G of the Food, Drug, and Cosmetic Act.11

        Background on Phenylephrine
  Phenylephrine is a specific alpha-1 adrenergic receptor agonist that works by temporarily constricting
  blood vessels. By contrast, pseudoephedrine is a relatively less selective agonist that acts on both alpha-
  and beta-adrenergic receptors. The literature reports that PSE is more lipophilic than PE and thus is
  more accessible to the central nervous system by crossing the blood-brain barrier (Gheorghiev et al.
  2018). The vasoconstriction effect of PSE is likely contributed to by an indirect action via release of
  norepinephrine in synaptic nerve terminals (Gorodetsky 2014).
  The FM for OTC nasal decongestant drug products, issued in 1994, classified the PEH as a GRASE nasal
  decongestant when administered orally (immediate-release [IR] formulations) or intranasally (M012.80,
  previously 21 CFR 341.80). The PEB, an IR effervescent tablet for oral administration, was added to the
  monograph in 2006, based on pharmacokinetic (PK) data demonstrating that it has similar bioavailability
  to PEH.17
  The monograph provides oral dosages of PEH down to 2 years of age, and dosages of PEB down to
  6 years of age (see Table 1). It should be noted that inclusion in the monograph of doses for ages less
  than 12 years was based entirely on historical use and not on data in those age groups. It should further
  be noted that a convention for determining pediatric dosing was used for all oral ingredients included in


  Monograph reform under the CARES Act see: Over-the-Counter (OTC) Drug Review | OTC Monograph Reform in
  the CARES Act | FDA.
  15
    Available at: https://www.fda.gov/regulatory-information/search-fda-guidance-documents/general-clinical-
  pharmacology-considerations-pediatric-studies-drugs-including-biological-products.
  16
    ICH E11A Draft Guidance on Pediatric Extrapolation, available at: https://www.fda.gov/regulatory-
  information/search-fda-guidance-documents/e11a-pediatric-extrapolation.
  17
    See rulemaking history at: Rulemaking History for OTC Nasal Decongestant Drug Products | FDA. In 2004, in
  response to a Citizen Petition from a manufacturer, FDA issued a Proposed Rule to add phenylephrine bitartrate
  (an immediate-release [IR] effervescent tablet dosage form) as a GRASE oral nasal decongestant when used as an
  IR effervescent tablet (69 FR 63482 [November 2, 2004]). The manufacturer submitted data from in vitro and in
  vivo studies to support the request. After considering safety information from U.S. databases and marketing
  experience, FDA determined that the data demonstrated acceptable comparability of PEB with PEH and issued a
  Final Rule adding PE bitartrate to the monograph in 2006 (Amended Final Monograph: 71 FR 43358 [Aug. 1, 2006]).


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  the CCABA monograph, and later supported by several AC meetings in the 1990s, namely that doses for
  children 6 to 11 years of age should be half the adult/adolescent dose, and doses for children
  2 to 5 years of age of one quarter of the adult/adolescent dose.
  PEH is also approved for other OTC (rectal18 and ophthalmic19) uses, as well as by prescription for
  intravenous (IV) administration. The recommendations in this document do not apply to such use, nor
  do they apply to intranasal use of phenylephrine as a nasal decongestant.

  Table 1. Monographed Dosages of Oral Phenylephrine
  Age Range                           Phenylephrine Hydrochloride            Phenylephrine Bitartrate
  Adults and children 12 years of age 10 mg every 4 hours, not to            15.6 mg every 4 hours, not to
  and over                            exceed 60 mg in 24 hours               exceed 62.4 mg in 24 hours
  Children 6 to under 12 years of age 5 mg every 4 hours, not to             7.8 mg every 4 hours, not to
                                      exceed 30 mg in 24 hours               exceed 31.2 mg in 24 hours
  Children 2 to under 6 years of age 2.5 mg every 4 hours, not to
                                      exceed 15 mg in 24 hours               Consult a doctor
  Children under 2 years of age       Consult a doctor
  Source: CCABA OTC Monograph M012. See Footnote 11.

           Introduction to the Agency’s Reviews
  With the availability of new studies since FDA last evaluated oral phenylephrine under the CCABA OTC
  Monograph, the Agency undertook a careful and thorough review of all of the available data. The new
  data appear compelling that the monographed dosage of oral PE results in no meaningful systemic
  exposure or evidence of efficacy. Furthermore, the review suggests that higher doses (of PEH), which
  have been tested clinically up to 40 mg every 4 hours, have also not shown efficacy. These findings are
  supported by in vitro and in vivo clinical pharmacology data showing that orally administered
  phenylephrine undergoes high first-pass metabolism resulting in less than 1% bioavailability for the
  active parent PE. The clinical pharmacology data also suggest that the monographed every-4-hour
  dosing interval is likely not adequate (i.e., not sufficiently frequent to cover the full dosing period),
  meaning that in addition to lack of an efficacious dose, an appropriate dosing interval for oral PE has not
  been established. Finally, pharmacodynamic/clinical safety data suggest that doses of 80 to 90 mg result
  in potentially clinically meaningful systemic increases in blood pressure (BP), a physiologic finding
  expected of an alpha-1 adrenergic receptor agonist. As a result, these data support that 40 mg (half the
  dose associated with clinically significant changes in BP) is the highest oral dose that should be
  considered for the treatment of nasal congestion, and that studying higher doses will not be a viable
  option.
  In order to understand how the new data fit within the context of the long history of oral phenylephrine
  use, we reviewed all of the available data, including the original data that supported the Agency’s GRASE
  determination. What follows is a summary of all the pertinent history and data, starting with the original
  efficacy and safety materials reviewed as part of the Agency’s initial GRASE determination and
  progressing through the 2007 AC meeting, subsequent studies and clinical trials, and the Agency’s
  detailed reviews of all of the available data. Finally, we discuss the potential impacts should a decision
  be made to remove oral phenylephrine from the CCABA OTC monograph.


  18
       M015 (previously 21 CFR 346): Anorectal Drug Products for Over-the-Counter Human Use.
  19
       M018 (previously 21 CFR 349): Ophthalmic Drug Products for Over-the-Counter Human Use.


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          Detailed Background
           Original Cough-Cold Advisory Panel Recommendations
  Phenylephrine HCl was evaluated for OTC use as an (oral and intranasal) nasal decongestant in 1976 by
  the Advisory Review Panel on OTC CCABA Products, which provided recommendations to the Agency
  regarding the safety and efficacy of these products. The Agency published the Panel’s summary findings
  (without Agency review or comment) in the Federal Register as part of the Advanced Notice of Proposed
  Rulemaking (ANPR) in 1976.20 This section summarizes and discusses those findings, as presented in the
  1976 ANPR. The Final Oral Decongestant Monograph, which represents the information that was
  subsequently reviewed by the Agency (including the ANPR and public comments), was published in
  1994.

             Safety/Pharmacodynamics
  The Panel reviewed the clinical safety data of orally administered PEH doses between 10 mg and 60 mg
  and concluded that at the 10 mg dose level the cardiovascular side effects (i.e., pharmacodynamic or PD
  effects) were similar to that of a placebo, with mild central nervous system stimulation noted only at
  doses of 25 mg and higher. Most of the 17 studies evaluated for safety were single-dose studies, and the
  ANPR notes that a number of the studies produced inconsistent results, particularly at lower doses. One
  study submitted to the docket (and referenced in the ANPR) noted that the threshold for PD effects, i.e.,
  clinically meaningful effects on systolic BP (an increase of 5 to 10 mm Hg) and heart rate (HR) (a
  reduction of 4 to 8 beats/minute) is 40 to 60 mg.21 That said, the same study also noted that oral dose of
  250 mg produces a PD effect (pulse rate decline from 67 to 46 and BP rise from 112/71 to 143/96) that is
  roughly equivalent to a subcutaneous dose of 5 mg, a subcutaneous dose that consistently produces a
  measurable PD effect. A second study submitted to the docket (but not specifically written up in the
  ANPR) suggested that a dose of 100 mg or more is needed to exert a meaningful PD effect on systolic BP,
  with no effect noted after a 50 mg dose (see Figure 1).22




  20
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399-383100.
  21
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 1: Keys and Violante (1942).
  22
    Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 3: Standler to Ludena. Analysis of blood
  pressure and pulse results for subjects given placebo and Neo-Synephrine orally. Unpublished report from Sterling-
  Winthrop Lab, dated January 6, 1967.


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  Figure 1. Fractional Changes in Systolic Blood Pressure (BP) in Subjects Given Oral Placebo or
  10, 25, 50, or 100 mg of Neo-Synephrine (PEH) (n=20)22




  Source: 41 FR 38312 (September 9, 1976) at 38400, reference 3.

  Another study tested single oral doses of 10, 25, 50, and 75 mg of PEH and compared them with 25 and
  50 mg of PPA in a double-blind fashion in 14 or 15 subjects.23 BP, pulse rate, and nasal airway resistance
  (NAR) were evaluated prior to and at 1, 2, and 5 hours after drug administration. Only minor changes
  were noted in BP at 1 and 2 hours post-treatment even after 75 mg of PEH, a “small but significant”
  change in BP was noted after 50 mg of PPA, and no significant changes were noted in NAR. The
  discussion section of that reference (reference 5) is also interesting in that it notes that a previous study
  from 1933, which may or may not have been reviewed but was not discussed by the Panel in the ANPR,
  had calculated that the minimal pressor dose (i.e., PD effect on blood pressure) of oral PEH is 70 mg, and
  found that the minimally effective dose is approximately 120 mg (Tainter and Stockton 1933).
  A final study submitted to the docket is of interest, but primarily with respect to the metabolism of PE. It
  noted that concurrent use of 10 mg oral dose of PE with a monoamine oxidase inhibitor produced a
  substantial rise in blood pressure that required intervention by phentolamine antagonism,24 which both
  suggests that monoamine oxidase is involved in the metabolism of orally administered PE and provides a
  clue to an eventual more comprehensive understanding of PE metabolism that is discussed below.
  It should also be noted that the safety findings from the original studies are consistent with subsequent
  safety/PD studies that will be discussed in the Agency Reviews section, which found potentially clinically
  meaningful changes in systolic BP at oral PEH doses of 80 to 90 mg.




  23
    Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 5: Ludena to Lands. Comparative study
  of the effects of Neo-Synephrine HCl and Propadrine HCl [phenylpropanolamine hydrochloride] on nasal airway
  resistance (NAR), blood pressure, and pulse rate of volunteers. Unpublished report from Sterling-Winthrop Labs,
  dated April 23, 1959.
  24
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 12: Elis et al. (1967).


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             Effectiveness
  2.1.2.1      Preliminary Comments
  The Panel reviewed clinical effectiveness data for oral doses between 5 mg and 40 mg. A total of 14
  studies were reviewed, of which 7 reported positive measurable efficacy results.25 The 14 studies are
  summarized in Table 2 and Table 3, with a more complete breakdown in Appendix Table 15. Note that in
  this section, which presents the studies that the Panel reviewed, the Panel had access to the study
  reports which had figures and tables, but none of those figures were shown in the ANPR, only a
  summary description of what the Panel felt was important. This section includes those figures and
  tables.
  A word about the endpoint used in these studies is also in order. All of the studies used measurements
  of airflow and air pressure in the nasal passage to calculate NAR as an indirect measure of the level of
  nasal congestion. NAR was the principal methodology used to assess the effectiveness of oral PE in all of
  the studies, with nasal congestion symptoms evaluated as a secondary measure, and the ANPR cites
  onset of action, duration of effect, and maximal response based on NAR methodology. However, the
  science has evolved since the time of the Panel, and NAR is no longer used as a primary endpoint to
  evaluate congestion in pivotal trials. The Agency now recommends use of nasal congestion symptom
  scores to evaluate congestion as part of evaluation of other symptoms related to allergic rhinitis.26
  Please see further discussion of this endpoint in the Clinical Review, Original Panel Studies,
  Methodological and Statistical Issues section, which discusses the significant issues with the
  methodology employed in all of the original studies.

  2.1.2.2      Outline of the Effectiveness Studies
  Of the 14 studies submitted to support effectiveness, only 12 provided evaluable efficacy information.
  Eleven of the 14 were from a single sponsor, Sterling-Winthrop Research Institute on behalf of Sterling-
  Winthrop Labs, the manufacturer of Neo-Synephrine (references 5 to 10 and 20 to 24) 27, of which one
  was a preliminary descriptive study that focused primarily on safety and not efficacy (reference 5) and
  therefore provides no useful efficacy information.23 One study conducted at the University of Maryland
  failed to adequately identify the ingredients and doses studied (Blanchard, reference 19), and therefore
  also provided no evaluable information.32 See the “Effectiveness” Studies With No Useful Efficacy
  Information section below for details on these two studies.
  Of the remaining 12, 10 were conducted for Sterling-Winthrop (see Sterling-Winthrop Studies), one was
  conducted by Whitehall Laboratories (BEI 1025, reference 26)29 (see Whitehall Labs (BEI 1025)), and one
  was conducted at Columbia University (see Columbia University Study (Rogers / Bickerman
  publications)). The Whitehall Laboratories study (BEI 1025) was considered in the ANPR to be a ‘positive’
  study (meaning that it was considered to have demonstrated the effectiveness of oral PE), whereas the
  Columbia University study was considered a ‘negative’ study (did not demonstrate effectiveness).
  The 10 Sterling-Winthrop studies (Table 3) include 6 studies that were considered positive and 4 that
  were considered negative. All were of similar design, and because they comprise 6 of the 7 positive



  25
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, references 5 to 10 and 19 to 26.
  26
       See Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment (FDA 2018).
  27
       Note that the ANPR mistakenly cites reference 19 as having been one of those studies when it was not.


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  studies, they appear to have formed a large part of the basis for the original Panel’s recommendations.
  The 4 non-Sterling-Winthrop studies, including the 2 that did not provide any evaluable efficacy data,
  are shown in shown in Table 2, whereas the 10 Sterling-Winthrop studies are shown in Table 3. Studies
  in red font were considered to have been supportive of the effectiveness determination.

  Table 2. Doses (mg) and Numbers of Subjects in the Four Non-Sterling-Winthrop Oral PE
  Effectiveness Studies
                                     Phenylephrine (n)       PSE        PPA        Ephedrine
          Site       Ref # Year
                                10 mg 15 mg 20 mg 25 mg 60 mg 25 mg 50 mg 25 mg 50 mg
  Sterling Winthrop    5   1959    15                    15                          15     14
  Blanchard*          19 1964      NA
  Rogers**            25 1973
     Bickerman**           1971    57                           57 40 mg n=57
  BEI 1025            26 1975 25/75
  Source: Adapted from oral PE studies submitted to the docket. Reference numbers refer to the docket reference numbers (not the
  reference numbers in the ANPR text).
  Notes: All studies used placebo arms (not shown). BEI 1025 was a parallel-group study; all others were of a crossover design. BEI
  1025 evaluated 50 subjects for NAR (n=25 PEH, n=25 placebo) and symptoms, with an additional 150 (n=75 PEH, n=75 placebo)
  only for symptoms (total of 200 subjects, n=100 PEH, n=100 placebo), as shown in the table above. Red font indicates arms that
  were considered positive with regard to NAR results. Black font indicates arms that were considered negative with regard to NAR
  results. The studies are presented in order of the date of the study report.
  * Blanchard (ANPR reference 19) is included among a group listed as one of five studies conducted at the same laboratory
  (Elizabeth) over a 3-year period. However, it was not. It was conducted at the University of Maryland. Further, the study does not
  support the effectiveness of oral PE for a number of reasons, including that the product and dose is not stated and the decongestant
  was administered as a commercial combination product. The fifth Elizabeth study is actually in ANPR reference 10, not 19.
  ** We believe that ANPR Reference 25 (Rogers 1973), which is an abstract, is based on a previous publication by the same authors
  (Bickerman et al. 1971). See the Columbia University Study (Rogers / Bickerman publications) section for details.
  Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; NAR, nasal airway resistance; PE, phenylephrine; PEH,
  phenylephrine hydrochloride salt; ref, reference

  2.1.2.3      Sterling-Winthrop Studies
  As noted in the introductory section above, 11 of the 14 studies came from the same sponsor (Sterling-
  Winthrop Research Institute on behalf of Winthrop Labs, the manufacturer of Neo-Synephrine), of which
  1 was a preliminary descriptive study that only secondarily included NAR evaluations (see
  “Effectiveness” Studies With No Useful Efficacy Information section below), and 10 were virtually
  identical using a single-dose, double-blind, placebo-controlled, two-way crossover design in subjects
  with the common cold. Various doses of oral PE were evaluated (see Table 3), and three of the studies
  included an active comparator (PPA or ephedrine).28
  Critically, among these 10 studies were 6 of the 7 studies that were considered to have demonstrated
  the effectiveness of oral PE, 5 of which were performed in a single laboratory, Elizabeth Biochemical.
  Whereas the ANPR does not go into much depth about these studies, as part of our re-assessment of
  the data, a full discussion of these studies may be found in the Clinical Review, Original Panel Studies
  section.




  28
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, references 5 to 9, and 19.


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  Table 3. Doses (mg) and Numbers of Subjects in the 10 Sterling-Winthrop Oral PE Effectiveness
  Studies (Shown in Order of Study Date)
                                 Study       Phenylephrine (n)             PPA Ephedrine
                    Ref #
         Site                     Date 5 mg 10 mg 15 mg 20 mg 25 mg 50 mg 8 mg 50 mg
  Elizabeth 1           6      6-28-67                               12*            13*
  Elizabeth 2           7      1-12-68          16*    10*             6*                    6*
  Cintest 1            22      4-10-69          16*            16*          15*
  Huntingdon 1         20      5-13-69           16                   16    16^
  Elizabeth 3           8       6-2-69   16*            8*             9*     9*
  Huntingdon 2         21      6-26-69           25             24
  Elizabeth 4**         9      8-11-69                  6*      5*     9*
  Elizabeth 5**        10      5-27-70          10*     6*             9*
  Cintest 2            23      1-23-70           15     16      15
  Cintest 3            24      5-18-70           15     16            16
                          Positive        16     42     30      21    45     24      13       6
  Total subjects
                          Negative         0     71     32      39    32     16       0       0
  Source: Adapted from oral PE studies submitted to the docket. Reference numbers refer to the docket reference numbers (not the
  reference numbers in the ANPR text).
  Bolded studies (Elizabeth 2 and Cintest 1) were considered the most ‘positive’ studies.
  * Red font denotes significance reported for NAR results for specific doses by the FDA Statistician, Dr. Lin, in his 2007 statistical
  review. Note that studies considered to be ‘positive’ studies, i.e., studies reporting positive findings, are also highlighted in red font.
  ^ Denotes that active control was not effective (even though it would be expected to have been).
  ** Elizabeth studies 4 and 5 did not enroll the expected number of subjects, either because the cold season had ended (Elizabeth 4)
  or because they were unable to recruit sufficient numbers of subjects (Elizabeth 5).
  Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; NAR, nasal airway resistance; PE, phenylephrine; PPA,
  phenylpropanolamine; ref, reference

  2.1.2.4     Whitehall Labs (BEI 1025) Study
  The twelfth study, and the seventh positive study, was a relatively large, double-blind, placebo-
  controlled, parallel-group study (BEI 1025 and 1025a) that had been conducted for Whitehall
  Laboratories in 200 adults with nasal congestion associated with the “common cold” (100 per group)
  who were administered four doses of either PEH 10 mg or placebo at 4-hour intervals over 12 hours.29
  Because of the way it is described in the ANPR (as a full paragraph that is last in the efficacy section), it is
  likely that this particular study pushed the Panel in favor of a positive recommendation for oral PE.
  Subjects were followed for 12.5 hours (30 minutes beyond the fourth dose). However, the primary
  endpoint of rhinometry evaluations over 2 hours post the first dose (at 15, 30, 60, and 120 minutes),
  were only evaluated/performed in 50 subjects (25 per arm). Subjective subject and investigator
  evaluations of the symptoms of stuffy nose (i.e., congestion), runny nose, sneezing, itching (eyes and
  nose), coughing, and muscle ache were evaluated for all 200 subjects at various time points over the
  treatment period.
  NAR results (Table 4 and Figure 2) are said to have “demonstrated that a single oral 10 mg dose of
  phenylephrine led to a reduction in NAR averaging 11 percent at 15 minutes, 21 percent at 30 minutes,
  28 percent at 60 minutes, and 26 percent at 120 minutes.” Note, however, that percent change tends to
  exaggerate any differences, whereas the absolute change in NAR (Figure 2) was far more modest.
  Likewise, the “phenylephrine treatment group experienced relief of nasal congestion, runny nose and
  sneezing throughout the 12-hour observation period” is said to have differed from placebo. However,
  no differences were noted between active versus placebo groups in systolic or diastolic BP (Figure 3).



  29
    Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 26: Study report from Burton Cohen at
  Bio-Evaluation, Inc., for Study BEI 1025 and 1025a, conducted for Whitehall Laboratories, June 1975.


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  Table 4. Study BEI 1025. Percentage Change in Nasal Airway Resistance Over 2 Hours29
     Time (Minutes)          PEH 10 mg           Placebo
                  15              -11.37            +0.15
                  30              -20.62            -6.33
                  60              -28.25           -12.67
                120               -26.18            +5.50
  Source: Study BEI 1025.
  Abbreviation: PEH, phenylephrine hydrochloride


  Figure 2. Study BEI 1025a. Absolute and Percentage Changes in Nasal Airway Resistance Over
  2 Hours29




  Source: Study BEI 1025a.


  Figure 3. Study BEI 1025. Results for Systolic and Diastolic BP Following PEH 5 mg or Placebo29




  Source: Study BEI 1025.
  Abbreviations: BP, blood pressure; PEH, phenylephrine hydrochloride




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  2.1.2.5      Columbia University Study (Rogers / Bickerman publications)
  One of the 14 studies cited in the ANPR was specifically stated to have been a negative study that did
  not support the effectiveness of oral PE. This study is stated to have evaluated 10, 20, 30, and 40 mg in
  20 subjects with chronic rhinitis in a double-blind, crossover fashion. All doses were negative, whereas
  both PPA 40 mg and PSE 60 mg were positive.30 However, the ANPR citation for the Columbia University
  study pointed to an abstract with no dosing information (Rogers 1973, reference 25)31, whereas the
  ANPR discusses the negative results from the study in a manner that matches a previous 1971
  publication by one of the same authors (Bickerman 1971), which is likely the source of the data in the
  ANPR.
  Of note, the Bickerman publication actually refers to 57 rather than 20 subjects with chronic rhinitis who
  had been followed at Columbia University over an extended period of time, and those 57 subjects
  provide valuable efficacy information with regard to oral PE. Data from this study were presented (by
  the petitioners) at the 2007 Advisory Committee meeting (see Presentations by Drs Hendeles, Hatton,
  and Schuster (2007 CP) and Figure 6). We also reviewed the study in depth, and our analysis is
  presented in the Columbia University Study (Rogers / Bickerman publications) section (3.3.3.5.1) of our
  review. Rather than presenting this information in multiple sections of this document, please refer to
  those sections for further details.

  2.1.2.6      “Effectiveness” Studies With No Useful Efficacy Information
  As noted above, two of the studies considered for effectiveness (as well as safety) provided no useful
  efficacy information.
  One study was in the form of an unpublished report of a descriptive preliminary study that preceded the
  series of 10 small crossover studies conducted for Sterling Winthrop Research Institute and which
  comprise some of the key effectiveness evidence evaluated by the Panel (reference 5).23 This
  preliminary study evaluated blood pressure and heart rate, as well as NAR, after either various
  intranasal or oral PEH treatments. After intranasal administration, PEH 0.5% and PPA HCl 1.0% both
  produced what they termed as pronounced reduction in NAR within 15 minutes, which lasted more than
  60 minutes and less than 180 minutes. Oral doses included 10, 25, 50 and 75 mg of PEH (Neo-
  Synephrine) as well as 25 and 50 mg of PPA (Propadrine) in 14 or 15 subjects in a double-blind, placebo-
  controlled, crossover design. NAR was measured using Sterntein and Schur methodology (Sternstein and
  Schur 1936) at 1, 2, and 5 hours after drug administration. Only minor changes in systolic BP were noted
  at 1 and 2 hours postdosing after PE, and no significant effects on NAR readings were noted for any dose
  of PE, whereas significant effects were noted for PPA at 1 hour postdosing. The findings were said to
  suggest that 50 mg of PPA and 75 mg of PE are the threshold oral doses for these drugs.
  One other study (Blanchard et al. (1964)) included in the listing is of no value.32 It was submitted in the
  form of a publication of a study that had been conducted at the University of Maryland in hundreds of



  30
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 25.
  31
       Cough-Cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 25: Rogers et al. (1973).
  32
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 19: Blanchard et al. (1964). This is cited
  in the ANPR as being among a group listed as one of five studies conducted at the same laboratory (Elizabeth) over
  a 3-year period. However, it was not. It was conducted at the University of Maryland. The fifth Elizabeth study is
  actually in ANPR reference 10, not 19.


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  subjects with colds or hay fever over a 3-year period. However, the study does not support the
  effectiveness of oral PE for a number of reasons, including that the product and dose is not stated and
  the decongestant that was administered was a commercial combination product and not a single-
  ingredient oral PE product.

             The Panel’s Findings
  While the Panel specifically noted that the data were “not strongly indicative of efficacy”, in the absence
  of a safety concern, they recommended that the Agency categorize oral PE (immediate release
  hydrochloride salt) as safe and effective for use as an orally administered nasal decongestant at an
  adult/adolescent dosage of 10 mg administered every 4 hours.33
  With regard to pediatric use, the original Panel acknowledged that data on use of most drugs in children
  was negligible or nonexistent even though cough-cold products, including PE, were widely used in
  pediatric populations.34 They suggested that pediatric studies be done to support dosing, but given that
  such studies would be difficult to perform, they convened a Special Panel on Pediatric Dosage and made
  recommendations regarding the dosage of the various CCABA active ingredients.35 In addition, pediatric
  dosing was the subject of at least two Advisory Committee meetings that explored what was known
  about the physiology of different age and weight groupings and evaluated which ages could be grouped
  to simplify pediatric dosing regimens for OTC drugs. It was eventually decided that adolescents 12 years
  of age and older were sufficiently similar to adults that they could be grouped with adults (from efficacy,
  safety, and dosage perspectives) and receive an adult dosage. For children 6 to less than 12 years of age,
  the recommendation was to halve the adult dose, and for children 2 to less than 6 years of age the
  recommendation was to quarter the dose. These dosing regimen decisions were the same as what had
  been recommended by the original Panel and were applied to almost all of the orally administered
  ingredients included in the CCABA monograph, including PE.
  The ANPR requested public comment, and comments submitted to the docket were discussed in the
  TFM (proposed rule), published in the Federal Register on January 15, 1985. Two comments discussed in
  the TFM are directly relevant to this review. The first comment, TFM Comment 10, questioned the
  studies used by the Panel to substantiate the effectiveness of PEH as an oral nasal decongestant. The
  comment argued that the Panel had based its decision on numerous unpublished studies which “split
  evenly between mild successes and total failures” and noted that, in one study published in a peer-
  reviewed journal, no efficacy was seen even with doses greater than 10 mg.36 TFM Comment 10 also
  included two references that questioned the oral bioavailability of PEH. A second comment,
  Comment 11, noted that the Panel had cited a study that did not contain the information referenced in
  the text. The Agency agreed that it was unable to resolve that discrepancy, although after careful review
  we believe that we have resolved that discrepancy, and our findings are presented in detail in
  Section 6.1. Having reviewed the information cited in the comments, the Panel’s recommendations, and
  all of the supporting data, the Agency stated that it had concluded that “based on the studies cited by



  33
       Decongestant TFM, 50 FR 2220, January 1, 1985, at 2226.
  34
       Cough-cold ANPR, 41 FR 38312, September 9, 1976, at 38333; and 53 FR 23180, June 20, 1988.
  35
       Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38333.
  36
    Decongestant TFM, 50 FR 2220, January 15, 1985, at 2226, Comment 10 (also Comment 11, which referred to
  possibly incorrect reference citations in the 1976 ANPR).


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  the Panel, information on clinical use and marketing experience, and the Panel’s expertise in evaluating
  the clinical and marketing experience of this ingredient, there is sufficient basis to determine the
  phenylephrine hydrochloride is generally recognized as effective for OTC use as an oral nasal
  decongestant.”37
  Comment: We performed a comprehensive review of all the studies and publications submitted to the
  docket, and that review may be found within the Clinical Review subsection in the Agency Reviews
  section.

         2007 Meeting of the Nonprescription Drug Advisory Committee
  The Agency held a Nonprescription Drugs Advisory Committee (NDAC) meeting on December 14, 2007,1
  to discuss the scientific data raised by a CP submitted on February 1, 20072 (2007 CP), that requested
  that the Agency amend the dosage(s) of both oral phenylephrine salts (as nasal decongestants) in the
  FM by increasing the maximum dosage for patients 12 years of age and older and to withdraw approval
  for use in children younger than 12 years of age.3,38 The petitioners had obtained (under the Freedom of
  Information Act) the original Cough-Cold Advisory Panel data from the Agency, evaluated each of the
  studies, performed additional literature searches, and performed a meta-analysis of the data. Their
  meta-analysis resulted in a different conclusion than that of the original Cough-Cold Advisory Panel,
  namely that orally administered PE is not effective at the monographed dosages (Hatton et al. 2007).
  In addition to the petitioners, who presented their findings, a group from industry represented by the
  Consumer Healthcare Products Association (CHPA)39 presented a second meta-analysis that they
  believed support the findings of the original Panel. Data that supported the original decision about
  inclusion of PE in the monograph as well as both sets of meta-analyses were reviewed and discussed by
  an FDA statistician. Finally, several industry speakers, notably from Schering-Plough and Schering-Plough
  Merck, provided previously unpublished data that support the petitioners’ second CP to withdraw PE
  from the monograph. What follows below is summary of the information presented and discussed at the
  2007 NDAC meeting.

          Presentations by Drs Hendeles, Hatton, and Schuster (2007 CP)
  Leslie Hendeles, PharmD, Randy C. Hatton, PharmD, and Jonathan J. Schuster, PharmD,40 presented their
  meta-analysis of the studies submitted to and reviewed by the original Panel. Specifically, they noted
  that the data from one company, Elizabeth Biochemical, appeared to drive the majority of the positive
  results, and therefore the Panel’s recommendations (see Elizabeth Biochemical Nos. 2 and 5 in Figure 4).
  They noted that not only had most of studies from other laboratories not found a difference between PE


  37
    Decongestant TFM, 50 FR 2220, January 15, 1985, at 2226.
  38
    Note that two of the 2007 petitioners, Drs Hendeles and Hatton, submitted a second CP on November 4, 2015,
  requesting that both oral phenylephrine salts be reclassified as Not GRASE due to lack of efficacy (i.e., to remove
  oral PE from the Final Monograph). See Footnote 4.
  39
    The Consumer Healthcare Products Association (CHPA), founded in 1881, is a national trade association
  representing manufacturers and marketers of consumer healthcare products, including over-the-counter (OTC)
  medicines, dietary supplements, and consumer medical devices. Website: www.chpa.org.
  40
    Dr. Schuster was not one of the 2007 petitioners. He was a Research Biostatistician and Professor in the Division
  of Biostatistics in the Department of Epidemiology and Health Policy at the University of Florida College of
  Medicine.


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  and placebo, when they did find a difference the magnitude of effect was much smaller than that
  reported by Elizabeth Biochemical (Figure 5), which suggested a reporting bias.

  Figure 4. Pooled Random Effects Mean Maximum Difference in Percentage NAR Decrease Over
  120 Minutes Between Phenylephrine and Placebo




  Source: Hatton et al. (2007).
  Abbreviations: CI, confidence interval; NAR, nasal airway resistance


  Figure 5. Difference in Mean Maximum NAR Decrease Within 120 Minutes Between Phenylephrine
  and Placebo by Dose: Combined Results and Stratification by Study Site




  Source: Hatton et al. (2007).
  Abbreviations: BC, biochemical; NAR, nasal airway resistance

  They also reviewed the literature and a Cochrane review and noted several negative studies, including
  one negative study (that the Panel had noted but otherwise did not comment upon in favor of the
  positive evidence), which tried to overcome some of the complex methodological issues with NAR
  measurement (see Columbia University Study (Rogers / Bickerman publications) in the Clinical Review
  section) (Bickerman 1971). The study compared 10 mg of PE, 60 mg of PSE, 40 mg of PPA and placebo in
  subjects with nonatopic chronic nasal congestion who had previously been shown to respond to
  decongestant treatment. In this study, oral PE demonstrated no effect on NAR measurements, whereas
  both PPA and PSE showed changes that persisted over a 4-hour postdosing period (Table 11 and
  Figure 6). Note: The table was not presented at the AC meeting, only the figure.


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  Figure 6. Effects of Phenylephrine, Phenylpropanolamine, and Pseudoephedrine on Nasal Airway
  Resistance Over 4 Hours41




  Source: Adapted from Bickerman (1971).

  Finally, they presented data showing that an oral PE 10 mg dose resulted in no change in systolic or
  diastolic BP, or increased HR, whereas 50 mg of PPA did (Thomas et al. 1991). They noted that a dose of
  only 120 mg of PSE (twice the recommended maximum dose) was required to significantly increase BP
  in normotensive subjects whereas 120 mg of oral PE (12-fold the monographed dose) was required to
  produce a similar effect (Chua and Benrimoj 1988). As a result, they suggested that raising the
  monographed dose would be safe.
  Of note, while the petitioners recommended increasing the monographed dose of PE, they did not
  present data suggesting that higher oral PE doses are effective.
  The petitioners also noted that none of the studies reviewed by the Cough-Cold Panel included children
  less than 12 years of age, resulting in their recommendation to limit use to patients 12 years of age and
  older.

           Industry Presentations
  There were three sets of industry presentations at the AC meeting, which are discussed below. But,
  before discussing the presentations, it is helpful to provide some background. Of major interest were
  two presentations from Schering-Plough and Schering-Plough Merck, because these companies
  presented data that, counterintuitively, supported the petitioners CP that the monographed dose of oral
  PE is not effective and higher doses would be needed. The AC recommended that more clinical data
  would be needed to support higher doses of oral PE.
  Note: Over the subsequent 5 to 7 years, Schering-Plough/Merck proceeded to perform studies that
  [based on publicly available information, we believe they hoped] would support these new higher dose
  products, including a higher strength of IR oral PE and an extended-release formulation. We believe that
  the information they presented at the NDAC meeting were the early results that supported
  development of these products by providing preliminary support that the monographed dose is not



  41
    Adapted into a figure from Bickerman (1971). Figure published by Hendeles (1993) and Hendeles and Hatton
  (2006).


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  effective. Information from subsequent publications makes it clear that this was followed by safety
  studies, after which they conducted two large clinical trials. The data that Schering-Plough and Merck
  developed during these programs form the primary source of the evidence that oral PE is not effective
  at both the monographed dosage and at doses up to four-fold the monographed dose, a dose that
  (based on the safety /PD studies that they performed) was the highest dose that they felt could be
  safely marketed. See the Agency Reviews, Preface to Merck’s Two Clinical Trials section (3.3.2.1) for
  further details.42

  2.2.2.1   Industry Meta-Analysis
  CHPA, on behalf of industry, presented a second meta-analysis, which also used the original data
  supplied to the Advisory Panel (see the CHPA column in Table 6 for studies included in the industry
  meta-analysis). This meta-analysis, which reported findings congruent with the original Panel, was
  performed by GlaxoSmithKline Consumer Healthcare and the CHPA in response to the CP, and was later
  published (Kollar et al. 2007).

  2.2.2.2   Schering-Plough Presentation
  John O’Mullane, PhD, Group Vice-President of Consumer Healthcare Research and Development at
  Schering-Plough Corporation, reviewed what is now known about the metabolism, pharmacokinetics,
  bioavailability, and pharmacologic activity of PE, and discussed what had changed in the interim since
  the original Cough-Cold Panel reviewed the studies that supported the current monographed doses. He
  noted that PE administered orally is known to undergo extensive first-pass metabolism (conjugation and
  oxidation) in the gut wall to (inactive) PE-3-O-glucuronide, (inactive) PE-3-O-sulfate, and (inactive)
  3-hydroxymandelic acid as three major metabolites. These PE metabolites are the predominant
  molecules in the systemic circulation. He presented data from a small, single-dose oral bioavailability
  study conducted in 14 subjects who revealed that active parent PE represents less than 1% of the total
  PE (i.e., total PE includes parent PE and its conjugated metabolites PE-3-O-glucuronide and PE-3-O-
  sulfate) in the plasma after a single 10 mg oral dose (Figure 7).43,44




  42
    Note that an additional source is a separate trial conducted by Johnson and Johnson for an ER oral PE product
  (see Johnson and Johnson Phase 2 Study (CO-170302131230-URCT; NCT03339726).
  43
     Schering-Plough Corporation Presentation Slides at NDAC Meeting (December 14, 2007) Phenylephrine 10
  mg. Available at: https://wayback.archive-
  it.org/7993/20170404050454/https://www.fda.gov/ohrms/dockets/ac/07/slides/2007-4335s1-00-index.htm.
  44
     Schering-Plough Corporation Briefing Document for NDAC Meeting (December 14, 2007). Understanding
  Phenylephrine Metabolism, Pharmacokinetics, Bioavailability and Activity. 2007-4335b1-01-Schering-Plough.pdf.
  Available at: https://wayback.archive-
  it.org/7993/20170404050450/https://www.fda.gov/ohrms/dockets/ac/07/briefing/2007-4335b1-00-index.htm.


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  Figure 7. Plasma Concentrations of Parent PE and Total PE Versus Time for a Single Oral Dose of
  a PE Tablet44
  Total phenylephrine (PE):
      Parent PE (active)
      PE-3-O-glucuronide (inactive)
      PE-3-O-sulfate (inactive)




  Source: Schering-Plough Study CL2005-07, 2005.

  Further, Dr. O’Mullane compared the in vitro pharmacology data (developed by Schering-Plough)
  between the parent PE and its three major metabolites.43,44 The calcium flux response assay
  demonstrated that the in vitro α1-adrenergic agonistic EC50 value (2.3 and 16.9 ng/mL) of parent PE
  (Table 5) is higher than the in vivo parent PE Cmax value (~0.65 ng/mL) following 10 mg oral dose
  (Figure 7). None of three major metabolites of PE had any detectable α1-adrenergic receptor binding
  affinity and α1-adrenergic agonistic activity as measured by GTPγS binding exchange assay and calcium
  flux response.43 Dr. O’Mullane noted that earlier bioavailability studies based on “total PE”
  concentration measurement had not accounted for the small composition of parent PE and the lack of
  activity of conjugated PE, such that a 10 mg oral dose is not sufficient to provide efficacy, whereas even
  a less than 1 mg dose administered intravenously clearly demonstrates systemic alpha-1-agonist activity
  (Martinsson et al. 1986).

  Table 5. In Vitro 50% Effective Concentration Values (ng/mL) of Alpha-Adrenergic Agonizing
  Activity of Phenylephrine (PE) and its Metabolites
  α Receptor             PE PE-3-O-Sulfate     PE-3-O-Glucuronide      3-Hydroxy Mandelic Acid
  α1a1                  16.9 No activity       No activity             No activity
  α1b1                   2.3 No activity       No activity             No activity
  α2a2                  37.6 No activity       No activity             No activity
  α2b2                 390.3 No activity       No activity             No activity
  α2c2                 147.8 No activity       No activity             No activity
  Source: Adapted from Schering-Plough Corporation Presentation Slides at the NDAC Meeting on December 14, 2007.
  1
    As measured by cell-based calcium flux response assay.
  2
    As measured by [35S]-GTPγS binding exchange assay.




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  2.2.2.3    Schering-Plough Merck Presentation
  Melvin Danzig, PhD, Director of Clinical Research at Schering-Plough Merck, reviewed the findings from
  two allergen challenge chamber (environmental exposure unit or EEU) studies that compared
  monographed doses of PE with placebo and either PSE 60 mg (active comparator) or a combination of
  loratadine/montelukast 10/10 mg (test combination).45 While the EEU is an artificial setting, it is well
  documented and accepted as providing a reasonable assessment of the pharmacodynamic properties of
  a drug, including an estimate of the dose, onset of action, and duration of effect (Day et al. 2006a; Day
  et al. 2006b). Both studies used repeated instantaneous clinical symptom scores of nasal congestion,
  rhinorrhea, nasal itch, and sneezing over a set time period, a methodology that has been used as proof-
  of-concept and early dose finding in prescription allergy drug development. The results of both studies
  were subsequently published in 2009 (Day et al. 2009; Horak et al. 2009). In one study (Study P04579;
  Horak et al. (2009)), PE (12 mg, the EU-approved dosage form) was compared with placebo and a known
  effective oral decongestant (PSE 60 mg – the monographed dose for adults and adolescents 12 years of
  age and older), and in the other study (Day et al. 2009) PE (10 mg) was used as the “active” comparator
  to evaluate a different “test” drug (a combination of loratadine 10 mg and montelukast 10 mg) versus
  placebo. In both studies, PE failed to provide any benefit over placebo, while 60 mg of PSE provided
  good relief of congestion symptoms as well as a clear effect on nasal rhinometry and peak nasal
  inspiratory flow measures. (For a detailed review of the studies, see Section 3.3.3.5, in Section 3.3,
  Clinical Review, below.)

            FDA Statistical Presentation
  In preparation for the meeting, Dr. Stan Lin from the Division of Biometrics in the FDA Office of
  Translational Sciences reviewed all the original data, both sets of meta-analyses, and four previously
  unpublished studies conducted by Wyeth Consumer Healthcare or Schering-Plough.
  Dr. Lin noted that all of original studies evaluated by the Panel (and used in both meta-analyses) used a
  measure of resistance to nasal inspiration (nasal airway resistance or NAR) as the primary clinical
  measure, and [Dr Lin noted that] that this measure is sufficiently problematic that the Agency no longer
  accepts it as a clinical endpoint. He noted that the petitioners’ meta-analysis used maximal reduction in
  NAR measured periodically during the first 2 hours after study drug administration, whereas the industry
  (CHPA) meta-analysis used reduction in NAR in 0 to 60 minutes. While noting that the statistical design
  of the primary endpoints in each of the studies was not well defined, he considered the endpoints used
  in the two meta-analyses to be new endpoints, which is problematic because they were not the basis for
  the original design or analysis of the studies reviewed by the panel and their use might obscure
  differences throughout dosing intervals. Further, the CHPA meta-analysis only used the crossover
  studies, whereas the petitioners also included at least one parallel-group study. Therefore, the
  meta-analyses could not be easily compared. He went on to state that neither meta-analysis was
  conclusive, quoting the Agency’s Senior Scientific Advisor, Dr. Robert Temple, who is quoted at an FDA




  45
     Schering-Plough Merck Briefing Document for NDAC Meeting (December 14, 2007). The Effects of Phenylephrine
  on the Symptoms of Allergic Rhinitis. 2007-4335b1-02-Schering-Plough-Merck.pdf. Available at:
  https://wayback.archive-it.org/7993/20170404050450/https://www.fda.gov/ohrms/dockets/ac/07/briefing/2007-
  4335b1-00-index.htm. Slides available at: https://wayback.archive-
  it.org/7993/20170404050454/https://www.fda.gov/ohrms/dockets/ac/07/slides/2007-4335s1-00-index.htm.


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  Regulatory Briefing in March of 2007, as having stated that “All meta-analysis is post facto. You only do
  it if you know you're going to win.”
  Dr. Lin also presented a summary of his findings for each of the individual studies (see Table 6 and
  Figure 8). He noted that all of the Elizabeth studies showed relatively stronger efficacy regardless of
  dose and that the two most positive studies came from that site (Elizabeth), concluding that the lack of
  replication at other sites, the lack of multicenter representation, and the small sample size of the studies
  “limits the generalizability of these results.” He pointed out that “evidence exists for treatment by study
  interaction at the different time points where NAR was measured,” which indicates “study and/or
  outcome heterogeneity and limits the poolability of data.” While Dr Lin did not go so far as to state that
  the data do not support efficacy, he noted that “averaging these studies with other studies would mask
  a finding of no effect from the other studies.”

  Table 6. FDA Statistical Evaluation of Effectiveness Demonstrated in the Original Studies




  Source: Presentation by Stan Lin, PhD, FDA Division of Biometrics 4/OB/OTS, at the December 14, 2007 NDAC meeting.
  Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; CHPA, Consumer Healthcare Products Association; CP, citizen
  petition; PEH, phenylephrine HCl; SAR, serious adverse reaction; URTI, upper respiratory tract infection




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  Figure 8. FDA Statistical Evaluation of the Change From Baseline in NAR Results Over Time for
  Active and Placebo in Each of the Original Studies




  Source: FDA.
  Abbreviations: NAR, nasal airway responsiveness; PE, phenylephrine

  In summary, Dr. Lin noted that the small size, the lack of multicenter representation, the lack of
  reproducibility, and the problematic nature of the methodology used by the original studies evaluated
  by the Panel suggests that the data underlying the original recommendation made by the Cough-Cold
  Panel are not conclusive.

            NDAC Recommendations
  The committee noted the inconsistency of results across studies, but concluded that available evidence
  is “suggestive of efficacy” (Votes: 11 Yes, 1 No, 0 Abstain).46 This was based on the NAR data from the
  seven original studies that had supported the inclusion of PE in the monograph, as well as a meta-
  analysis of the original data presented by industry that supported the original Panel’s findings (Kollar et
  al. 2007). Nevertheless, due to the limitations of the data, 9 of the 12 committee members voted to
  recommend that additional clinical data would be necessary, including new studies that should evaluate
  the decongestant effect of higher doses of oral PE. Based on the Agency’s recommendation, the NDAC
  suggested that the future studies evaluate subjective symptom scores rather than use objective
  measurement of NAR as the primary endpoint. The NDAC further recommended that future trials
  include the following design elements:
       •   Multicenter, parallel, randomized, double-blind, placebo-controlled trials, preferably with an
           active control such as pseudoephedrine, to evaluate nasal congestion scores and symptom relief.



  46
     Summary Minutes of the NDAC meeting, December 14, 2007. Available at: https://wayback.archive-
  it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/07/minutes/2007-4335m1-Final.pdf.


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    •   Sufficient sample size to evaluate efficacy and safety according to key characteristics such as age,
        gender, race, and severity of symptoms.
    •   Characterization of the PE dose response and the effect of dosing interval, formulation, type of
        delivery system, and potentially, genetic factors, on safety and efficacy endpoints.
    •   Comparison of the pharmacokinetics of single-ingredient products versus multiple-ingredient
        products.
    •   Safety evaluation of the effects of PE on blood pressure and cardiovasculature and use of PE in
        patients with important comorbidities such as benign prostatic hyperplasia, hypertension, or
        diabetes.

        Agency Reviews
        Summary of Findings
  The presentations by Schering-Plough and Schering-Plough Merck at the 2007 NDAC meeting were
  remarkable in that they changed the way the Agency considered the clinical pharmacology of orally
  administered PE. It should be noted that those clinical pharmacology data had not been available to the
  original Panel when it made its recommendations >30 years previously. Even though the efficacy data
  were borderline, the Cough-Cold Panel considered that PE is effective when administered intranasally,
  and it is likely that they took that into consideration when they made their recommendation for the
  orally administered ingredient. They made this recommendation despite evidence that clinically relevant
  pharmacodynamic effects on BP do not occur until one reaches an oral PEH dose close to 100 mg, and
  that studies as far back as 1933 had suggested that it would take 120 mg or more of oral PE to be an
  efficacious dose (Tainter and Stockton 1933).
  In response to the clinical pharmacology and clinical data presented at the 2007 NDAC meeting, the
  Clinical and Clinical Pharmacology teams reviewed all “new” the clinical pharmacology and clinical data
  that has become available since that time. By “new” data, we mean all of the data that has become
  available since the Agency made the GRASE determination regarding the efficacy of orally administered
  phenylephrine (i.e., publication of the Final Oral Decongestant Monograph) in 1994.
  Contrary to what is often cited in the literature as the oral bioavailability of phenylephrine, i.e., 38%,
  which is based on outdated technology, the Agency’s Clinical Pharmacology team has confirmed that the
  actual oral bioavailability of PE is less than 1%. This is due to the high first-pass metabolism effect when
  PE is administered orally, whereas PE is effective when administered intranasally and has systemic
  effects when much smaller doses are administered intravenously. The Clinical Pharmacology team also
  confirmed that the half-life of the parent PE is much shorter than that of total PE, suggesting that the
  duration of action for active parent PE is far shorter than the monographed dosing interval of every
  4 hours, and is therefore open to question.
  Finally, the Clinical Pharmacology team confirmed that clinically relevant pharmacodynamic changes,
  such as an increase in systolic and diastolic BP, do not occur until oral PE doses of around 80 to 100 mg.
  The consistent finding across multiple studies that it takes around 80 to 100 mg of oral PEH to result in a
  clinically relevant effect on BP also suggests (unless there is a significant dichotomy between the
  systemic BP and intranasal decongestant effects, which we believe from an animal pharmacology study
  (Aviado et al. 1959) is not the case) that monographed doses are too low to result in efficacy. These PD
  data are therefore consistent with the bioavailability data.


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  All of the PD and PK data are also consistent with the two well-designed, placebo-controlled EEU
  studies, the results of which were presented at the 2007 NDAC meeting and subsequently published.
  The EEU studies were performed at well-recognized environmental exposure unit study sites and used
  accepted congestion symptom score scoring and endpoints in subjects with allergic rhinitis, a far more
  stable platform (i.e., less variability in patient symptoms over time) than subjects with colds. Such
  studies, while mechanistic and unacceptable as Phase 3 studies, are nevertheless acceptable when used
  for early Phase 2 proof-of-concept and dose-finding for drugs to treat allergic rhinitis, although the
  results must be corroborated in larger Phase 2 studies and in pivotal Phase 3 studies. These studies
  demonstrated no efficacy for PEH at monographed or slightly higher doses (one used 12 mg instead of
  10 mg of PEH), whereas positive controls were clearly positive. Therefore, while these results were
  highly suggestive of an efficacy issue, they are not confirmative.
  Data from three large, adequately controlled clinical trials conducted subsequent to the 2007 NDAC
  meeting are now available, and those data are consistent with the PK, PD, and EEU data. They
  demonstrate a lack of efficacy with oral IR doses up to 40 mg as well as ER doses of 30 mg. Merck
  (formerly Schering Plough) conducted two trials in subjects with allergic rhinitis to evaluate (and
  presumably potentially market) both higher than monographed doses of IR product and a 30 mg
  product, and Johnson and Johnson conducted a trial in subjects with colds to evaluate (and presumably
  potentially market) a 30 mg ER oral PE product. All used clinically acceptable designs and nasal
  congestion symptom scores as primary endpoints. These three trials represent by far the largest and
  most carefully constructed trials that have ever been performed to evaluate the decongestant effect of
  oral PE. While we were unable to review the actual datasets for any of the three trials (none were
  submitted to the Agency), we did review the results published at clinicaltrials.gov as well as any
  publications that resulted from these trials. Importantly, none of the three demonstrated any significant
  difference between monographed doses of oral PE, doses of up to 40 mg of oral IR PEH (four-fold higher
  than the monographed dose) (Table 8) (one trial), or two different 30 mg ER formulations (two trials),
  compared with placebo. We believe that these new clinical pharmacology and clinical data are
  consistent, substantial, and believable, and they confirm that orally administered PE is not effective at
  any dose that can be developed and still provide a reasonable margin of safety (see Section 3.3.2, New
  Clinical Trials).
  In light of the results from these “new” data sources, and to understand how the new data fit with the
  previously available efficacy data, we also reviewed all of the data that supported the original GRASE
  determination. We noted significant methodological and statistical issues with the design and conduct
  of the original studies submitted to and evaluated by the Panel. All used a mechanistic endpoint (NAR)
  that is no longer accepted by the Agency because it is highly variable and unreliable as a measure of
  congestion. All but one study evaluated subjects with the common cold, a platform that is highly
  variable and difficult to study. All but one evaluated extremely small sample sizes, none adequately
  controlled for bias, none adequately controlled for multiplicity, and none performed appropriate sample
  size calculations. Ten of the studies (all from one sponsor) were small, single-center crossover studies
  that had significant issues but were nonetheless a major support for a GRASE recommendation.
  In addition to the multiple methodological and statistical issues, we also noted that two studies from
  one site (Elizabeth Biochemical Labs) were not only the most positive studies, but they also produced
  near textbook perfect results that could not be duplicated in other similarly designed studies that used
  the same methodology but were conducted at two other centers by the same sponsor. This raises
  suspicion regarding potential bias and data integrity issues at the Elizabeth site, which contributed five


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  of the seven positive original studies. While we discuss those potential issues in our review, we consider
  them unsubstantiated, whereas the methodological and statistical issues with all of the original studies
  are both substantial and substantive.
  It should also be noted that all of the original and subsequent clinical studies/trials used the PEH salt,
  and that a GRASE determination for the PEB salt was based entirely on matching the systemic exposure
  of total PE between the two salts. Given that less than 1% of PE is systemically available in an active
  form (parent PE), we now know retrospectively that this was a problematic approach. Therefore, a
  finding of lack of efficacy for PEH automatically carries over to a similar finding for PEB.
  As a result of our evaluation, we believe that the new efficacy data far outweigh the data provided to
  the Agency as part of the original Panel review. These results suggest that: 1) oral PE at monographed
  dosages is not effective as a decongestant (i.e., in the face of the new data, the original data are likely
  not sufficient to support a GRASE determination), 2) oral doses up to 40 mg would also not be effective,
  3) finding an effective oral dose that is also safe is not feasible (meaning that doses higher than 40 mg
  would need to be explored but would also not be safe to study due to effects on blood pressure), and 4)
  an appropriate dosing interval for oral PE has not been established (meaning that, based on the PK data,
  an every-4-hour dosing interval is likely too long). Therefore, in addition to lack of efficacy, there may be
  no path to evaluating higher doses of oral PE as a nasal decongestant.

        Clinical Pharmacology Review
  To confirm the α1-adrenergic pharmacologic activity results of PE and its metabolites that were
  presented by Schering-Plough at the 2007 NDAC Meeting, the Clinical Pharmacology team reviewed the
  literature and revisited the clinical pharmacology reviews of phenylephrine NDAs to compare with the
  PK and relative bioavailability results that were presented by Schering-Plough at the 2007 NDAC
  Meeting. As discussed below, we were able to confirm all of this information.

          Pharmacologic Activity of PE and Its Metabolites
  The approved drug label of New Drug Application (NDA) 204300, VAZCULEP (phenylephrine
  hydrochloride Injection) states that “Phenylephrine hydrochloride is an α-1 adrenergic receptor
  agonist.”47 In addition, the label states that after intravenous administration of radiolabeled
  phenylephrine, “there are two major metabolites, with approximately 57 and 8% of the total dose
  excreted as m-hydroxymandelic acid and sulfate conjugates, respectively. The metabolites are
  considered not pharmacologically active.” These statements are consistent with the α1-adrenergic
  pharmacology results of PE and its metabolites that were presented by Schering-Plough at the 2007
  NDAC Meeting.

          Oral Bioavailability
  The VAZCULEP® (NDA 204300) clinical pharmacology reviewer acknowledged that a radiolabeled PE
  bioavailability study had estimated that the absolute oral bioavailability (i.e., ratio of PE exposure
  following oral administration versus IV infusion) of parent PE was 38% (Hengstmann and Goronzy 1982).
  However, the value of 38% is an overestimate due to the underestimate of the PE exposure following
  the IV infusion, as the PK samples were not collected during the IV infusion which lasted about 12.5 to


  47
    NDA 204300, for Vazculep (phenylephrine hydrocholoride) Injection for intravenous use from Éclat
  Pharmaceuticals, approved June 27, 2014.


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  20 minutes and the parent PE systemic exposure during the IV infusion was expected to have
  significantly contributed to its overall systemic exposure given its short half-life (~5 minutes) following IV
  administration.55 The underestimate of the PE exposure following the IV infusion rendered PE exposure
  following oral administration artificially relatively higher. The reviewer also acknowledged that a reliable
  non-radiolabeled high-performance liquid chromatography tandem mass spectrometry bioanalytical
  assay sufficiently sensitive to characterize the full PK profile of parent PE following the monographed
  10 mg oral dose did not become available until the 21st century (Feng et al. 2013).
  Consistent with the PK results presented by Schering-Plough at the 2007 NDAC Meeting, the clinical
  pharmacology program for NDA 022565, Advil Sinus Congestion & Pain (ibuprofen 200 mg and
  phenylephrine HCl 20 mg tablet)48 confirmed that the parent PE systemic exposure is <1% of the total PE
  (i.e., parent PE + conjugated PE) systemic exposure following oral administration (Figure 9 and Table 7).
  Further, both the effective and elimination half-lives of the parent PE are much shorter than that of total
  PE, suggesting that the monographed dosing interval of every 4 hours needs to be further evaluated.

  Figure 9. Geometric Mean Parent and Total Phenylephrine (PE) Pharmacokinetic Profile (N=42)
  Following 10 mg Single Oral Dose of Sudafed PE®




  Source: NDA 022565, Study 0813.




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    NDA 022565, for Advil Congestion Relief Tablets from GlaxoSmithKline Consumer Healthcare Holdings US LLC,
  containing ibuprofen 200 mg and phenylephrine HCl 10 mg, approved May 27, 2010.


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  Table 7. Systemic Exposure of Parent and Total PE Following 10 mg Single Oral Dose of Sudafed
  PE®
  Parameter                        Parent PE         Total PE    Mean Ratio (Parent/Total)
  Cmax (ng/mL)    1              0.766  (49%)       225 (33%)                       0.34%
  AUClast (ng×h/mL) 1            0.692 (26%)        864 (22%)                       0.08%
  AUCinf (ng×h/mL)1              0.730 (26%)        885 (22%)                       0.08%
  Tmax (hour)   2            0.33 (0.17, 0.83)    0.92 (0.5, 2)                        N/A
  t1/2 (hour) 1                    1.55 (59%)      2.68 (21%)                          N/A
  Source: NDA 022565, Study 0813 (N=42) following single-dose administration of 10 mg oral phenylephrine (Sudafed®).
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    Geometric mean (CV%).
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    Median (minimum, maximum).
  Abbreviations: AUC, area under the concentration-time curve; Cmax, maximum plasma concentration; CV, coefficient of variation; PE,
  phenylephrine; Tmax, time to maximum plasma concentration

            PK/PD Relationships
  Based on the in vitro pharmacology results, PE is supposed to stimulate the local alpha-1 adrenergic
  receptors expressed on the blood vessels in nasal mucosa to exert its direct pharmacologic effect
  (Johnson and Hricik 1993), if the local concentration of parent PE reaches to certain levels. However,
  there is a lack of data that directly measure the alpha-1 adrenergic activity in the nasal mucosa. Instead,
  the Clinical Pharmacology team conducted a review of PE PK and systemic alpha-1 adrenergic PD
  response (systolic BP change from baseline) relationships, comparing those relationships between orally
  administered PE (Gelotte and Zimmerman 2015) and IV administered PE (Martinsson et al. 1986). A
  crossover clinical trial in nine healthy subjects showed that following a lower-than-oral dose
  (1 µg/kg/minute, or a 6-minute total dose of a 0.42 mg infusion for a subject weighing 70 kg) continuous
  IV infusion, a steady-state parent PE mean plasma concentration of ~10 ng/mL was reached within
  6 minutes (Figure 10) (Martinsson et al. 1986). At this concentration during the infusion, both systolic
  and diastolic BP elevated noticeably, about 10 mm Hg from baseline.

  Figure 10. Plasma Concentrations of Parent PE (Left Panel) and Systemic Blood Pressure Change
  (Right Panel) During the 6-Minute Continuous IV Infusion of 0.5, 1.0, 2.0, and 4.0 µg/kg/Minute PE




  Source: Adapted from Martinsson et al. (1986).
  Abbreviations: IV, intravenous; PE, phenylephrine




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  In 2015, McNeil Consumer Healthcare published results from a Phase 2 study, which characterized the
  PK, safety, and cardiovascular tolerability following a single dose of oral IR PE HCl (Gelotte and
  Zimmerman 2015). The study was a randomized, double-blind, placebo-controlled, single-dose,
  crossover design that compared four treatments: placebo and phenylephrine hydrochloride 10, 20, and
  30 mg. Twenty-eight healthy subjects were randomized with seven subjects receiving each of the four
  treatments during each of the four periods (four periods were conducted for four consecutive days). The
  PK results showed that parent PE peak plasma concentration was reached about 20 to 30 minutes post-
  oral dose and the Cmax values increased roughly dose-proportionally (Figure 11). The mean Cmax value
  following the monographed 10 mg oral dose was 1.35 ng/mL. Meanwhile, the post-dose mean systolic
  BP increased <5 mmHg from baseline and no dose-response relationship was observed (Figure 11). After
  adjustment by the placebo treatment, the maximal elevation of mean systolic BP from baseline within
  2 hours postdose was 4.1, 3.3, and 4.4 mm Hg for 10, 20, and 30 mg PE treatment, respectively.
  Although the relationship between systemic alpha-1 adrenergic activity and local alpha-1 adrenergic
  activity that is required for a nasal decongestion effect is unclear, the numerically small changes of
  systolic BP following up to 30 mg PE oral dose are consistent with the lack of local decongestion effect of
  PE observed from clinical efficacy trials (Meltzer et al. 2015; Meltzer et al. 2016). The results are also
  consistent with the previous PD safety data available to the Original Panel (see Section 2.1.1,
  Safety/Pharmacodynamics) as well as other data referred to in Meltzer’s 2015 article cited above, which
  studied the efficacy and safety of doses up to 40 mg in a large Phase 2 trial (see Section 3.3.2.2, Dose-
  Ranging Trial (Merck Protocol #CL2010-06; NCT01330017)).

  Figure 11. Plasma Concentrations of Parent PE (Left Panel) and Systolic Blood Pressure Change
  (Right Panel) Following Oral Administration of Placebo, 10, 20, and 30 mg IR PE




  Source: Adapted from Gelotte and Zimmerman (2015).
  Abbreviations: IR, immediate release; PE, phenylephrine

  In sum, cross-study comparison showed that, after the dose adjustment, steady state parent PE plasma
  concentration following 1 µg/kg/minute IV infusion is about 200-fold higher than the parent PE Cmax
  value following the monographed 10 mg oral dose. In addition, there is a clear dose-dependent increase
  of BP from baseline following continuous IV infusion with about 10 mm Hg elevation at a plasma
  concentration about 10 ng/mL achieved by infusion rate of 1 µg/kg/minute. However, mean systolic BP
  increased <5 mm Hg following up to a 30 mg oral PE dose (3× the monographed dose), and no dose-
  response relationship of vital sign change from baseline was observed following oral PE doses of
  10 to 30 mg. The results from the McNeil trial are consistent with the estimation from a previous clinical



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  trial that a minimum of 40 to 60 mg oral PE is needed to result in an elevation of systolic BP of
  approximately 5 to 10 mm Hg. The clinical pharmacology reviewer estimates that approximately 100 mg
  oral dose of PE would be needed to match the steady-state concentration (~10 ng/mL) following
  1 µg/kg/minute IV infusion that resulted in 10 mmHg elevation of systolic BP. Although an effective oral
  dose of phenylephrine that results in a sufficient local alpha-1 adrenergic activity for nasal decongestive
  effect is unknown, a much higher oral dose than the monographed dose is expected based on the
  currently available in vivo PK and PD results of parent PE. As a reference, the concentration of
  monographed PE solution for intranasal use is 0.125%, or 1.25 mg/mL (previously 21 CFR 341.80). That is
  about one-million-fold the parent PE Cmax value following a 10 mg oral dose.

         Clinical Review
  The Clinical team reviewed all of the “new” clinical data available, meaning all of the data that has
  become available since the Agency made the GRASE determination regarding the efficacy of orally
  administered phenylephrine (i.e., publication of the Final Oral Decongestant Monograph) in 1994. We
  started with the EEU studies and other data presented at the 2007 NDAC meeting, followed by the new
  clinical trials.
  In light of those findings, we reviewed each of the studies submitted to and reviewed by the original
  Panel that supported the original finding of GRASE status for orally administered PE as a nasal
  decongestant. In so doing, we reviewed all the clinical data presented by the petitioners, industry, and
  the Agency at the 2007 NDAC meeting. We did so both for completeness and because we wanted to
  understand how the old data stood up against the new data.
  What follows is our summary of our findings. That stated, please see the Agency Reviews: Summary of
  Findings section above for our tentative conclusions.

          EEU Studies (2007 NDAC)
  We reviewed the results for the two EEU studies presented (and subsequently published) at the 2007
  NDAC meeting (see the Schering-Plough Merck Presentation section, above).49 In both studies, PE failed
  to provide any benefit over placebo, while PSE provided good relief of congestion symptoms in one of
  the studies. The two studies are described in further detail below.
  While the EEU setting is an artificial setting, it is well documented as providing a reasonable assessment
  of the pharmacodynamic properties of a drug, including onset of action and duration of effect. That said,
  EEU studies are at best considered as late Phase 1 or early Phase 2 proof-of-concept studies, although
  they may also be used to provide evidence of a dose and dosing interval to be carried into additional
  Phase 2 and 3 clinical trials. The study design and methodology, study populations, and endpoints used
  for these two studies were appropriate and consistent with EEU studies presented to the Agency as part
  of other drug development programs for pulmonary-allergy products. Further, the two studies were
  performed at well-known EEU study centers. And finally, we are aware of drug development programs
  that were terminated because such studies did not support the dose and dosing interval of a drug,
  particularly when the studied dose was the highest dose that would be considered acceptable for
  human use based on the preclinical and Phase 1 tolerability data (note that we have left out specifics



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    Neither of these studies were conducted in the United States. There are two major sites for EEU studies, one in
  Vienna, Austria, and one in Ontario, Canada.


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  because the information is proprietary). The bottom line is that, while the results of these studies are
  not definitive, the findings are strongly supportive that the monographed dosage of oral PE is not
  effective.

  3.3.1.1   Study P04579 (Horak et al. 2009) (NCT00276016)
  This was a single-center, randomized, investigator-blind, active- and placebo-controlled, three-way
  crossover, single-dose study that evaluated the efficacy of PE, PSE, and placebo in 39 grass-sensitive
  patients exposed to grass pollen in the EEU setting. It was conducted at the University of Vienna, Vienna,
  Austria, and funded by Schering-Plough Research Institute, Kenilworth, New Jersey.50
  Subjects who met minimum symptom scores during a 120 minutes predose challenge were treated with
  IR formulations of PE 12 mg (European Union-approved product), PSE 60 mg, or placebo, and continued
  to monitor and record symptoms every 15 minutes over 6 hours. Measurements of rhinomanometry,
  peak nasal inspiratory flow (PNIF), and nasal secretions for weight were collected at 30-minute intervals
  over the 6-hour study period, although the publication does not explain the methodology used for the
  NAR and PNIF measurements. The primary efficacy assessment was change from baseline in average
  nasal congestion score over 6 hours.
  A total of 39 subjects were randomized; and 38 subjects completed treatment. Subjects were
  predominantly white (97%), and female (59%), with a mean age of 27 years. Baseline nasal congestion
  scores were 2.20 for PE and placebo and 2.26 for PSE.
  Results for symptom scores and rhinometry/PNIF measurements over the course of the EEU exposure
  after treatment are shown in Figure 12 and Figure 13, respectively. There was no difference in nasal
  congestion scores for PE when compared to placebo, but PSE treatment resulted in an average 6-hour
  mean percentage decrease from baseline in nasal congestion score of 21.7%. The results of
  rhinomanometry and PNIF measurements were consistent with the nasal symptom scores. No adverse
  events (AEs) were reported in the study.




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    The study results were presented at the 2007 NDAC meeting, were published by Horak et al. 2009, and are also
  available at: https://clinicaltrials.gov/ct2/show/NCT00276016.


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  Figure 12. EEU Study P04579. Mean Change in Subjective Nasal Congestion Scores at 15-Minute
  Intervals After Drug Administration




  Sources: Schering-Plough Merck 2007 NDAC Briefing Document45 and Horak et al. (2009).
  Abbreviations: EEU, environmental exposure units; NDAC, Nonprescription Drugs Advisory Committee; PE, phenylephrine; PSE,
  pseudoephedrine


  Figure 13. EEU Study P04579. Mean Change in Nasal Rhinometry (Left) and Peak Nasal Inspiratory
  Flow (Right) at 30-Minute Intervals After Drug Administration




  Sources: Schering-Plough Merck 2007 NDAC Briefing Document45 and Horak et al. (2009).
  Abbreviations: EEU, environmental exposure units; NDAC, Nonprescription Drugs Advisory Committee; PE, phenylephrine; PSE,
  pseudoephedrine; PL, placebo

  3.3.1.2    Study P04822 (Day et al. 2009)
  This was a single-center, randomized, double-blind, double-dummy, placebo-controlled, three-arm
  parallel-group single-dose study that compared the efficacy of a loratadine-montelukast (L/M)
  combination, PE, and placebo in patients with adult seasonal allergic rhinitis (SAR) who were exposed to
  ragweed pollen in the EEU setting. It was conducted at Kingston General Hospital, Kingston, Ontario,
  Canada, and funded by Schering-Plough/Merck Pharmaceuticals, Kenilworth, New Jersey.
  Subjects completed a screening visit, up to six priming visits (to expose subjects to ragweed pollen and
  stimulate symptoms), and one treatment visit. At each visit, evaluations were made of four nasal
  symptoms (rhinorrhea, nasal congestion, sneezing, and nasal itching) and three non-nasal symptoms




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  (itching/burning eyes, tearing/watery eyes, and itching of ears/palate) using a 0 to 3 severity scale
  (0=none, 1=mild, 2=moderate, and 3=severe) at 30-minute intervals.
  To qualify for the treatment visit, subjects had to meet a minimum symptom score (≥2 for nasal
  congestion, ≥7 for combined nasal symptoms, ≥3 for combined non-nasal symptoms, and ≥10 for total
  symptoms) at 90 minutes, after which a single dose of study drug was administered at 120 minutes.
  Treatments included IR L/M 10 mg/10 mg tablets, IR PE 10 mg syrup, and corresponding placebo tablets
  and flavor-disguised syrup, administered in a double-dummy fashion. Subjects were then followed for
  an additional 8 hours, with nasal symptom scores and PNIF measurements evaluated at 20-minute
  intervals. The primary endpoint was change from baseline in nasal congestion scores averaged across all
  time points during the first 6 hours after treatment. Because the primary objective of this study was to
  evaluate the efficacy of the L/M combination in comparison with placebo, with PE administered as an
  active comparator, the primary comparison was between L/M and placebo.
  A total of 379 subjects were randomized to treatment (127, 126, and 126, in the L/M, PE, and placebo
  groups, respectively). The study population was primarily female (53 to 61%), white (94 to 100%),
  nonasthmatic (83 to 89%), and ~33 years of age. While the L/M results were favorable to placebo, the PE
  results were not, both in mean change from baseline and at most timepoints starting at 1 hour
  posttreatment (Figure 14). Similar results were seen for PNIF (Figure 15).




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  Figure 14. Study P04822. Mean Change From Baseline During the First 6 Hours After Treatment
  (A) and Across Time (B) in Nasal Congestion Scores for the Loratadine-Montelukast (L/M),
  Phenylephrine (PE), and Placebo Groups




  Source: Day et al. (2009).




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  Figure 15. Study P04822. Mean Change From Baseline During the First 6 Hours After Treatment (a)
  and Across Time (B) in Peak Nasal Inspiratory Flow for the Loratadine/Montelukast (L/M),
  Phenylephrine (PE), and Placebo Groups




  Source: Day et al. (2009).


            New Clinical Trials
  3.3.2.1     Preface to Merck’s Two Clinical Trials
  Before presenting the information in the following sections, it is helpful to review the publicly available
  data information with respect to understanding why Merck (under MSD Consumer Care) conducted
  these two large clinical trials. These trials and their results are listed at clinicaltrials.gov, and the results
  were published in peer-reviewed journals (see references and links below)51, and all the information in
  these sections is from open sources.
  Readers of this document will recall that the same sponsor(s), Schering-Plough and Schering-Plough
  Merck, presented at the 2007 NDAC meeting. Schering-Plough presented clinical pharmacology data


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    Note: The name was changed Care from Schering-Plough Healthcare Products to MSD Consumer in 2011, so all
  of the studies were conducted by the same company.


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  showing that orally administered PE is metabolized during absorption such that less than 1% of the
  parent is bioavailable, and receptor affinity data showing that only the parent is active. Schering-Plough
  Merck conducted two EEU studies showing no effect from monographed doses of oral PE, and
  presented their results at the 2007 NDAC meeting.

                                                                                   What is missing,
  however, is any interim study to justify the doses investigated, which we have attempted to fill in with
  publicly available data.
  In the publication for the large 10 to 40 mg IR trial, the authors note that the maximum dose (40 mg)
  chosen for this trial was based on previous phase 1 safety trials that are said to have found “no
  significant effect on systolic blood pressure (SPB) or heart rate (HR: MSD Consumer Care, Inc, data on
  file)” at the 40 mg dose level (Meltzer et al. 2015). This is consistent with data from prior safety studies
  (presented in Section 2.1.1) showing that clinically relevant PD changes in BP and HR are only noted at
  doses of 80 to 100 mg and above. However, the safety studies referred to in the publication are not
  listed at clinicaltrials.gov, although studies were not required to be listed at clinicaltrials.gov until April
  201752, and the publication does not discuss other reasoning for the doses studied. That said,
  considering the risks associated with PPA use (as well as why PPA was never included in the FM and was
  removed off the market in 2006), namely due to hemorrhagic stroke in women of childbearing age, in
  order to have a viable product for OTC use there must be a margin of safety that limits risk to the
  consumer. Based on publicly available PD data, the Agency believes that Merck was wise to limit the IR
  study to 40 mg, i.e., that studying a dose that is about half the dose associated with known systolic
  blood pressure changes makes clinical sense. For the same reason, we believe that doses higher than
  40 mg would not be viable for use in the OTC setting.
  Similarly, publicly available data also show that Merck conducted two preliminary studies using the
  30 mg ER tablets prior to conducting the large ER trial discussed below. Those studies are listed at
  clinicaltrials.gov and include the following:
  1. Safety Study Comparing Phenylephrine HCl Extended Release Tablets 30 mg and Placebo. (Study
     identifiers: Merck identifiers: CL2007-07, P07529; NCT0087412053). This was a randomized, double-
     blind, placebo-controlled, multiple-dose crossover ambulatory blood pressure safety study
     conducted in 2009. The study compared 7 days of treatment with a 30 mg ER oral PE product and
     placebo, with a 6 to 8-day washout between treatment arms. A total of 116 subjects were
     randomized, 58 per arm, and a total of 106 completed the study. Mean (SD) age was 29 (10.5) years,
     and 52.6% were males. The primary outcome was average SBP readings for a 5-hour range around
     the time of maximal concentration. No meaningful differences in mean SBP (SD) were noted
     between the two treatment arms: 118.3 (9.24) and 118.6 (9.38) for the 30 mg ER and placebo arms,
     respectively.
  2. Bioequivalence of Single Dose Phenylephrine Extended Release Tablets and Phenylephrine HCl
     Immediate Release Tablets Dosed Every Four Hours (study identifiers: P08340, NCT01354418).


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    The statutory requirements went into effect on September 27, 2007, and were codified at Section 402(j) of the
  Public Health Service Act with conforming amendments to the Food, Drug, and Cosmetic Act. However, the
  regulation became effective on January 18, 2017, and responsible parties have been required to be in compliance
  starting April 18, 2017.
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       Results available at clinicaltrials.gov: https://clinicaltrials.gov/ct2/show/NCT00874120.


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         While no results are listed at clinicaltrials.gov for this study, the publication of the large Phase 3
         extended-release trial (Meltzer et al. 2016) refers to the results as follows:
         “A preliminary phase 1 randomized bioequivalence study showed that 30 mg of PEH-modified
         release (MR) (treatment A) failed to be bioequivalent to three 10 mg IR tablets dosed 4 hours apart
         in fasting adults (treatment C). The study measured plasma concentrations of parent PEH. The
         criteria for bioequivalence were not met because the ratios of means and their 90% confidence
         intervals were not contained within the 80% to 125% acceptance range; the ratio of geometric
         means for area under the plasma concentration-time curve (nanograms per hour per milliliter) for
         treatment A versus C was 139.86% (90% confidence interval 124.99e156.48), indicative of a higher
         exposure of parent PEH attainable with a single dose of 30 mg of PEH-MR compared with 3 doses of
         10 mg of PEH-IR (MSD Consumer Care, Inc., Memphis, Tennessee; data on file).”




                          . But, as discussed in the sections below, both trials failed to meet their prespecified
  endpoints.

  3.3.2.2      Dose-Ranging Trial (Merck Protocol #CL2010-06; NCT01330017)
  This dose-ranging trial was a multicenter, randomized, unmatched dummied and partially blinded,
  placebo-controlled, five-arm, parallel-group dose-ranging trial that evaluated fixed dosages of 10, 20, 30,
  and 40 mg of IR PE or placebo in 539 otherwise healthy adults with SAR caused by spring allergens.
  Based on our review, we consider the trial to have been a late-Phase 2 study, which likely would have
  been followed by a pivotal Phase 3 trial if it had been successful.
  The trial was conducted between March and June 2011 at multiple centers in the United States, funded
  by Merck & Co., Inc., Kenilworth, New Jersey, and the results were published in a peer-reviewed journal
  in 2015 (Meltzer et al. 2015) and posted at clinicaltrials.gov54.

                                                                    . What follows is a summary based on
  careful review of the results posted at clinicaltrials.gov and the publication.
  After a 4-day run-in, subjects (i.e., patients with a documented history of SAR) were randomized to one
  of five treatment groups of 10, 20, 30, and 40 mg of IR PE tablets or unmatched placebo tablets,
  administered every 4 hours with not more than six doses in 24 hours for a period of 7 days, and
  followed-up at the end of treatment and by phone at 3 to 4 weeks. Loratadine 10 mg tablets were used
  as background treatment for allergic rhinitis during both the run-in and treatment periods. Loratadine
  has been shown to not have any significant effect on congestion symptoms, therefore allowing
  assessment of nasal congestion while still treating the underlying condition. Reflective nasal congestion
  symptom scores, assessed on a 4-point, 0 to 3 scale (where 0=absent and 3=severe symptoms), were
  captured on a paper diary every 12 hours prior to the next dose during the run-in and treatment


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       Available at: https://clinicaltrials.gov/ct2/show/NCT01330017.


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  periods, and instantaneous congestion symptom scores (same scale) were captured once daily prior to
  the morning dose over the treatment period.
  Blinding was as follows. All subjects received PE HCl 10 mg (up to four tablets per dose), placebo (up to
  five tablets per dose), and loratadine (one tablet daily). Because the PE 10 mg and placebo tablets were
  red and concave but not exactly matching, the trial is referred to as having been a Phase 2, ‘open-label’
  trial in the publication. However, the listing at clinicaltrials.gov makes clear that all subjects, regardless
  of treatment allocation, received up to five tablets of [unmatched] placebo, the exact numbers of active
  and control depending upon randomization to study treatment (i.e., the trial used a so-called ‘single-
  dummy’ technique to assist with blinding). Therefore, it could be considered to have been blinded with
  respect to study subject allocation and study personnel handling of both the treatments and results
  because both subjects and study personnel were blinded as to treatment allocation (more on this
  below).
  The primary efficacy endpoint was the mean change from baseline in daily reflective nasal congestion
  scores (rated on a 4-point scale where 0=none and 3=severe), which was defined as the average of
  morning (AM) and evening (PM) reflective nasal scores over the entire treatment period. Baseline for
  reflective scores was defined as the average of the daily scores over the four consecutive 24-hour
  periods prior to randomization, and baseline for instantaneous (secondary endpoint) scores was the
  Day-1 predose first dose assessment. This [primary] endpoint is acceptable, as it has been used over the
  last 20+ years successfully as part of the primary endpoint for numerous drug development programs of
  antihistamines and intranasal drug products and followed the recommendations published in the FDA
  Guidance for Industry on Development of Drugs for Treatment of Allergic Rhinitis (FDA 2018).
  Secondary endpoints included:
    •   Mean change from baseline in AM and PM reflective symptom scores.
    •   Mean change from baseline in instantaneous symptom scores.
    •   Mean change from baseline in daily reflective symptom scores.
    •   Mean change from baseline in daily instantaneous symptom scores.
    •   Time to maximal effect, defined as the earliest time that the nasal congestion symptom score
        demonstrates the greatest numerical difference from the placebo in change from baseline.
  Powering and statistical analyses were as follows. Using a two-sided test with 5% significance level and a
  standard deviation of 2.0 units, 100 subjects per arm were calculated to provide a 94% power to detect
  a difference of at least 1 unit between PE and placebo for the primary endpoint. An analysis of
  covariance model was used for analysis of the mean change from baseline versus placebo for all end
  points, with adjustments for the baseline score, investigative site, age, and sex. Control for multiple
  comparisons between each of the four active doses and placebo for the primary efficacy end point was
  achieved via a closed family of tests, each at the 0.05 level of significance, proceeding in sequence from
  the highest to the lowest dose.
  A total of 539 subjects were randomized, 109, 108, 107, 112, and 103 to the 10, 20, 30, 40 mg, and
  placebo groups, respectively, and a total of 507 subjects completed the study, 101, 101, 99, 100, and
  100 in the 10, 20, 30, 40 mg, and placebo groups, respectively. Most discontinuations (32) were due to
  other reasons, and only one was due to a protocol violation. A total of six subjects discontinued due to
  an AE, 0, 1, 1, 4, and 0 in the 10, 20, 30, 40 mg, and placebo groups, respectively. Only a small number
  (15) of subjects had a major protocol deviation, of which 5 were due to not meeting inclusion criteria, 4


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  were due not following procedures, and 3 were due to having received incorrect dosing. The intent-to-
  treat (ITT) and safety populations (n=539) included all randomized subjects, and efficacy evaluable
  population (n=517) included all subjects who had at least one full day of nonmissing reflective symptom
  scores after dosing was initiated.
  Demographics and baseline characteristics of the treatment groups were similar (see publication Table 1
  for details). Overall, 325/539 (60.3%) subjects were female, 422/539 (78.3%) were white, and 447/539
  (82.9%) were non-Hispanic/Latino. The mean (SD) age was 38.7 (12.04) years.
  Efficacy results for the ITT population (defined as all randomized participants who received at least one
  dose of study medication) are summarized in Table 8 and shown graphically by treatment group and day
  in Figure 16. The primary endpoint of mean (SD) change from baseline in reflective nasal congestion
  scores for the ITT population was -0.460 (0.5374), -0.499 (0.5042), -0.508 (0.5618), -0.461 (0.5308), and -
  0.428 (0.5530) for the PE HCl 10, 20, 30, 40 mg, and placebo groups, respectively. None of the active
  treatment groups had a statistically significant change from baseline in reflective nasal congestion
  scores compared to placebo. The observations for the efficacy evaluable population for the primary
  endpoint were consistent with the findings for the ITT population. The time to maximal effect was
  5.5 days for all PE treatment groups.
  The only significant secondary endpoint was the change from baseline in PM reflective nasal congestion
  scores for the 20 mg PE HCl group compared to placebo (p=0.0188) on Day 6. All other comparisons
  were not statistically significant. The response rate increased over time in all treatment groups,
  including placebo, and the only response rate that was significant was for the 20 mg PE HCl group
  compared with the placebo group on Day 6 (p=0.031). The time to maximal effect was 5.5 days for all PE
  treatment groups. The mean change from baseline for the instantaneous symptom assessment score
  was not significantly different from placebo on any day for any active treatment group.
  There were no meaningful differences in the safety endpoints of vital signs, physical examinations, and
  12-lead ECGs, and no new or unexpected safety issues were identified. However, there were minor
  differences between treatment groups for AEs. Overall, the system organ class with the most treatment-
  emergent AEs was nervous system disorders, reported in 30 of 539 [5.6%]) of all treatment groups, but
  only in 2 of 103 (1.9%) of placebo-treated subjects. The most common treatment-emergent AE was
  headache. However, it was not dose related, occurring in 5.5% (6/109), 3.7% (4/108), 2.8% (3/107), and
  2.7% (3/112) of the 10, 20, 30, and 40 mg treatment groups, respectively, but in none (0/103) of the
  subjects in the placebo group. At the 40 mg dosage level, 2.7% (3/112) and 3.6% (4/112) of patients
  experienced gastrointestinal side effects of dry mouth and nausea, respectively. One patient in the
  40 mg dosage group experienced chest and lower jaw pain that resolved after stopping PE.
  It could be said that one drawback to this trial was that the study was considered to have used a
  partially open-label design because placebo was similar to but not exactly matched with active product.
  However, the major concern with lack of blinding occurs when a difference between one of the active
  treatment groups and control (placebo) is found, because the lack of binding could introduce a
  treatment group bias, i.e., a bias that favors finding a difference between active and control. In this case,
  the addition of a partial dummying technique to the study assisted but did not completely blind the
  study, because subjects could count the number of different pills although they would not necessarily
  know what the numbers meant. For example, if a subject received four of one tablet and one of
  another, or three of one tablet and two of another, the subject could reasonably assume that they had
  been allocated to 10 or 40 mg in the first instance, or 20 or 30 mg in the second. However, the case of



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  receiving five of the same tablets is unique. In addition to knowing that the maximum dose was 40 mg
  and that each PE tablet was 10 mg, the subject would also have to know that PE and placebo tablets
  were similar but not identical to discern that they had been allocated to placebo. Otherwise, they would
  be fully blinded. What is missing here is what subjects in the study were told, as that information is not
  in either the publication or listed at clinicaltrials.gov, so we simply do not know. That said, the lack of
  any differences between the four active treatment groups and the placebo group despite the possibility
  of a blinding bias (which would be in favor of finding such a difference) lends support to the validity of
  the findings.
  A second drawback is that an active comparator arm, such as PSE, was not included. However, the fact
  that the study arms were similar in size with other allergic rhinitis studies using the same study
  evaluations and endpoints, and that the findings are replicated and virtually identical for all four
  treatment groups, including dosages up to four-fold the monographed dosage of oral PE HCl, lends
  credence to the results.
  After careful review, we conclude that this study is of high quality (Level 1 evidence) and accurately
  portrays the treatment effect of orally administered IR PE, including dosages up to four times the
  monographed dosages.

  Table 8. Merck Protocol #CL2010-06. Change From Baseline in Reflective Nasal Congestion
  Scores Over the Entire Treatment Period, by Treatment (ITT Population)
                  PE HCl 10 mg PE HCl 20 mg PE HCl 30 mg PE HCl 40 mg                    Placebo
  Parameter               N=109           N=108           N=107           N=112            N=103
  Baseline (SD)* 2.417 (0.4327) 2.517 (0.3995) 2.481 (0.4148) 2.492 (0.3887) 2.514 (0.4208)
  Day 7 (SD)†    -0.460 (0.5374) -0.499 (0.5042) -0.508 (0.5618) -0.461 (0.5308) -0.4208 (0.5530)
  p-Value #               0.4912          0.4519          0.2186          0.5983
  Source: Aggregate data from 2015 Meltzer publication and results published at clinicaltrials.gov
  (https://clinicaltrials.gov/ct2/show/results/NCT01330017).
  * Reflective nasal congestion scores were captured in participant diaries just before the 8:00 a.m. dose and 12 hours later just
  before the 8:00 p.m. dose. Participants rated congestion on a 4-point scale of severity from 0 (best) to 3 (worst), with 0=absent
  symptoms, 1=mild symptoms, 2=moderate symptoms, and 3=severe symptoms. The daily reflective nasal congestion symptom
  score was defined as the average of the morning and evening reflective nasal congestion score for the entire treatment period.
  Baseline was defined as the average of the daily scores over the four consecutive 24-hour periods before randomization.
  †
    Primary outcome measure reported with the ITT population defined as all randomized participants who received at least one dose
  of study medication.
  #
    An analysis of covariance model was used for analysis of the mean change from baseline versus placebo for all end points, with
  adjustments for the baseline score, investigative site, age, and sex. Multiple comparisons between each of the four active doses and
  placebo for the primary efficacy end point were performed as a closed family of tests, each at the 0.05 level of significance, and
  proceeded in sequence from the highest dose to the lowest dose to control the overall significance level of 0.05.
  Abbreviations: ITT, intent-to-treat; PE, phenylephrine




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  Figure 16. Merck Protocol #CL2010-06. Reflective Nasal Congestion Scores by Treatment and
  Study Day (ITT Population)




  Source: Meltzer et al. (2015).
  Abbreviations: ITT, intent-to-treat; PE, phenylephrine

  3.3.2.3      Modified-Release 30 mg Trial (Merck Protocol CL2011-06; NCT01413958)
  This trial was a Phase 3, multicenter, randomized, double-blind, placebo-controlled, two-arm, parallel-
  group trial that evaluated 30 mg of a modified-release formulation of PE HCl (PEH-MR) and placebo in
  575 otherwise healthy adults with documented SAR caused by fall pollen allergens. While this trial did
  not use monographed dosages of PE, it nevertheless provides substantive evidence that PE is not
  effective as an orally administered decongestant, particularly in light of the fact that their
  bioequivalence study demonstrated higher systemic exposure with 30 mg of PEH-MR compared to
  10 mg IR PEH dosed every 4 hours (the monographed dose). After review, we consider that this was
  likely intended to be a pivotal, Phase 3 study to support a 505(b)(2) application for their extended-
  release PE product.
  The study was conducted between August and October 2011, at 29 study sites, and funded by Merck &
  Co., Inc., Kenilworth, New Jersey. The results were published in 2016, in a peer-reviewed journal by the
  same authors as the dose-ranging trial (Meltzer et al. 2016) and posted at clinicaltrials.gov.55 What
  follows is a summary based on careful review of results posted at clinicaltrials.gov and the publication.
  Study visits included: screening (Days -41 to -8), baseline (Days -7 to -1), start of treatment (Day 1), end
  of treatment (Day 8) and follow-up (Days 22 to 31) visits. Consistent with FDA Guidance, subjects were
  washed out of any allergy medications that might interfere with study evaluations and recorded
  reflective and instantaneous nasal congestion symptom scores (on a 0 to 4 scale where 0=none,
  3=severe) starting approximately 7 days prior to start of study treatment and extending through the




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       Available at: https://clinicaltrials.gov/ct2/show/NCT01413958.


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  entire treatment period. During study treatment, patients were allowed rescue loratadine 10 mg once
  daily as needed for intolerable allergic-rhinitis symptoms.
  The primary efficacy endpoint was the mean change from baseline in daily reflective nasal congestion
  scores, defined as the average of morning and evening reflective nasal scores over the 7-day treatment
  period for the ITT population, which comprised all randomized subjects who received at least one dose
  of the study medication.
  Secondary efficacy measurements included:
    •   Mean change from baseline in morning and evening reflective symptom scores, daily
        instantaneous symptom assessment scores, and morning predose instantaneous nasal congestion
        symptom score (to assess 12-hour duration of action).
    •   Mean change from baseline for each day for reflective symptom assessment score (to assess onset
        of action and durability of response), morning and evening reflective and instantaneous symptom
        assessment scores (calculated and analyzed separately), and instantaneous symptom assessment
        score (to assess onset of action and durability of the response).
    •   Time to maximal effect (defined as earliest time that mean change from baseline in reflective
        nasal congestion symptom score demonstrated greatest numerical difference from placebo).
    •   Duration of effect (end-of-dosing interval analysis measured as change from baseline for
        instantaneous symptom assessment score at Day 7).
  Powering and statistical analyses were as follows. Using a two-sided test with 5% significance level and a
  standard deviation of 2.0 units, 500 subjects were calculated to provide a 94% power to detect a
  difference of at least 1 unit between PEH-MR and placebo for the primary endpoint. An analysis of
  covariance model with adjustments for baseline value, investigative site, age, and sex, was used for
  analysis of the primary endpoint. Secondary analyses were carried out using an analysis of covariance
  with no adjustments for multiplicity.
  A total of 575 patients were enrolled and randomized, 288 to PEH-MR and 287 to placebo, and 574
  (99.8%) completed the study. Demographics and baseline characteristics of the treatment groups were
  similar. Participants were mostly female (61%) and white (82%), with a mean age of 40.1 years (see
  publication Table 1 for details). Mean study compliance was 99.5% and there were no differences
  between study groups in rescue loratadine use.
  The primary efficacy results (mean change from baseline in reflective nasal symptom scores for the ITT
  population), summarized numerically in Table 9 and graphically in Figure 17, showed no statistically
  meaningful difference between the active and placebo treatment groups. Mean daily reflective scores at
  baseline and over the course of the 7 days of treatment (a secondary endpoint), shown graphically in
  Figure 18, clearly demonstrate that active treatment was numerically no better than placebo at any
  timepoint in the trial. And in fact, while the baseline score for placebo was numerically lower than the
  active treatment arm, the placebo arm also had numerically more mean improvement over the course
  of the study (Table 9). Analyses of secondary endpoints for instantaneous and daily congestion scores
  showed similar results.
  There were no clinically meaningful differences in AEs between the treatment groups in this trial. As in
  the dose-ranging trial, the system organ class with the most treatment-emergent AEs was nervous
  system disorders (overall 4.0% [23/575]), and the most common treatment-emergent AE was headache,
  occurring in 3.1% (9/288) and 2.8% (8/287) of the PEH-MR and placebo groups, respectively.



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  After careful review, we conclude that this study provides high-quality (Level 1) evidence that PE is not
  an effective nasal decongestant when administered orally in a 30 mg ER formulation that results in
  systemic exposures that are slightly above the exposures provided by repeated monographed (10 mg) IR
  dosages.

  Table 9. Merck Protocol #CL2011-06. Change From Baseline in Reflective Nasal Congestion
  Scores Over the Entire Treatment Period (ITT Population)
                                               PEH-MR 30 mg           Placebo
  Parameter                                             N=288           N=287
  Baseline (SD)                                 2.357 (0.5203) 2.271 (0.5586)
  Mean change over treatment period (SD)        -0.394 (04880) -0.412 (0.5383
  Source: Results published at clinicaltrials.gov (https://clinicaltrials.gov/ct2/show/results/NCT01413958).
  Abbreviations: ITT, intent-to-treat; PEH-MR, phenylephrine hydrochloride-modified release


  Figure 17. Merck Protocol #CL2011-06. Mean Change From Baseline in Reflective Nasal
  Congestion Score Over the Entire Treatment Period (ITT Population)




  Source: Meltzer et al. (2016).
  Abbreviations: ITT, intent-to-treat; PEH-MR, phenylephrine hydrochloride-modified release




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  Figure 18. Merck Protocol #CL2011-06. Mean Daily Reflective Nasal Congestion Score at Baseline*
  and Per Day (ITT Population)




  Source: Adapted from results published at clinicaltrials.gov (https://clinicaltrials.gov/ct2/show/results/NCT01413958).
  * Baseline was defined as the mean from 4 consecutive 24-hour periods in which a symptom score was ≥1, prior to randomization.
  The nasal congestion score was calculated from data captured twice daily (morning and evening) in the participant's diary during the
  run-in and treatment periods. Participants rated congestion on a 4-point scale of severity: 0=absent symptoms (no sign/symptom
  evident), 1=mild symptoms (sign/symptom clearly present, but minimal awareness; easily tolerated), 2=moderate symptoms (definite
  awareness of sign/symptom that is bothersome but tolerable), and 3=severe symptoms (sign/symptom that is hard to tolerate;
  causes interference with activities of daily living and/or sleeping). The average of individual reflective nasal scores was reported as
  the daily reflective nasal congestion score over the entire treatment period.
  Abbreviations: ER, extended release; ITT, intent-to-treat; PE, phenylephrine

  3.3.2.4     Johnson and Johnson Phase 2 Study (CO-170302131230-URCT; NCT03339726)
  This study was conducted by Johnson & Johnson Consumer, Inc. in Canada during the 2017 to 2018 cold
  season. It was a randomized, double-blind, double-dummy, placebo-controlled, parallel-group study that
  evaluated the efficacy of an extended-release 30 mg PE oral tablet taken twice daily and an immediate-
  release 12 mg PEH oral capsule taken four times daily in subjects with nasal congestion due to the
  common cold. After review, we cannot comment on the exact intent of this study, although it initially
  appears to have been designed as a Phase 3 study to support approval of an extended-release PE
  product to be marketed outside the United States.
  This study is the only PE efficacy study that we are aware of that has been conducted in subjects with
  colds since the original panel studies. Unlike the original studies, it used symptom score rather than NAR
  as the primary endpoint. The study had planned to enroll 450 subjects, a sample size that would have
  allowed it to support an application for an ER product, although from the fact that it was conducted in
  Canada and used a 12 mg IR oral PE comparison arm, not necessarily in the United States. For this
  reason, we believe that the study was designed in a manner as to minimize bias and provide accurate
  results Unfortunately, the study was only able to enroll 193 subjects prior to the end of the cold season,
  at which point an interim analysis was conducted and the study was terminated. Further, a positive
  control arm was not included. Therefore, while a much larger and better controlled than the original
  panel studies, it is nevertheless not ideal. The only source available for this study is a listing on




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  clinicaltrials.gov. As a result, certain data are not available, such as baseline values for each treatment
  group. That said, clinicaltrials.gov includes a redacted protocol and SAP.56
  The study enrolled subjects 18 years of age and older who were experiencing common cold symptoms
  for up to 72 hours (3 days) prior to entry, had at least a nasal congestion / stuffy nose score of ≥5 and at
  lease mild (score of ≥3) for sinus pressure / tenderness, and two or more of the following symptoms:
  runny nose, sore or scratchy throat, sneezing, headache, malaise, or cough.
  Treatments included: two doses of extended-release PE (PE-ER) 30-mg tablets 12 hours apart, four
  doses of immediate release PEH (PE-IR) 12 mg capsules 4 hours apart, and four doses of placebo 4 hours
  apart. Since the study included a double-dummy design, all subjects took both tablets and capsules four
  times a day. Subjects stayed on site for the first and second doses (at 0 and 4 hours, respectively). One
  third of subjects were assigned to a PK cohort, with samples collected at the time of the first and second
  doses, although the results of this aspect of the study are not included in the online information.
  The primary outcome measure was mean change from baseline in reflective nasal congestion severity
  score (NCSS) over 0 to 12 hours after the first study dose, as measured on an 8-point scale where
  0=none and 7=severe, with assessments at 2, 4, 6, 8, 10, and 12 hours. The primary efficacy endpoint
  was analyzed for the ITT population using an ANOVA model with treatment group, study center, and
  baseline nasal scores as factors.
  Secondary efficacy endpoints included:
       •   Average change from baseline in the Nasal Congestion Severity Score (time frame: 0 to 12 hours)
           (8-point scale with 0=none and 7=severe).
       •   Average change from baseline in the Nasal Congestion Severity Score averaged over hours 8 to 12.
       •   Change from baseline in the Nasal Congestion Severity Score (time frames: 0 to 2, 0 to 4, 0 to 6,
           0 to 10, 0 to 12, and 0 to 24 hours), and at 2, 4, 6, 8, 10, 12, and 24 hours.
       •   Average change from baseline in Sinus Pressure/Tenderness Scores (time frame: 0 to 12 hours)
           (8-point scale with 0=none and 7=severe).
       •   Change from baseline in Sinus Pressure/Tenderness Scores averaged over assessments at 2, 4, 6,
           8, 10, and 12 hours.
       •   Change from baseline in Sinus Pressure/Tenderness Scores (time frames: 0 to 2, 0 to 4, 0 to 6,
           0 to 8, 0 to 10, 0 to 12, and 0 to 24 hours), and at 2, 4, 6, 8, 10, 12, and 24 hours.
  The majority of study participants were female (63.2%) and either white (78.2%) or Asian (13.0%), and
  demographics were similar between the three arms.
  Results are shown in Table 10, and graphically over the course of the study in Figure 19 and Figure 20.
  No benefit was seen for the primary endpoint. A note about the figure is in order. It graphically shows
  the change in nasal congestion severity scores adapted from data provided at clinicaltrials.gov.
  However, the results provided at clinicaltrials.gov do not state whether the changes are listed as
  improvements or getting worse with treatment, i.e., as absolute or relative congestion score changes.
  The fact that the scores increased over the course of 24 hours of treatment (shown as an upward trend
  in Figure 20) might imply that these were absolute and not relative changes, as one might reasonably
  expect all subjects to report an improvement with treatment over the course of the study regardless of



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       Available at: https://clinicaltrials.gov/ct2/show/NCT03339726.


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  treatment allocation, and improvement in scores would be illustrated as downward trend lines toward
  milder congestion scores (see figures in the two Merck trials above, where the result lines for all
  treatment arms trended downward toward lower, i.e., milder congestion scores). That said, the fact that
  this was a cold and not an allergic rhinitis study might conceivably have made a difference if subjects
  were continuing to get worse during the 24 hours that they were on treatment. Regardless of direction
  (up or down, worse or better), however, the results for all treatment arms trend in a similar direction,
  which suggests no beneficial effect of either PE treatment when compared with placebo.
  With regard to safety, no adverse events were reported.

  Table 10. J&J Study NCT03339726. Primary Endpoint of Mean Change From Baseline in Nasal
  Congestion Severity Score Over 12 Hours
                                            Placebo            PE-IR 12 mg           PE-ER 30 mg
  Parameter                                     N=64                   N=66                   N=63
  Baseline                                        NA                     NA                     NA
  Mean change over 12 hours              1.80 (0.156)          2.03 (0.1540)           1.93 (0.158)
  Mean difference vs. placebo                         0.23 (-0.205 to 0.662) 0.13 (-0.311 to 0.564)
  (95% CI)
  p-Value vs. placebo                                                  0.300                  0.569
  Source: https://clinicaltrials.gov/ct2/show/NCT03339726.
  Abbreviations: CI, confidence interval; ER, extended release; IR, intermediate release; J&J, Johnson & Johnson; NA, not applicable;
  PE, phenylephrine


  Figure 19. J&J Study NCT03339726. Primary Endpoint of Mean Change From Baseline in NCSS
  Over 12 Hours




  Source: Adapted from data available at: https://clinicaltrials.gov/ct2/show/NCT03339726.
  Abbreviations: ER, extended release; IR, intermediate release; PE, phenylephrine; J&J, Johnson & Johnson; NCSS, Nasal
  Congestion Severity Score




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  Figure 20. J&J Study NCT03339726. Change From Baseline in NCSS Over 24 Hours*




  Source: Adapted from data available at: https://clinicaltrials.gov/ct2/show/NCT03339726.
  Abbreviations: ER, extended release; IR, intermediate release; PE, phenylephrine; J&J, Johnson & Johnson; NCSS, Nasal
  Congestion Severity Score


            Original Panel Studies
  3.3.3.1    Scope of the Review
  We reviewed each of the study reports and/or publications for all the original studies that had been
  submitted to the docket and reviewed by the Panel to support oral PE use. Fourteen such documents
  were stated to have been reviewed by the Panel to support the effectiveness of oral PE (references
  5 to 10, 19 to 26). Unfortunately, several of the references are problematic, either citing an abstract
  instead of the complete study (reference 25; see discussion in the Appendix, TFM Comment 11), or the
  wrong study (reference 19 instead of reference 10). As part of our review, we attempted to sort out and
  address each of these as well.
  We also reviewed the findings of the previous FDA statistical review of these and additional studies (as
  well as the meta-analyses) that were presented at the 2007 NDAC meeting (see the FDA Statistical
  Presentation section above). The FDA statistical reviewer concluded that the original studies should be
  judged as inconclusive of efficacy, and at a minimum, we concur. However, the statistical reviewer
  appears to have focused on the meta-analyses performed by the petitioners and industry, and less so on
  the original studies themselves. Thus, the reviewer did not comment on a number of significant
  methodological and statistical issues, as well as potential data integrity issues, with the studies.

  3.3.3.2    Preface: Agency’s Comments on the Panel’s Findings
  Prior to presenting our findings, it is important to note that we believe that the Panel did an admirable
  job, given the quality of the data that was submitted to them. That said, the science has evolved since
  that time. When considering the studies through a modern drug review lens, all of the studies (both
  positive and negative) were highly problematic in both design and methodology. All used a highly
  variable endpoint (NAR) to study a drug in the setting of a highly variable disease state (the common
  cold) that is no longer used as a primary endpoint to evaluate congestion in pivotal trials.57 Further, all


  57
    The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic Rhinitis recommends use
  of symptom scores for the primary endpoint in clinical trials. See FDA (2018).


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  the positive studies (and most of the negative studies) were unpublished and therefore never peer-
  reviewed. Six of the seven positive studies came from a single study center (funded by the manufacturer
  of Neo-Synephrine), were very small in size, and (except in one instance) the results could not be
  duplicated at two other study centers (also funded by the same manufacturer) that used a similar study
  design and methodology.
  Additionally, the positive oral PE results do not match what was demonstrated in multiple studies
  reviewed by the Panel that the dose of orally administered PE that is required to result in clinically
  relevant systemic (pharmacodynamic) effect is far higher than the monographed dose. Nor do they
  match what is now known about the bioavailability and PK of orally administered PE. As a result, and in
  retrospect, we believe that newer data and improvement in study methodologies suggest that the
  findings of the Panel should be revisited.
  And, in fact, we believe that the multiple methodological and statistical issues inherent in the studies
  reviewed by the Panel make the original studies evaluated for efficacy unacceptable as continued
  support for the efficacy of monographed doses of oral PE.

  3.3.3.3   Preface: Study Context
  In order to understand how the original studies fit within the context of today’s study design/conduct
  and review standards, it is important to understand the context / setting in which the Panel reviewed
  the data submitted to them as well as the advances that have occurred on multiple levels since that
  time. At the time, PEH had been marketed OTC for many years as an oral nasal decongestant, so there
  was significant experience with it in this setting.58 Further, the Panel simultaneously reviewed the data
  for PE as an intranasal decongestant (i.e., when administered intranasally) and recommended that it
  receive a GRASE determination at the same time that they reviewed orally administered PE as a nasal
  decongestant. Knowing that PE is highly effective when administered by the intranasal route may have
  influenced their decision about PE when administered orally.
  This was also a different time, and the understanding of how to design and conduct clinical trials to
  support the efficacy and safety of a drug has advanced significantly in the interim, including but not
  limited to sample size calculations, methodology to prevent bias, evaluation of endpoints, and use of
  different subject populations. In fact, the Panel’s review was conducted many years before any of the
  ICH Good Clinical Practice guidelines / quality standards for the design, conduct, recording, and
  reporting of trials that involve human subjects were developed.59
  Finally, the science has changed in the interim, and a full understanding of the clinical pharmacology of
  PE when administered orally was not appreciated at the time that the Panel issued its
  recommendations. We now know that in addition to PE having less than 1% systemic bioavailability, the


  58
    According to Wikipedia (https://en.wikipedia.org/wiki/Phenylephrine), phenylephrine was first patented in
  1927, and came into medical use in 1938. The leading manufacturer at the time that the FDA first conducted an
  efficacy review was Sterling-Winthrop, the manufacturer of Neo-Synephrine.
  59
    The ICH, or International Council for Harmonisation of Technical Requirements for Pharmaceuticals for Human
  Use, was started in 1990, and has gradually evolved to respond to the increasing global development needs of the
  pharmaceutical industry. See: https://www.ich.org/. FDA participates in this process; see ICH E6, available at:
  https://www.fda.gov/science-research/clinical-trials-and-human-subject-protection/ich-guidance-documents,
  which contains guidance on the current ethical and scientific quality standards for designing, conducting,
  recording, and reporting of trials that involve human subjects.


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  half-life is also significantly shorter than the original 4-hour dosing interval. These data were not
  available to the Panel, nor was the technology to fully assess oral bioavailability available until around
  the turn of this century. Therefore, is it not surprising that the Panel considered the equivocal findings in
  the original studies as sufficient to support a finding of efficacy (and safety) of PE 10 mg administered
  orally every 4 hours.

  3.3.3.4      Methodological and Statistical Issues
        3.3.3.4.1     Design and Methodology
  The principal methodology used to assess efficacy in all of the studies evaluated by the original Panel
  was measurement of airflow and air pressure in the nasal passage, which was used to calculate NAR as
  an indirect measure the level of congestion. As a result, a word about the methodology is in order.
  Objective measurement of NAR to assess nasal airway patency is a complex procedure that is subject to
  multiple methodological issues including (but not limited to) subject training and experience with the
  procedure (including variability in inspiratory effort), day-to-day fluctuations and within-day cyclic
  variations in nasal congestion, procedural differences, differences in the equipment and mechanical
  measurement accuracy, and technician and evaluator experience. Because of the inherent variability
  and methodological issues, NAR measures are at best mechanistic in nature. In an effort to standardize
  the technique, several methodologies were published. Many of the studies submitted to and reviewed
  by the Panel used a modification of a methodology referred to as the Butler-Ivy technique published in
  1943 (Butler 1943), and four of the seven positive studies specifically mention use of a modified version
  of this technique.32
  That stated, with the exception of the studies reviewed by the Panel and discussed in the ANPR, we are
  not aware of any NAR studies that have been accepted by the Agency in support of the development of
  any drug since that time, even as part of Phase 1 drug development. Instead, clinical symptom scores
  have been / are considered by the Agency to be the gold standard for development of all allergic rhinitis
  drugs developed in the last >30 years.60 While symptom scores were used in the studies considered by
  the Panel, the results were not the primary efficacy endpoint in any of the studies and were generally
  not even considered if the NAR results were negative.
  One example of the inherent variability in the use of NAR as an endpoint was available to and cited by
  the Panel, but only for safety (McLaurin et al. (1961), reference 11).61 It was a placebo- and active-
  controlled (ephedrine 25 mg, PSE 60 mg, PE 10 mg, and PPA 25 mg) double-blind, crossover study (88
  subjects). Goals included the PD response to each drug, subjective therapeutic effect, adverse reactions
  (what they called side effects), NAR improvement at 60 minutes, and how close the subjective findings
  matched the objective ones. However, the study failed to demonstrate any positive NAR findings for PE,
  PPA, or PSE, although it did demonstrate some effect from ephedrine (see description in Table 15). For
  this reason, it was not considered in the effectiveness discussion, while at the same time it illustrates




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    Nasal inspiratory flow rate has not been accepted by the Agency as a primary endpoint variable for approval of
  any prescription cough-cold drugs since at least prior to the 1990s. All of the topical intranasal drugs and second
  generation H1 blockers (antihistamines) approved in the 1990s and since have used nasal symptom scores as the
  primary endpoint. See the corresponding FDA Guidance for Industry; FDA (2018).
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       Cough-Cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 11: McLaurin et al. (1961).


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  the methodological issues with use of NAR as an endpoint, including that two ingredients that are
  generally considered to be effective as oral decongestants failed to show a positive effect.
  Because the endpoint of NAR has not been used in drug development in the modern era, some
  retrospective thoughts are also in order to place the information into the appropriate clinical as well as
  statistical context. As stated above, the Agency is aware that there is significant variability in this
  endpoint, and that the variability and quality of results are highly dependent on multiple technical issues
  related to the testing process. However, the exact magnitude of that variability is unknown. As a result,
  from a statistical viewpoint one cannot perform an appropriate [retrospective] sample size calculation
  for studies that used this endpoint. Similarly, we have no current experience with this endpoint to
  ascertain the magnitude of difference between active and placebo might be clinically meaningful, and
  we have not been able ascertain this information from the literature. However, it is likely that the
  magnitude of the variability is so great that a very large sample size would have been needed to show a
  meaningful statistical or clinical difference between study drug (PEH) and control (placebo). Even the
  largest study, BEI 1025, only evaluated 25 subjects per arm (in a parallel design) with NAR as the primary
  endpoint. The bottom lines is that we believe the sample sizes for all of the original studies were far, far
  smaller than what is likely to have been needed to obtain either statistically or clinically meaningful
  results.
     3.3.3.4.2    Disease Context
  One should also consider the disease platform that was used to study the efficacy of oral PE, as
  decongestants are accepted as treatment of congestion in patients with both colds and allergic rhinitis.
  All but one of the studies evaluated subjects in the setting of the common cold. In order to qualify,
  subjects had to have two days of congestion symptoms, which was followed in most instances with two
  days of testing of the alternative treatment in a crossover design. Use of the common cold for studying
  congestion is a platform known to be highly variable, thereby creating significant variability in the
  results. In fact, one study (not reviewed by the Panel) noted differences in NAR results over days 1 to 5
  in subjects who were experiencing upper respiratory infection symptoms (Bickerman 1971). Whereas,
  patients with allergic rhinitis often have congestion for considerable periods of time, thereby resulting in
  a far more stable platform even for single-dose or short-term studies such as these.
     3.3.3.4.3    Conduct
  Going beyond the methodology used to evaluate nasal congestion, the design and conduct of these
  studies is also a major issue. As mentioned earlier, all were conducted at a time when ethical and quality
  standards for the design and conduct of clinical trials involving human subjects were essentially
  nonexistent. In fact, one could even consider that it was the DESI process itself that highlighted
  deficiencies in the standards for such studies, leading to the eventual international recognition that such
  standards were needed (and the formation of the ICH in 1990). So, it is not surprising to find that, when
  considered by modern standards, there are significant deficiencies when reviewing the design and
  conduct of these studies, as outlined further below.
     3.3.3.4.4    Statistical Issues
  From a statistical point of view, we also found multiple issues. All except one of the studies (see the
  Original Cough-Cold Advisory Panel Recommendations section for details) were small, crossover, single-
  center studies. All evaluated very small sets of subjects (see Table 3, which shows the remarkably small
  N’s in the 10 Sterling-Winthrop studies that comprised 6 of the 7 positive studies, and Table 2 for the


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  other studies). Other than blinding, methodology to reduce bias was not discussed in any of the study
  reports. Statistical endpoints and methodology were not explicitly presented, nor was a sample size
  calculation discussed in any of the study reports. Given the known variability of the endpoint being used
  and disease state being studied, any reasonable sample size calculation would likely yield the need for
  sample sizes that are many, many times larger than employed in any of the studies. Finally, statistical
  analyses appear to have been performed at each time point without adjustment for multiplicity.
       3.3.3.4.5   Sterling-Winthrop Studies
  The 11 studies submitted by Sterling-Winthrop62, the manufacturer of Neo-Synephrine brand of
  phenylephrine hydrochloride, represent six of the seven studies considered by the original Panel to have
  demonstrated the effectiveness of oral PE. Therefore, they likely influenced the original Panel’s efficacy
  conclusions and recommendations. As noted elsewhere, one study (NAPR reference 5) was a
  descriptive, preparatory study for the rest of the studies and should be ignored.
  The other ten (ANPR references 6 to 11 and 20 to 24) were very small, single-dose, double-blind,
  placebo-controlled, single-center, two-way crossover studies in subjects with the common cold. These
  10 studies were conducted at three different research laboratories, Elizabeth Biochemical Labs, Cintest
  Division of Hill Top Laboratories in Cincinnati, and Huntingdon Research Center, and all of the study
  reports were prepared by the Sterling-Winthrop Research Institute in Rensselaer, NY. All were
  unpublished study reports, and as such they were never peer-reviewed. Additionally, to our knowledge,
  none of the protocols were submitted to the docket, and therefore could not be reviewed as part of our
  retrospective review.
  All 10 used similar protocols and methodology, the major differences being the doses (between 5 and
  25 mg) and comparator ingredients evaluated. The oral PE doses and numbers of subjects studied at
  each dose level are shown in Table 3, which shows the number of completed subjects at each oral PE
  dose level in each of the studies. It will be seen that the total number of subjects enrolled at any given
  dose was remarkably small and likely far too small to yield meaningful results. Further, several did not
  enroll the planned number of subjects (Elizabeth studies 4 and 5). Given that all were performed at a
  time prior to when modern concepts about study design were developed, they were highly problematic
  in that they used the same endpoints and study populations, and had the same statistical issues, that
  are discussed in this section. There was also significant heterogeneity of results both within and among
  the three study centers, as discussed further in the Potential Data Integrity and Other Issues in the
  Sterling-Winthrop Studies section below. And finally, when looked at by dose studied, numerically about
  half of the total number of subjects studied at any given dose level failed to show efficacy (bottom of
  Table 3). Given the heterogeneity of the endpoint and methodology used, as well as the population that
  was evaluated, the number of subjects studied is far, far below the number that one would expect
  would be needed to demonstrate efficacy. Therefore, we consider that these studies do not live up to
  today’s standards and do not represent an accurate description of the effectiveness of oral PE as a
  decongestant.




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    Docket references 5, 6 to 10, and 20 to 24. Study reports prepared by N.A. Hulme at the Sterling-Winthrop
  Research Institute, Rensselaer, NY.


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     3.3.3.4.6    Whitehall Labs (BEI 1025) Study
  The BEI 1025 study, performed by Whitehall Labs was reviewed by the original Panel, and a description
  of the study design may be found in the Original Cough-Cold Advisory Panel Recommendations,
  Whitehall Labs (BEI 1025) Study section. The study report was submitted to the docket, and the study
  report refers to a protocol for the study, but to our knowledge that protocol was not submitted to the
  docket and could not be reviewed as part of our retrospective review.
  This was the only study with a parallel group design, and it was the only non-Sterling-Winthrop study
  that was considered to be positive. It was stated to have been a double-blind, placebo controlled,
  parallel group study in 200 subjects with the “common cold”. All subjects received 4 doses of 10 mg of
  PEH or placebo over 12 hours. Whereas all 200 subjects were evaluated for symptoms, only 50 subjects
  (25 per arm) received rhinometry, which was the primary endpoint. These measurements were
  performed at 0, 15, 30, 60 and 120 minutes after the first dose. No differences were seen in systolic or
  diastolic BP, implying that a PD effect was not seen in this study (Figure 3). However, they did report
  changes in both NAR (Table 4 and Figure 2) as well as for the symptoms of nasal congestion, runny nose
  and sneezing, which they judged to be significant compared with placebo, with no improvements in
  cough or muscle ache.
  Just as for the other studies, there were issues with this study, including: that the methodology to
  reduce bias and the scoring methodology were not specified, and no adjustments were made for
  multiplicity. Since we were unable to review the protocol, it is not clear how symptoms were rated.
  Baseline symptoms appear to have been rated on a scale of 5 from mild to very severe, with
  improvement rated on a 0-2 scale with 0 being no change and 2 being much improved, and this
  evaluation appears to have been performed by both the subjects and investigators. However, we do not
  know the frequency of the scoring, whether it was instantaneous or reflective, and how much weight
  was placed on subjective investigator judgement, which we know is often biased and is no longer
  accepted by the Agency as part of drug registration trials. While the study report notes that subjects
  who experienced the largest magnitude of changes in NAR also experienced the largest magnitude of
  changes in symptom scores, we do not know how much the investigator reporting of symptoms
  influenced those results. Further, one must ask why a nasal decongestant, which would ONLY be
  expected to help obstructive symptoms, would also help runny nose or sneezing symptoms, which
  throws suspicion on the results for the obstructive symptoms. Therefore, the results of this study must
  be judged accordingly.
  Additionally, the primary endpoint of NAR over 2 hours following the first dose was reported as percent
  change from baseline (Figure 2). In the figure, percent change is on the right and absolute change is on
  the left, and percent reduction at each timepoint is shown in Table 4. In general, percent change tens to
  magnify any differences, whereas absolute measurements do not. In fact, the magnitude of difference in
  absolute changes seen in NAR results (left side of Figure 2) were quite small, and even at 1 hour, the
  timepoint with the largest effect size, subjects appeared to continue to have significant nasal airflow
  obstruction (4 on a scale of 5, where 5 was considered to be significant obstruction). It is also important
  to note that the study did not specify what difference in absolute change might be clinically meaningful.
  Therefore, overall, the clinical value of this study is questionable.




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     3.3.3.4.7    Summary
  After careful review, we note that there were many methodological and statistical issues with these
  studies. We believe that these issues significantly limit any judgement of a statistical “win”, and more
  importantly a clinical “win”, for any of these studies. In fact, if these studies were submitted to the
  Agency today all would at most be considered Phase 1 studies at best. As a result, we believe that these
  studies do not stand up to the new data that are now available with regard to the efficacy of orally
  administered PE as a nasal decongestant.

  3.3.3.5   Negative Original Studies
  A review of the original studies would not be complete without discussing the negative studies as well as
  the ones that were considered supportive of the GRASE determination. There were at least six negative
  studies of which the Panel was aware. Four of these (Huntingdon 1 and 2, and Cintest 2 and 3) were part
  of the 10 studies from the same sponsor, Sterling-Winthrop, and (because of the design and
  methodological issues discussed in the sections above) need not be discussed further. So, what about
  the others?
  One other negative study should be briefly noted, but otherwise ignored because it is not helpful. This
  study was cited by the Panel, but only for safety (McLaurin et al. (1961), reference 11),61 failed to
  demonstrate any positive NAR findings for PE, PPA, or PSE, although it did demonstrate some effect
  from ephedrine(see discussion in the Methodological and Statistical Issues section above). Therefore,
  the data from this study provides no useful information.
  The only significant negative study among the original studies discussed in the ANPR is the failed
  Columbia University study discussed below.
     3.3.3.5.1    Columbia University Study (Rogers / Bickerman publications)
  The results of the Columbia University study may be found the Original Cough-Cold Advisory Panel
  Recommendations, Columbia University Study (Rogers / Bickerman publications) section. It was the only
  negative or failed study discussed in the ANPR. It is stated to have demonstrated no effect on NAR from
  placebo, 10, 20, or 40 mg of oral PEH over a 4-hour observation period, whereas PSE 60 mg and PPA
  40 mg each produced significant NAR reductions persisting for at least 3 hours.
  However, there are some issues with the ANPR citation, and therefore where the data cited in the ANPR
  originated. The ANPR cited the study as reference 25 (Rogers 1973), whereas the reference itself has no
  specific data to support the reported findings, and that fact was noted in a comment submitted in
  response to the ANPR and discussed in the TFM as Comment 11. We believe that the data originate
  from a previous 1971 publication by one of the same authors (Bickerman 1971), the only differences
  being that the older reference lacks the data from the 20 and 40 mg PEH doses and the number of
  subjects cited in the ANPR is different. Please see Appendix, TFM Comment 11 for ANPR Reference 25
  for a full discussion.
  As we reviewed the information provided in the 1971 Bickerman publication (results in Table 11 and in
  Figure 6), it became clear that these researchers had tried to both address and overcome some of the
  variables that make NAR evaluations so difficult and unreliable. First, they studied all the parameters of
  how to assess NAR, including how to build a NAR evaluation device that would provide reproduceable
  results. Second, they elected to not focus on subjects with the common cold, but rather, to focus on
  both healthy individuals and subjects with chronic, mostly non-atopic, nasal congestion (causes



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  otherwise not specified) that respond to decongestants. They started by investigating day-to-day
  fluctuations, in-day cyclic variations (including variations between the two sides versus measuring both
  sides in unison), differences between sexes, and day-to-day changes as subjects experienced an upper
  respiratory infection (or common cold). They then studied these subjects over a period of several years,
  and armed with this background information, they could evaluate the effects of various decongestants
  in those subjects with chronic nasal congestion. This provided a much more stable platform and group of
  subjects in which they could conduct their trials over an extended period of time, as well as minimize
  the variables that could affect the results and enable them to interpret the findings with more
  assurance. Having their specific findings regarding lack of efficacy for the higher 20 and 40 mg doses
  would have been helpful, but even without those data the rest of the information is supportive of lack of
  effectiveness of the monographed 10 mg oral PE dose, particularly in light of the two positive controls
  that were also studied. One should bear in mind, however, that while these investigators attempted to
  address many of the significant methodological issues inherent in NAR measurements, and while their
  findings are perhaps more believable than the other studies described in the ANPR, NAR results are still
  at best to be considered as Phase 1 information.

  Table 11. Bickerman 1971. Effect on Nasal Airway Resistance of Four Oral Drugs in Patients With
  Chronic Nasal Congestion (0.2 L/s Expiration)*
       Drug            Control        ½ hour        1 hour       2 hours     3 hours       4 hours
  Placebo                 1.68          1.74          1.83          1.71        1.47          1.85
  PSE 60 mg               2.18          1.61          1.49          1.65        1.46          1.75
  PPA 40 mg               2.16          1.78          1.73          1.51        1.75          1.91
  PE 10 mg                1.99          2.06          2.00          1.89        2.49          2.14
  Source: Bickerman (1971), Figure 25.
  * After obtaining poor correlation using the Butler-Ivy technique of anterior rhinometry, measurements were performed using a
  modified full-face Navy diving mask fitted to a heated pneumotachograph to record nasal airflow and a mouthpiece with a pressure
  tap to record the pressure differential between the mask and the oropharynx. Permanent records were made by photographing the
  oscilloscope tracing. A total of 104 subjects (57 with mostly non-atopic chronic rhinitis and 47 healthy) were evaluated over a 3-year
  period to assess healthy versus chronic rhinitis differences, day-to-day fluctuations, in-day cyclic variations (including variations
  between the two sides versus measuring both sides in unison), differences between sexes, and day-to-day changes in subjects as
  they developed an upper respiratory infection. Pharmacologic studies were then performed using a double-blind crossover design in
  subjects with chronic non-seasonal rhinitis, including topical placebo, oxymetazoline, and phenylephrine nasal sprays, and oral
  pseudoephedrine, phenylpropanolamine, phenylephrine, and placebo. Results are shown in the table and graphically in Figure 6.
  Abbreviations: N, not stated; PE, phenylephrine; PPA, phenylpropanolamine; PSE, pseudoephedrine

  3.3.3.6     Potential Data Integrity and Other Issues in the Sterling-Winthrop Studies
  After a thorough review of all the available evidence, it is also possible that there may have been bias
  and/or data integrity issues at least one study center, Elizabeth Biochemical Labs, where five of the
  seven positive oral PE studies were conducted. That stated, it is important to note that we consider the
  methodological and statistical issues to be valid and overwhelming, whereas the data presented in this
  section is of a more speculative nature and should be considered as concerning but unproven.
  Except for one additional study (Cintest 1), which also appears to have some issues (see discussion
  below), the results from the Elizabeth study site could not be duplicated at the two other Sterling-
  Winthrop study sites that used a similar study design and methodology. Nor could they be duplicated by
  other investigators, including in a study conducted at Columbia University, a study that was considered
  as “negative” by the Panel and presented by the petitioners in 2007 (see Figure 6 and the Negative
  Original Studies section), or in two EEU studies that were conducted by Schering-Plough using a more
  stable study population (subjects with allergic rhinitis), study environment, and established clinical
  endpoints (primary) along with a NAR endpoint (secondary) (see the EEU Studies (2007 NDAC) section).



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  In fact, the study reports from two studies conducted at the other two Sterling-Winthrop sites
  contemporaneously implied that the credibility of the results from the Elizabeth site might have been in
  question.
  1. The study report for Cintest study #2 noted that, having failed to duplicate any of the Elizabeth
     results, researchers from that site visited the Elizabeth site to observe testing in an effort to
     understand why they were unable to duplicate the Elizabeth findings. They came away without a
     satisfactory answer as to what they had done differently that had produced such markedly different
     results.63 Therefore, the lack of reproducibility of results from the Elizabeth site calls into question
     whether there were in fact bias and/or integrity issues at that study site.
  2. The study report for Huntingdon study #1 contains a table (Table 12) comparing the standard
     deviations (SD) in the studies that had been conducted at the Elizabeth, Cintest, and Huntingdon
     study sites. This table was created because the investigators wanted to understand why they were
     unable to duplicate the results from the Elizabeth study site. While it is unclear how this table was
     derived and the results are not complete for each dose studied, the table nevertheless speaks for
     itself because it was done by the Huntingdon study site to address the question of why they could
     not duplicate the results from another site. One will immediately note that the magnitude of the
     standard deviations for the results at Elizabeth were considerably smaller than the studies
     conducted at the other two study sites, regardless of the drug or dose studied. It should be noted
     that the study report does not suggest that this information might point to an integrity issue at the
     Elizabeth study site. However, given the small sample size and the variability of the methodology
     and subject population, as well as the results of studies that have been reported since that time, the
     small SD of results at the Elizabeth site can only be interpreted in one of two ways. Either the results
     reflect excellent study management that could not be duplicated at the other two sites, which does
     not make scientific sense based on the PK and PD data and the known variability in the
     methodology, or they reflect data that are simply too good to be real. As a result, the issue of bias
     and possible data integrity issues at the Elizabeth site must be seriously entertained.

  Table 12. Comparison of Standard Deviation Values for Decongestant Studies Conducted at
  Elizabeth Biochemical Labs, Cintest Labs, and Huntingdon Research Center
                                           Time Point (Minutes) and SD
  Product/Dose/Lab              0     15     30    45     60     90  120   180  240
  PPA 50 mg
     Elizabeth                1.3    0.7    0.9   0.9    1.5    1.8   2.1  2.6   2.3
     Cintest                  4.1     12     13    18     20     17    18   23    45
     Huntingdon               6.5     27     20    16     25     37    36   38    38
  Neo-Synephrine 10 mg
     Cintest                  7.3     12     14    16     21     21    23   27    42
     Huntingdon               7.7     12     18    18     28     22    58   79  166
  Neo-Synephrine 25 mg
     Cintest                  5.4     14     22    23     21     22    22   22    30
     Huntingdon                10     22     29    32     38     44    45   35    44
  Neo-Synephrine 15 mg
     Elizabeth                0.8    0.3    1.0   1.7    2.1    1.5   1.5  1.4   2.3
  Source: Huntingdon 1 study report, ANPR Reference 20, Table II.
  Abbreviation: PPA, phenylpropanolamine



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       Cintest study 2, ANPR reference 23.


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  Given the information above and the considerable heterogeneity of results amongst the studies, we
  compared the findings from each of those studies within the context of our larger review. We again
  noted that the findings were highly inconsistent between two of the five studies conducted at Elizabeth
  Biochemical Labs (Elizabeth 1 to 5) and four of the five studies conducted at two other labs (Huntingdon
  1 to 2 and Cintest 1 to 3), the exception being Cintest 1. We also noted that the three key positive
  studies, Elizabeth 2, Elizabeth 5, and Cintest 1 (see Table 3), all appear to have been outliers in that, not
  only do their results not match the results obtained in the other studies, there are internal
  inconsistencies such that they do not match what would be expected in such studies.
  For example, the NAR results from these three studies do not match what is now known about the
  overall systemic bioavailability and pharmacodynamic effects of orally administered PE. Based on the
  bioavailability data, we estimate that an orally administered PE dose of about 100 mg would be needed
  result in sufficient systemic exposure that a nasal decongestant effect might be expected, which also
  happens to be the dose that results in clinically relevant systemic PD effects (i.e., elevations in systolic
  blood pressure). However, these studies included measurements of PD effects, and positive NAR results
  were often reported in the face of no clinically relevant changes in BP or HR, raising suspicion that these
  results were spurious or incorrect.
  Additionally, the NAR response curves do not match what is now known about the AUC (systemic
  exposure) curve after an orally administered dose of PE, including the timing of the peak and the
  duration of systemic exposure to the active parent PE. Based on the AUC information, one would expect
  that the decongestant effect, if present, would occur at an early timepoint and be very short-lived. This
  was not the case in the three key positive studies. Further, the results for the Elizabeth 2 and 5 studies
  match perfectly with what would be expected based on what was known at that time about systemic
  exposure of PE, in fact near textbook perfectly so. Additionally, no change from baseline was observed
  for placebo, a decidedly unexpected finding. The results of Cintest 1 also raise concern because the
  onset and duration of effect were later and more sustained (see Figure 8) than in any other study and
  cannot be easily explained on a scientific basis. All of these findings raise concern regarding any
  meaningful interpretation of the results.
  To illustrate our concerns, graphical representations of the results from Elizabeth 2 are presented in
  Figure 21, Elizabeth 5 in Figure 22, Cintest 1 in Figure 23, and Cintest 3 in Figure 24. The near-perfect
  results for Elizabeth 2 and 5 will be seen visually. Note that the NAR curves show dose ordering, that
  placebo remains stable over time, and the curves match what was known at the time about the systemic
  availability of PE (i.e., exposure over a 4-hour time frame). Whereas, in two studies conducted at the
  Cintest study site (Cintest 1 and 3), placebo and active roughly paralleled each other over time with no
  dose ordering. Also, note the duration of the response curves in Cintest 1 (Figure 23), discussed above,
  that was later and more prolonged than in any other study. By contrast, the results for Cintest 3
  (Figure 24) illustrate what was found in the seven other studies, with gradual drift in NAR results for
  both oral PE and placebo and no significant difference between treatment groups.
  Before looking at the figures, it is important to note differences in the y-axis for several of the studies.
  Elizabeth 2 reported absolute change from baseline, whereas studies at the Cintest site reported the
  change in percentage of the baseline reading, which is an odd way of presenting the data. As a result,
  the sets of figures from the two sites cannot be directly compared. However, the slopes, AUCs and
  differences between study (PEH) and control (placebo) arms are visually apparent.




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  Figure 21. Absolute Change From Baseline in Elizabeth 2 NAR Results. Left: 10 mg vs. Placebo
  (n=16). Right: 25 mg vs. Placebo (n=6)




  Source: Elizabeth 2 study.
  Results beyond 120 minutes are extrapolated.
  Abbreviation: NAR, nasal airway resistance


  Figure 22. Absolute Change From Baseline in Elizabeth 5 NAR Results. Left: 10 mg vs. Placebo
  (n=10). Right: 25 mg vs. Placebo (n=6)




  Source: Elizabeth 5 study.
  Abbreviations: NAR, nasal airway resistance; PE, phenylephrine




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  Figure 23. Change in Percentage of the Baseline Reading for Cintest 1 NAR Results. Top Left: PE
  10 mg vs. Placebo (n=15). Top Right: PE 25 mg vs. Placebo (n=66). Bottom: PPA 50 mg vs.
  Placebo (n=15)




  Source: Cintest 1 study.
  Abbreviations: NAR, nasal airway resistance; PE, phenylephrine; PPA, phenylpropanolamine




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  Figure 24. Change in Percentage of the Baseline Reading for Cintest 3 NAR Results. Left: PE
  10 mg vs. Placebo (n=15). Right: PE 25 mg vs. Placebo (n=16)




  Source: Cintest 3 study.
  Abbreviations: NAR, nasal airway resistance; PE, phenylephrine

  A final piece of evidence comes from information embedded in an Appendix to an article published by
  the petitioners in 2010. Of note, our review (presented above) was conducted before we became aware
  this information. In addition to noting that several of the Elizabeth studies seemed to drive the positive
  results (and the results in their meta-analysis) the petitioners also noted the lack of variability in the two
  Elizabeth results when compared with other studies. As a result, they decided to perform a statistical
  analysis of the variability of results in Elizabeth studies 2 and 5, following a forensic recommendation of
  Buyse et al. (1999), by evaluating digit preference in the third [last] significant digit (tenths column) of
  the reported data results.64 Their results are shown in Table 13. While they cleared Elizabeth study 5
  from a statistical perspective, they noted that Elizabeth Study #2 had a disproportionately high
  occurrence of the digit “5”, shown in red font in Table 13, that was consistent across time points (not
  shown), which they believe provides “sufficient statistical evidence to cast doubt upon the results.”

  Table 13. Appearance of Digits in the Tenths Column of Elizabeth Studies 2 and 5
                                     Frequency of Digit Appearance
  Study                0      1       2       3   4      5     6     7      8      9 Total
  1 (Elizabeth 2)      2      4       2       6   2     23     8     9      3      5   64
  2 (Elizabeth 5)      5      2       1       9   4      7     5    10      3      4   50
  Χ2=55.6 (P<10−8) for Study 1 (Elizabeth 2).
  Χ2=15.2 (P=0.060) for Study 2 (Elizabeth 5).
  Source: Shuster et al. (2010).

  As a result, in addition to the many methodological and statistical issues that make accepting these
  studies highly problematic, the possibility is also raised of there having been a data-integrity issue in
  Elizabeth study 2.



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    Note: The actual raw data are not in the study report. What is present is mean data for each subject, timepoint,
  and nostril, which is stated to represent the mean of 5 measurements. For each subject and timepoint, the data for
  the two nostrils were averaged to obtain results for each subject and timepoint, such that each data point that was
  used for the forensic evaluation presented in Table 13 represents the mean of 10 NAR measurements.


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       Potential Impacts of Changing the GRASE Status of Oral PE and Plans
       to Address Those Impacts
         Introduction to the Anticipated Downstream Effects
  The Agency anticipates that any action that were to change the GRASE status of oral PE might
  potentially result in significant downstream effects, including effects on both industry and consumers,
  because the only other oral decongestant, PSE, is now regulated as ‘behind-the-counter.’ As a result, PE
  is the only oral nasal decongestant available in front of the counter, and most OTC cough-cold products
  that had formerly contained PSE (prior to passage of the CMEA in 2006) now contain PE instead. This
  section focuses on those potential downstream effects. What follows is a brief introduction to what we
  believe might be the impacts, which we hope will serve as an introduction to a full discussion of both the
  anticipated and unanticipated/unintended consequences if oral PE were to be removed from the
  marketplace. We believe that those consequences must be carefully considered prior to taking any
  action.
  First, we present the historical use data, which provides the context to understand just how significant
  removal of oral PE from the marketplace might be. This is followed by a brief discussion on impacts on
  industry. And lastly, we provide a brief introduction to what we believe might be the impacts on
  consumers as well as potential plans to address those impacts. Even though we present information on
  the potential impacts on industry, we request that the Advisory Committee focus all discussion on how
  to anticipate and deal with both the anticipated consequences as well as the potential unintended
  consequences for consumers, and not focus on the potential impacts for industry.

         Historical Context: Use Data
  To gain insight into the potential impact on use, we examined both the historical and current sales
  patterns of OTC cough/cold/allergy oral products containing PE as well as PSE in the context of when PSE
  went ‘behind-the-counter’ in 2006. The Division of Epidemiology II provided sales data for OTC
  cough/cold/allergy oral products containing PE or PSE from manufacturers65 to U.S. retail and non-
  retail66 settings of care (2000 to 2022), and from U.S. retail stores67 to consumers (2018 to 2022). The


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    The manufacturer sales data were obtained from the NSP database, which measures the volume of prescription
  and OTC drug products moving from distributors and manufacturers into various outlets within the retail and non-
  retail markets. It captures ~90% of the total pharmaceutical market. Any capture of non-pharmaceutical product
  sales is a collection of convenience and not by database design. As such, NSP’s coverage on OTC products is
  generally less than 50%.
  66
    The retail settings include chain drug stores, independent drug stores, mass merchandisers, food stores, and
  mail service pharmacies. The non-retail settings include clinics, non-federal hospitals, federal facilities, HMOs, long-
  term care facilities, home health care, and other miscellaneous settings.
  67
    The OTC retail sales data were obtained from the OTCims and PL-ILR databases, which provide point-of-sale
  (POS) data from consumer purchases for over the counter (OTC) products and private label OTC products from a
  panel of retailers. Both databases are sourced from the same diverse and representative panel of approximately




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  Division of Epidemiology II also provided estimates of the sales in dollars (manufacturers’ selling prices
  or wholesalers’ purchase prices before mark-up are applied) from the retail sales data (2018 to 2022)
  (Table 14). However, sales estimates in dollars from the manufacturers’ sales data were not provided
  because those data significantly underestimate the amount when compared to the retail-sales data.
  When examining historical manufacturer sales data for these products from 2000 to 2022 (Figure 25),
  we noted a significant decline in PSE-containing product sales even prior to the enactment of the CMEA
  in 2006, with a commensurate rise in PE-containing products starting in 2004 and peaking in 2009, after
  which sales of both PE- and PSE-containing oral products have continued to gradually decline until 2020,
  when sales of PE-containing oral products increased again.
  The most current estimates of retail sales data are from 2022, when an estimated 242 million
  bottles/packages of OTC cough/cold/allergy oral products containing PE were sold from retail stores,
  representing approximately 1.763 billion dollars in sales, compared with an estimated 51 million
  bottles/packages of OTC cough/cold/allergy oral products containing PSE, representing approximately
  542 million dollars in sales (Figure 26 and Table 14). It should be noted, however, that the true extent of
  use of OTC cough/cold/allergy oral products containing PE or PSE is likely underestimated because the
  retail sales data do not capture sales activity from Costco, convenience stores, specialty stores, internet
  sales, phone sales, or kiosks.
  Several things are evident in these data. Sales of products containing PE, which amounted to only a
  small percentage of the market prior to 2006, have risen and displaced products containing PSE as an
  OTC decongestant, although sales of PSE, while smaller, remain. That said, overall sales of both
  ingredients have gradually declined from 2009 to 2020, and it is unclear why this is the case. One
  possibility for the reduction in PE sales is that consumers, having purchased PE- instead of PSE-
  containing products, have gradually recognized that PE does not provide the intended relief of
  congestion, and therefore have gradually stopped purchasing those products. However, this would not
  explain the accompanying reduction in PSE sales, although that may also be explained by a gradual loss
  of public awareness of the availability of ‘behind-the-counter’ PSE. The dip in sales starting in 2020 may
  be temporary, due to the decrease in upper respiratory infections that accompanied coronavirus disease
  2019 precautions.




  63,000 retail outlets across the U.S. We used these two databases to provide nationally estimated number of units
  sold to consumers from U.S. retail store outlets (e.g., supermarkets, drug stores, mass merchandisers). For insight
  into OTC products marketed under store names (e.g., CVS, Walmart), the PL-ILR database was utilized to capture
  OTC private label products.


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  Figure 25. National Annual Estimates of Bottles/Packages of Over-the-Counter (OTC)
  Cough/Cold/Allergy Oral Products Containing Phenylephrine or Pseudoephedrine Sold From
  Manufacturers’ to U.S. Retail and Non-Retail? Settings of Care, 2000 to 2022
        350M     -
                                                                 Combat
                                                            Methamphetamine
                               ,                       Epidemic Act of 2005 was
        300M     +            s\                        enacted in March 2006
                       4 \                                                I
                                                                          1 Po                                   7
                      oN                                                  ee                                                                     Second Citizen Petition
        250M     -                 \                                      ,            requesting EC EERE:                                       requesting to remove
   2                                   \                                  ;            phenylephrine dose in                                      phenyelphrine from
   2                                                                                            February 2007                                      OTC monograph in
   =                                       \                              IY                                                                        November 2015
   = 200M        5                             L                          I  4                         Nonprescription                                  1
   3                                               -    \                 4                            Drugs Advisory                                    ,
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                                                                                                                                                         IT
                     2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021 2022
                                                                                                                              Year


                                       «=          Pseudoephedrine-Containing Oral Products                                    «===Phenylephrine-Containing Oral Products

  Source: National Sales Perspectives™, 2000-2022. Data extracted May 2022 and February 2023.
   ' Manufacturer sales data of OTC cough/cold/allergy oral products containing phenylephrine were 32% or less of the retail sales
  data of these products from 2018 to 2022 and should not be directly compared to the retail sales data because they were
  substantially underestimated.
  ? Non-retail settings include clinics, non-federal hospitals, federal facilities, HMOs, long-term care facilities, home health care, and
  other miscellaneous settings.




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  Figure 26. National Annual Estimates of Bottles/Packages Sold for Over-the-Counter (OTC)
  Cough/Cold/Allergy Oral Products Containing Phenylephrine or Pseudoephedrine From U.S.
  Retail Stores’ to Consumers, 2018 to 2022
                                  300M     -


                                  250M     -                                                                                                                              242M
   Bottles/Packages in millions




                                  200 M


                                  150 M


                                  100 M


                                   50M


                                    OM
                                                     2018                        2019                          2020                            2021                            2022
                                                                                                                Year

                                  @ Phenylephrine-containing oral products                                @ Pseudoephedrine-containing oral products                                               |
  Source: OTC International Market Tracking and Private Label Ingredient Level Report, 2018-2022. Data extracted February 2023.
  ’ Retail sales data do not capture sales activity from Costco, convenience stores, specialty stores, internet sales, phone sales or
  kiosks.

  Table 14. National Annual Estimates of Bottles/Packages and Dollars' of Over-the-Counter (OTC)
  Cough/Cold/Allergy Oral Products Containing Phenylephrine or Pseudoephedrine Sold From U.S.
  Retail Stores? to Consumers, 2018 to 2022
                                                                                                                       Year
                                                             2018                        2019                          2020                           2021                           2022
                                                   Bottles/Packages      % | Bottles/Packages      %      | Bottles/Packages      %      | Bottles/Packages      %      | Bottles/Packages      %
  Total Over-the-Counter Oral
  Decongestants                                      272,945,288      100.0%}    276,557,888    100.0%}       227,415,027      100.0% |      228,456,546      100.0% |       293,008,234     100.0%
     Phenylephrine-Containing
    Oral Products                                    218,098,664      79.9%      223,465,762    80.8%          184,201,982     81.0%          184,149,349     80.6%          241,559,923     82.4%
     Pseudoephedrine-
    Containing Oral Products                         54,846,624       20.1%      53,092,126     19.2%          43,213,045      19.0%          44,307,197      19.4%          51,448,311      17.6%


                                                       Dollars           %         Dollars         %             Dollars          %             Dollars          %             Dollars         %
  Total Over-the-Counter Oral
  Decongestants                                     1,760,178,088     100.0% | 1,822,427,879    100.0% | 1,547,567,494         100.0%]       1,672,149,712    100.0%}       2,304,987,237    100.0%
     Phenylephrine-Containing
    Oral Products                                   1,258,958,330     71.5% |   1,327,116,650    72.8% |      1,116,711,698    72.2% |       1,213,497,701    72.6% |       1,763,442,986    76.5%

     Pseudoephedrine-
    Containing Oral Products                         501,219,758      28.5%      495,311,229    27.2%         430,855,796      27.8%         458,652,012      27.4%          541,544,251     23.5%
  Source: OTC                             International Market Tracking and Private Label Ingredient Level Report, 2! 018-2022. Data extracted February 2023.
  ’ Sales in dollars represent the price of a manufacturer’s pack before the wholesaler mark-up is applied.
  ? Retail sales data do not capture sales activity from Costco, convenience stores, specialty stores, internet sales, phone sales or
  kiosks.



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       Potential Impacts on Industry
 Please note that we will not be discussing any potential impacts on industry at this AC meeting.
 That stated, as exemplified by the use data above, a significant impact on industry is inevitable and must
 be anticipated. Manufacturers, warehousers, and pharmacies all have a large supply chain investment in
 stocks of PE, either as a precursor chemical, ingredient itself, or in a finished product. There will also be
 significant retooling costs to industry.
 In addition to the multiple OTC products, there are also prescription (NDA and ANDA) combination
 products that include PE. Since the approvals of these products relied on the Agency’s GRASE findings
 for the PE ingredient in the combination, if the status of PE in the OTC monograph is changed to non-
 GRASE, the basis of approval of these products will be altered and the Agency will need to consider
 withdraw of approval of these products.
 Further, any commercial INDs for oral PE-containing products would be impacted by removal of PE from
 the CCABA monograph.

       Potential Impacts on Consumers
 We are aware that a number of excellent treatments are available for the treatment of nasal congestion,
 and in particular, congestion associated with allergic rhinitis. That stated, as may be seen from the use
 data above, a significant amount of money is spent by consumers every year on the purchase of
 products that contain at least one ingredient (oral PE) that may not be effective. In addition to avoiding
 unnecessary costs of taking a drug with no benefit and lowering of overall healthcare costs, other
 potential benefits might be derived by changing the GRASE status of oral PE. These include but are not
 limited to avoiding any delay in care due to taking a drug that has no benefit, avoiding the risks of
 potential allergic reactions or other side effects related to use of PE in combination products, avoiding
 the inherent risks (especially for combination therapies) of taking more in order to seek some benefit,
 avoiding the risks of medication use in children, and avoiding missed opportunities for use of more
 effective treatments (including seeing a doctor if needed).
 However, other significant effects on consumers may be anticipated if oral PE is no longer available for
 purchase that are potentially negative in nature. Most consumers may simply need instruction on the
 alternatives, including how to obtain ‘behind-the-counter’ pseudoephedrine or to use alternative
 treatments, including intranasal decongestants (including intranasal PE), intranasal steroids, intranasal
 antihistamines, or intranasal saline products. However, availability of oral pseudoephedrine, while
 subject to interstate commerce and thus the CMEA, is also subject to additional restrictions that may be
 imposed by states. Therefore, it may not be available to all consumers, depending upon locality. Further,
 some consumers may believe that [oral] PE is helpful to them, resulting in frustration and anger if it is no
 longer available to purchase. Still other consumers may switch to competing treatments that have their
 own risks, benefits, and limitations of use.
 Thus, in addition to asking you the AC members to focus on the scientific evidence regarding the
 effectiveness of oral PE as a decongestant, we ask that you also address any potential unintended
 consequences that may arise should the Agency take an action to change the GRASE status of oral PE.
 We will provide some context for this discussion by asking experts to discuss the available approved Rx
 and OTC therapies at the NDAC meeting, and we will ask you to focus on other risk management and
 risk communication strategies, including educational plans for how to avoid unintended risks with use of
 other OTC products, safety issues related to the use of drugs that contain other active ingredients, and


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 safety issues related to the off-label use of other products or ingredients, including use of homeopathic
 and ‘nutraceutical’ products that are largely unregulated. We will also ask you to focus on the education
 of consumers regarding alternatives to phenylephrine (including both oral and intranasal products), how
 to obtain pseudoephedrine from behind-the-counter, and education of consumers who have a
 preference for phenylephrine regarding why it is being removed from the market.
 We anticipate that we would work with communication specialists within the Agency, professional
 organizations, industry, and consumer organizations as part of a comprehensive strategy to address
 these issues, and we welcome your input into that strategy.
 We thank you in advance for your thoughtful participation.




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        Links to Important Resources

 Cold, Cough, Allergy, Bronchodilator and Antiasthmatic Drug Products for OTC Human Use Monograph
 The CCABA OTC Monograph (including all amendments) was deemed a Final Order (OTC Monograph
 M012, Order Number OTC000026, posted on the FDA web portal on October 14, 2022) under the CARES
 Act (Coronavirus Aid, Relief, and Economic Security Act, signed into law on March 27, 2020:
 https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf). M012 is available at:
 https://dps.fda.gov/omuf/monographsearch/monograph m012.

 2007 Phenylephrine Citizen Petition
 Hendeles L, Hatton RA, Winterstein AG. Citizen Petition – Phenylephrine. Docket ID: FDA-2007-P-108
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 2007 Nonprescription Drugs Advisory Committee Meeting
 NDAC meeting held on December 14, 2007. Information available at: https://wayback.archive-
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 gs.

 2007 Joint Nonprescription Drugs and Pediatric Advisory Committee Meeting
 Meeting held on October 18 and 19, 2007. Information available at: https://wayback.archive-
 it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDru
 gs.

 2015 Phenylephrine Citizen Petition
 Hendeles L, Hatton RA. Citizen Petition – Phenylephrine. Docket ID: FDA-2015-P-4131, available at:
 https://www.regulations.gov/docket/FDA-2015-P-4131.

        Appendix With Supplementary Tables
          TFM Comment 11 for ANPR Reference 25
 TFM Comment 11 noted that the ANPR had cited a study that did not contain the information
 referenced in the text. This study had been reported as a double-blind, placebo-controlled, crossover
 study in 20 patients with chronic rhinitis, which not only could not demonstrate any significant decrease
 in NAR after doses of 10, 20, or 40 mg of phenylephrine, but also showed significant decreases in NAR
 persisting for at least 3 hours after two positive controls (40 mg of PPA or 60 mg of PSE).
 The problem, however, is that the citation in the text (Rogers, Reilly, and Bickerman 1973, reference 25)
 is for a conference abstract of a study stated to have been performed in 104 subjects with chronic
 rhinitis, with no further data provided with regard to doses studied or the results. This discrepancy was
 noted in the 1985 TFM Comment 11,68 which noted that several citations to reference 25 in the ANPR
 body text are incorrect in that no data are contained in reference. In response, the Agency stated that
 the actual citation could not be found, although the Agency’s response did note that several other ANPR
 citations to reference 25 were in fact citing an earlier publication by the same authors published 2 years
 previously (Bickerman 1971), the results of which are presented in Table 11 at the end of the Negative
 Original Studies section.
 With the exception of the number of subjects studied, we note that the title of the publication and the
 description of the study parameters (including study population, trial design, study arms, and studied
 ingredients and doses) in the ANPR text exactly match a much fuller description provided in the earlier
 1971 publication. Further, the cited abstract also matches with their earlier publication. Therefore, we
 believe it likely that this was the origin of the data cited in the ANPR, and that abstract cited simply is an
 update for the previous publication and study, with additional arms that had not been previously
 included in the earlier publication. For this same reason, we also believe that the number of subjects
 who the ANPR cited are incorrect, especially since no other study that we reviewed included either that
 number of subjects or those study arms. Further, after extensive publication searches, we were unable
 to find any other studies of oral PE from this time period not included in this document. Since the


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      50 FR 2220 (January 15, 1985) at 2226, Comment 11.


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 original Panel comprised experts in the field, it is also possible that the Panel had access to information
 not in the cited abstract (i.e., in reference 25) that had been presented at that conference but were not
 in the abstract text.
 Therefore, while the ANPR only cited the 1973 reference, we believe that it should have cited both the
 1971 and 1973 references as the source of the material in the text. Note that the results published by
 Bickerman in 1971 were republished (with permission) by the petitioners in graphical format (Figure 6)
 in 1993 (Hendeles 1993) and again in 2006 (Hendeles and Hatton 2006), and discussed by the
 petitioners at the NDAC meeting in 2007. Please see the 2007 NDAC Presentation for details.

       Supplementary Tables
 Table 15. Oral PE Efficacy Studies Reviewed by the 1976 Cough-Cold Panel
 Study/Site Info/     Drugs/
 Docket Number        Doses         N Study Design and Results
 Sterling-Winthrop    PE 10        15 This was an early, preparatory study for the 10 studies from
 (Lands to Luduena) PE 25             Sterling-Winthrop, including 5 Elizabeth, 3 Cintest, and 2
 5-23-59)             PE 50           Huntingdon studies.
 Ref 5                PE 75           10, 25, 50 and 75 mg of PEH (Neo-Synephrine) were compared
                      PPA 50          with 25 and 50 mg of PPA (Propadrine) in 15 subjects in a
                      PPA 75          double-blind, placebo-controlled, crossover design. NAR
                      Placebo         methodology: Sterntein and Schur.
                                      Only minor changes SBP were noted at 1 and 2 hours postdosing
                                      after PE, and no significant effects on NAR readings were noted
                                      for any dose of PE, whereas significant effects were noted for
                                      PPA at 1 hour postdosing. The findings were said to suggest that
                                      50 mg of PPA and 75 mg of PE are the threshold oral doses for
                                      these drugs.
 Elizabeth 1          PE 25        12 Conducted at Elizabeth Biochemical Labs, and study report by
 (Hulme to Suter      Eph 8        13 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
 6-28-67)             Placebo      25 NY.
 Ref 6                                Two-way crossover in 25 patients with colds. Two sets of
                                      treatment groups: PE 25 mg vs. placebo (n=12), or ephedrine
                                      8 mg vs. placebo (n=13). Evaluations 24 hours apart. Testing to
                                      120 minutes. Endpoints: Airway resistance and symptoms. NAR
                                      methodology: not described.
                                      Both actives were effective vs. placebo.
 Elizabeth 2          PE 10        16 Conducted at Elizabeth Biochemical Labs, and study report by
 (Hulme to            PE 15        10 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
 Wessinger 1-12-68) PE 25           6 NY.
 Ref 7                Eph 50        6 2-way crossover in 38 subjects with demonstrable congestion
                      Placebo      38 (cause not stated): PE 10 mg vs. placebo (n=16), PE 15 mg vs.
                                      placebo (n=10), PE 25 mg vs. placebo (n=6), Eph 50 mg vs.
                                      placebo (n=6). Evaluations 24 hours apart. Testing to
                                      120 minutes. Endpoints: Airway resistance and symptoms.
                                      There was a highly significant difference among patient
                                      responses over the 0, 15, and 30-minute predosing time periods,
                                      with a consistent trend toward increased NAR as related to time
                                      of observation, and the last observation was used as baseline.
                                      There were also differences between the right and left nostrils on
                                      the first day of testing. While less on the second day, there was
                                      significant variation between patients. Used an average of
                                      repeated measurements from both nostrils to deal with this
                                      variability. All actives were reported as effective vs. placebo.



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  Study/Site Info/    Drugs/
  Docket Number       Doses      N Study Design and Results
  Elizabeth 3         PE 5      16 Conducted at Elizabeth Biochemical Labs, and study report by
  (Hulme to           PE 15     10 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
  Blackmore 6-2-69)   PE 25     10 NY.
  Reference 8         PPA 50    10 2-way blinded crossover in 46 subjects with colds: PE 5 mg vs.
                      Placebo   46 placebo (n=16), PE 15 mg vs. placebo (n=10), PE 25 mg vs.
                                   placebo (n=10), phenylpropanolamine (PPA) 50 mg vs. placebo
                                   (n=10). Evaluations 24 hours apart. Testing to 240 minutes.
                                   Endpoints: Airway resistance, symptoms, pulse, BP. NAR
                                   methodology: Modified Butler-Ivy procedure.
                                   All actives were effective vs. placebo, although no differences in
                                   symptoms at 5 mg vs. placebo, no dose-response relationship
                                   noted, and PPA was more effective than any dose of PE.
                                   Variable results with pulse and BP, with no clinically relevant
                                   differences in SBP or DBP vs. placebo at the 25 mg PE dose.
  Elizabeth 4         PE 15      6 Conducted at Elizabeth Biochemical Labs, and study report by
  (Hulme to           PE 20      5 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
  Blackmore           PE 25      9 NY.
  8-11-69)            Placebo   25 2-way double-blinded crossover in 20 subjects with colds: PE
  Reference 9                      15 mg vs. placebo (n=6), PE 20 mg vs. placebo (n=5), PE 25 mg
                                   vs. placebo (n=9). However, not completed as envisioned due to
                                   lack of subjects. Evaluations 24 hours apart. Testing to
                                   240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                   NAR methodology: Modified Butler-Ivy procedure.
                                   All actives were effective vs. placebo for NAR results, but no
                                   difference for symptoms at 25 mg. No clinically relevant
                                   differences in pulse, SBP, or DBP vs. placebo.
  Elizabeth 5         PE 10     10 Conducted at Elizabeth Biochemical Labs, and study report by
  (Hulme to           PE 15      6 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
  Blackmore           PE 25      9 NY.
  5-27-70)            Placebo   25 2-way double-blinded crossover in 25 subjects with colds: PE
  Reference 10                     10 mg vs. placebo (n=10), PE 15 mg vs. placebo (n=6), PE
                                   25 mg vs. placebo (n=9). Planned 46, but only enrolled 25
                                   subjects. NAR methodology: Modified Butler-Ivy procedure.
                                   All actives were effective vs. placebo for NAR results with dose
                                   ordering. No clinically relevant differences in pulse, SBP, or DBP
                                   vs. placebo.
  Blanchard et al.    NA        NA This is a publication that the ANPR cited to support effectiveness
  1964                             of oral PE. It is stated to have been conducted over a 3-year
  Reference 19                     period in hundreds of patients at the University of Maryland.
                                   However, it cannot be used to support the effectiveness of oral
                                   PE because the actual products and dosing are not stated, AND
                                   where it describes use of an oral decongestant is only in
                                   combination with antihistamine and an analgesic in a
                                   commercially available product or as part of extended-release
                                   medication that includes two vasoconstrictors, an antihistamine
                                   and an analgesic Therefore, this study is of no value despite the
                                   fact that the ANPR cited it as such.




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  Study/Site Info/   Drugs/
  Docket Number      Doses        N Study Design and Results
  Huntingdon 1       PE 10       16 Conducted at Huntingdon Research Center, and study report by
  (Hulme to          PE 25       16 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
  Blackmore          PPA 50      16 NY, with the express interest to confirm data from previous
  5-13-69)           Placebo     48 Elizabeth studies. Design the same as Cintest Labs 1 study.
  Reference 20                      No significant differences between PE 10 or PE 25 mg and
                                    placebo at 45 or 60 minutes, whereas PPA 50 mg vs. placebo
                                    was significant (although the magnitude of differences were not
                                    as great as expected). Missing data so no subjective scoring.
                                    Large variability in results and different or inexperienced
                                    technicians blamed for lack of positive results.
  Huntingdon 2       PE 10       25 Conducted at Huntingdon Research Center, and study report by
  (Hulme to          PE 20       25 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
  Blackmore          Placebo     50 NY, with the express interest to confirm data from previous
  6-26-69)                          Elizabeth studies.
  Reference 21                      2-way double-blinded crossover in 50 subjects with colds: PE
                                    10 mg vs. placebo (n=25), PE 20 mg vs. placebo (n=25).
                                    Evaluations 24 hours apart. Testing to 240 minutes. Endpoints:
                                    Airway resistance, symptoms, pulse, BP.
                                    No significant difference between 10 mg vs. placebo, and only
                                    significant timepoint for 20 mg vs. placebo was at 45 minutes.
                                    Subjective comparisons not attempted due to lack of positive
                                    NAR findings. No significant pulse or BP findings. Different or
                                    inexperienced technicians blamed for lack of positive results.
  Cintest 1          PE 10       16 First study conducted at Cintest Division of Hill Top Laboratories,
  (Hulme to          PE 25       16 Cincinnati, OH, and study report by N.A. Hulme at Sterling-
  Blackmore          PPA 50      16 Winthrop Research Institute, Rensselaer, NY.
  4-10-69)           Placebo     48 2-way double-blinded crossover in 48 subjects with colds: PE
  Reference 22                      10 mg vs. placebo (n=16), PE 20 mg vs. placebo (n=16), PPA
                                    50 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                    240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                    Limited periods of differences noted: 90-180 minutes for PE
                                    10 mg vs. placebo, 120-240 minutes for PE 25 mg vs. placebo,
                                    and 60-120 minutes for PPA 50 mg vs. placebo. No difference in
                                    symptoms at PE 25 mg vs. placebo. Large variability in results,
                                    operator technique blamed for lack of positive findings.
  Cintest 2          PE 10       16 Second study conducted at Cintest Division of Hill Top
  (Hulme to          PE 15       16 Laboratories, Cincinnati, OH, and study report by N.A. Hulme at
  Blackmore          PE 20       16 Sterling-Winthrop Research Institute, Rensselaer, NY.
  1-23-70)           Placebo     48 2-way double-blinded crossover in 48 subjects with colds: PE
  Reference 23                      10 mg vs. placebo (n=16), PE 15 mg vs. placebo (n=16), PE
                                    20 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                    240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                    Failed study: No significant difference between any PE treatment
                                    group and placebo for NAR, symptom scores, pulse, or BP. No
                                    reason why—same instrument and technicians. Discussed
                                    technique with Elizabeth Biochemical and observed technician
                                    giving the testing—no obvious problem found.




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  Docket Number         Doses        N Study Design and Results
  Cintest 3             PE 10       16 Third study conducted at Cintest Division of Hill Top Laboratories,
  (Hulme to             PE 15       16 Cincinnati, OH, and study report by N.A. Hulme at Sterling-
  Blackmore             PE 25       16 Winthrop Research Institute, Rensselaer, NY.
  5-18-70)              Placebo     48 2-way double-blinded crossover in 48 subjects with colds: PE
  Reference 24                         10 mg vs. placebo (n=16), PE 15 mg vs. placebo (n=16), PE
                                       25 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                       120 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                       Indistinguishable results between PE 10 mg vs. placebo. Minimal
                                       differences between PE 15 or PE 25 mg vs. placebo. No
                                       differences in subjective findings.
  Rogers et al., 1973   NA         NA Physiologic and Pharmacologic Studies on Nasal Airway
  Reference 25                         Resistance. Abstract presented at the American Society for
                                       Clinical Pharmacology and Therapeutics, March 22, 1973.
                                       Evaluated 5 topical and 10 oral nasal decongestants at varying
                                       dose levels in a double-blind crossover design in subjects with
                                       “reversible chronic, non-atopic nasal congestion”, but the drugs
                                       and doses were not stated. Primary endpoint was nasal airflow
                                       and trans-oro-nasal pressures. Because it is an abstract no
                                       treatment arms are stated, nor are the number of subjects noted.
                                       However, we believe that what was cited as reference 25 in the
                                       ANPR was actually information based on an earlier publication by
                                       Bickerman et al. in 1971 that contained the following:
  Bickerman et al.      PE 10       57 These were studies in 47 healthy volunteers and 57 patients who
  1971                  PSE 60         had a history of chronic rhinitis which was for the most part non-
                        PPA 40         atopic. Day-to-day and in-day variations were noted, after which
                        Placebo        pharmacologic studies were done in a double-blind, crossover
                                       fashion in the patients with chronic non-seasonal rhinitis. NAR
                                       evaluations included the following treatment arms: Intranasal
                                       placebo and oxymetazoline sprays; oral placebo, PSE 60 mg,
                                       PPA 4 mg, and PEH 10 mg. PSE results were highly significant
                                       starting at ½ hour and continuing through 4 hours. PPA results
                                       were significant at ½ hour up to 3 hours, and PE was only
                                       significant (p=0.3 level) at 3 hours (see Figure 6).
  BEI 1025              PE 10 mg   100 This study was conducted for Whitehall Laboratories. The
  (Cohen 6-1975)        q4h ×3         location and objective methodology used in the study were not
  Reference 26          doses          included in the report.
                        Placebo    100 Double-blind, placebo-controlled study in 200 subjects with colds,
                                       who were treated with 4 doses of PE 10 mg or placebo every
                                       4 hours and evaluated over 12.5 hours post-first dose. 50
                                       subjects (PE 10 mg, n=25; placebo, n=25) who were evaluated
                                       with NAR testing over the first 120 minutes and subjective
                                       symptom scores for stuffy nose (i.e., congestion), runny nose,
                                       sneezing, itching (eyes and nose), coughing, muscle ache over
                                       the full treatment period. 150 subjects (PE 10 mg, n=75; placebo,
                                       n=75) were evaluated only with congestion symptom scores. The
                                       results were then pooled. Protocol not fully described in the
                                       summary report. Symptom scores at various timepoints post-
                                       dosing.
                                       Results were significant for both objective and subjective
                                       symptom scores when compared with placebo.




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  Study/Site Info/        Drugs/
  Docket Number           Doses            N Study Design and Results
  McLauren et al.,        PE 10           88 This study is included in the ANPR to support the safety, but not
  1960                    PSE 60             the effectiveness of oral PE. It is included for completeness.
  Reference 11            Eph 25             Randomized, double-blind, placebo-controlled 5-way crossover
                          PPA 25             study in 88 subjects with various reasons for congestion.
                          Placebo            Subjects were asked to take two doses of medication, the first
                                             dose in center and the second dose at home 5-6 hours later
                                             60 minutes before bed. Airway resistance was measured
                                             predose and 60 minutes postdose. Symptoms were measured
                                             at 60 minutes, reflectively 1 hour after taking the second dose
                                             the next morning , and reflectively 1 hour before going to sleep
                                             that evening. Of the 130 subjects enrolled in the study, 88
                                             completed all 5 treatments. Unfortunately, the data tables do not
                                             convey the numbers in each treatment group, making
                                             interpretation of the results problematic. However, 11, 7, 1, 14,
                                             and 5 subjects experienced a 20 mm or more increase in
                                             systolic BP (presumably at the 60-minute time point) after
                                             placebo, PSE, PE, PPA, and ephedrine, respectively. As a
                                             result, the BP findings were not significant. Similar findings were
                                             noted for HR. Subjective “airway” changes showed PE to be the
                                             least effective, although placebo had about as much
                                             improvement as the other treatment groups. With regard to
                                             change in rhinometric evaluations, the slopes of the regression
                                             lines were not significant for any of the treatments except
                                             ephedrine. Therefore, this could be considered to have been a
                                             failed study.
 Abbreviations: BP, blood pressure; DBP, diastolic blood pressure; Eph, ephedrine; NAR, nasal airway resistance; PE,
 phenylephrine; PEH, phenylephrine hydrochloride; PPA, phenylpropanolamine; PSE, pseudoephedrine; q4h, every 4 hours;
 SBP, systolic blood pressure




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Table 16. Monograph Ingredients Contained in the Over-the-Counter (OTC) Cough and Cold Drug Products
Antihistamine                   Decongestant                   Expectorant Antitussive                                                               Bronchodilator
Oral Products
Brompheniramine maleate2        Phenylephrine hydrochloride1,3 Guaifenesin1 Chlophedianol hydrochloride2                                             Ephedrine2,3
                              2
Chlorcyclizine hydrochloride    Phenylephrine bitartrate3                   Codeine2,4,5                                                             Ephedrine hydrochloride2,3
                            2
Chlorpheniramine maleate        Pseudoephedrine                             Codeine phosphate2,4,5                                                   Ephedrine sulfate2,3
Dexbrompheniramine maleate2 hydrochloride1,3                                Codeine sulfate2,4,4                                                     Racephedrine
Dexchlorpheniramine maleate2 Pseudoephedrine sulfate1,3                     Dextromethorphan1                                                        hydrochloride2,3
                         2,5
Diphenhydramine citrate                                                     Dextromethorphan hydrobromide1
Diphenhydramine                                                             Diphenhydramine citrate2,5
              2,4,5
hydrochloride                                                               Diphenhydramine hydrochloride2,4,5
                       2
Doxylamine succinate
Phenindamine tartrate2
Pheniramine maleate2
Pyrilamine maleate2
Thonzylamine hydrochloride2
Triprolidine hydrochloride2
Topical and/or Inhaled Products
                                Levmetamfetamine                            Camphor                                                                  Epinephrine
                                Ephedrine3                                  Menthol                                                                  Epinephrine bitartrate
                                Ephedrine hydrochloride3                                                                                             Racepinephrine
                                Ephedrine sulfate3                                                                                                   hydrochloride
                                Naphazoline hydrochloride
                                Oxymetazoline hydrochloride
                                Phenylephrine hydrochloride
                                Propylhexedrine
                                Xylometazoline hydrochloride
Source: Monographs listed below.
1
  Four ingredients have OTC labeling down to 2 years of age: Dextromethorphan and dextromethorphan hydrochloride, guaifenesin, phenylephrine hydrochloride, and both
  pseudoephedrine salts.
2
  Professional labeling is available at the end of the monograph with dosing down to 2 years of age, with two exceptions: A) triprolidine has professional labeling down to 4 months of
  age, and B) guaifenesin has OTC labeling down to 2 years of age and professional labeling stating that single-ingredient guaifenesin may be used for treatment of “stable chronic
  bronchitis.”
3
  Pseudoephedrine and ephedrine ingredients are behind-the-counter.
4
  Diphenhydramine hydrochloride is also in the Antiemetic Drug Products for OTC Human Use Monograph (M009 previously 21 CFR § 336), with dosages for adults and children
  12 years of age and over (25 to 50 mg every 4 to 6 hours, not to exceed 300 mg in 24 hours, or as directed by a doctor) and children 6 to 11 years (12.5 to 25 mg every 4 to 6 h, not
  to exceed 150 mg in 24 hours).
5
  Diphenhydramine hydrochloride and diphenhydramine citrate are also in the Nighttime Sleep-Aid Drug Products for Over-the-Counter Human Use monograph (M010 previously 21
  CFR § 338). For diphenhydramine hydrochloride, the dosage is for adults and children 12 years of age and over (50 mg at bedtime as needed, or as directed by a doctor). For
  diphenhydramine citrate, the dosage is for adults and children 12 years of age and over (76 mg at bedtime prn, or as directed by a doctor).




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Table 17. CCABA Monograph Oral Ingredients: OTC and Professional Dosages and Age Groups*
                                                              OTC Dosage
                             Adults and Children                                                          Professional Ages and
Ingredient                   12 years and Older        6-11 years                    2-5 years            Dosage
Antihistamines – M012.72(d) (previously 21 CFR 341.72 (d))
Brompheniramine maleate      4 mg q4-6h, NTE           2 mg q4-6h, NTE 12 mg/24h, or Consult a doctor     2-5y: 1 mg q4-6 h, NTE
                             24 mg/24h, or as directed as directed                                        6 mg/24h
Chlorcyclizine hydrochloride 25 mg q6-8h, NTE          Consult a doctor              Consult a doctor     6-11y: 12.5 mg q6-8h, NTE
(*dosed q6-8h)               75 mg/24h, or as directed                                                    37.5 mg/24h
                                                                                                          2-5y: 6.25 mg q6-8h, NTE
                                                                                                          18.75 mg/24h
Chlorpheniramine maleate    4 mg q4-6h, NTE              2 mg q4-6h, NTE 12 mg/24h, or Consult a doctor   2-5y: 1 mg q4-6h, NTE
                            24 mg/24h, or as directed    as directed                                      6 mg/24h
Dexbrompheniramine maleate 2 mg q4-6h, NTE               1 mg q4-6h, NTE 6 mg/24h, or Consult a doctor    2-5y: 0.5 mg q4-6h, NTE
                            12 mg/24h, or as directed    as directed                                      3 mg/24h
Dexchlorpheniramine maleate 2 mg q4-6h, NTE              1 mg q4-6h, NTE 6 mg/24h, or Consult a doctor    2-5y: 0.5 mg q4-6h, NTE
                            12 mg/24h, or as directed    as directed                                      3 mg/24h
Diphenhydramine citrate     38 to 76 mg q4-6h, NTE       19 to 38 mg q4-6h, NTE        Consult a doctor   2-5y: 9.5 mg q4-6h, NTE
                            456 mg/24h, or as directed   228 mg/24h, or as directed                       57 mg/24h
Diphenhydramine             25 to 50 mg q4-6h, NTE       12.5 to 25 mg q4-6h, NTE      Consult a doctor   2-5y: 6.25 mg q4-6h, NTE
hydrochloride               300 mg/24h, or as directed   150 mg/24h, or as directed                       37.5 mg/24h
Doxylamine succinate1       7.5 to 12.5 mg q4-6h, NTE    3.75 to 6.25 mg q4-6h, NTE    Consult a doctor   2-5y: 1.9 to 3.25 mg q4-6h,
                            75 mg/24h, or as directed    37.5 mg/24h, or as directed                      NTE 18.75 mg/24h
Phenindamine tartrate       25 mg q4-6h, NTE             12.5 mg q4-6h, NTE            Consult a doctor   2-5y: 6.25 mg q4-6h, NTE
                            150 mg/24h, or as directed   75 mg/24h, or as directed                        37.5 mg/24h
Pheniramine maleate         12.5 to 25 mg q4-6h, NTE     6.25 to 12.5 mg q4-6h, NTE    Consult a doctor   2-5y: 3.125 to 6.25 mg q4-
                            150 mg/24h, or as directed   75 mg/24h, or as directed                        6h, NTE 37.5 mg/24h
Pyrilamine maleate          25 to 50 mg q6-8h, NTE       12.5 to 25 mg q6-8h, NTE      Consult a doctor   2-5y: 6.25 to 12.5 mg q6-
                            200 mg/24h, or as directed   100 mg/24h, or as directed                       8h, NTE 50 mg/24h
Thonzylamine hydrochloride  50 to 100 mg q4-6h, NTE      25 to 50 mg q4-6h, NTE        Consult a doctor   2-5y: 12 to 25 mg q4-6h,
                            600 mg/24h, or as directed   300 mg/24h, or as directed                       NTE 150 mg/24h
Triprolidine hydrochloride  2.5 mg q4-6h, NTE            1.25 mg q4-6h, NTE 5 mg/24h, Consult a doctor    4-5y: 0.938 mg q4-6h, NTE
(*has infant dosing)        10 mg/24h, or as directed    or as directed                                   3.744 mg/24h
                                                                                                          2-3y: 0.625 mg q4-6h, NTE
                                                                                                          2.5 mg/24h
                                                                                                          Infants 4m to-<2y:
                                                                                                          0.313 mg q4-6h, NTE
                                                                                                          1.252 mg/24h



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                                                               OTC Dosage
                             Adults and Children                                                             Professional Ages and
Ingredient                   12 years and Older         6-11 years                     2-5 years             Dosage
Oral Antitussives – M012.74(d)(1) (Previously 21 CFR 341.74 (d)(1))
Chlophedianol hydrochloride  25 mg q6-8h, NTE           12.5 mg q6-8h, NTE             Consult a doctor      2-5y: 12.5 mg q6-8 h, NTE
                             100 mg/24h, or as directed 50 mg/24h, or as directed                            50 mg/24h
Codeine, codeine phosphate, 10 to 20 mg q4-6h, NTE      5 to 10 mg q4-6h, NTE          Consult a doctor      2-5y: 1 mg/kg of body
and codeine sulfate          120 mg/24h, or as directed 60 mg/24h, or as directed                            weight as 4 equally divided
                                                        Use a special measuring                              doses, or
                                                        device.                                              2y (~12 kg): 3 mg q4-6h,
                                                                                                             NTE 12 mg/24h
                                                                                                             3y (~14 kg): 3.5 mg q4-6h,
                                                                                                             NTE 14 mg/24h
                                                                                                             4y (~16 kg): 4 mg q4-6h,
                                                                                                             NTE 16 mg/24h
                                                                                                             5y (~18 kg): 4.5 mg q4-6h,
                                                                                                             NTE 18 mg/24h
                                                                                                             Use a calibrated measure.
                                                                                                             Adjust for low weight.
                                                                                                             Children <2 y are more
                                                                                                             susceptible to respiratory
                                                                                                             depression, coma, death.
Dextromethorphan and          10 to 20 mg q4h, or 30 mg 5 to 10 mg q4h, or 15 mg q6-   2.5 to 5 mg q4h, or   --
dextromethorphan              q6-8h, NTE 120 mg/24h, or 8h, NTE 60 mg/24h, or as       7.5 mg q6-8h, NTE
hydrobromide                  as directed               directed                       30 mg/24h, or as
                                                                                       directed
Diphenhydramine citrate      38 mg q4h, NTE             19 mg q4h, NTE 114 mg/24h      Consult a doctor      2-5y: 9.5 mg q4-6h, NTE
341.14(a)(5)                 228 mg/24h                                                                      57 mg/24h
Diphenhydramine              25 mg q4h, NTE             12.5 mg q4h, NTE 75 mg/24h,    Consult a doctor      2-5y: 6.25 mg q4-6h, NTE
hydrochloride 341.14(a)(6)   150 mg/24h, or as directed or as directed                                       37.5 mg/24h
Oral Bronchodilators – M012.76(d)(1) (Previously 21 CFR 341.76(d)(1))
Ephedrine, ephedrine         12.5 to 25 mg q4h prn,     Ask a doctor                   Ask a doctor          6-11y: 6.25 to 12.5 mg
hydrochloride, ephedrine     NTE 150 mg/24h                                                                  q4h, NTE 75 mg/24h
sulfate, and racephedrine                                                                                    2-5y: 0.3 to 0.5 mg/kg of
hydrochloride                                                                                                body weight q4h, NTE
                                                                                                             2 mg/kg/24h
Expectorants – M012.78(d) (Previously 21 CFR 341.78 (d))
Guaifenesin                  200 to 400 mg q4h, NTE    100 to 200 mg q4h, NTE          50 to 100 mg q4h,     OK as a single ingredient
                             2400 mg/24h               1200 mg/24h                     NTE 600 mg/24h        for “stable chronic
                                                                                                             bronchitis” (same dosage)

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                                                             OTC Dosage
                            Adults and Children                                                                                                        Professional Ages and
Ingredient                  12 years and Older         6-11 years                                                       2-5 years                      Dosage
Oral Nasal Decongestants – M012.80(d)(1) (Previously 21 CFR 341.80 (d)(1))
Phenylephrine hydrochloride 10 mg q4h, NTE             5 mg q4h, NTE 30 mg/24h                                          2.5 mg q4h, NTE                --
                            60 mg/24h                                                                                   15 mg/24h
Phenylephrine bitartrate    15.6 mg q4h, NTE           7.8 mg q4h, NTE 31.2 mg/24h                                      Ask a doctor                   --
                            62.4 mg/24h
Pseudoephedrine             60 mg q4-6h, NTE           30 mg q4-6h, NTE 120 mg/24h                                      15 mg q4-6h, NTE               --
hydrochloride and           240 mg/24h                                                                                  60 mg/24h
pseudoephedrine sulfate
Source: CCABA Monograph.
* This table presents only the dosing directions for each ingredient. Warnings and other labeling are NOT shown.
1
  Although the Panel recommended OTC dosages of 7.5 to 12.5 mg, the original Proposed Rule proposed that the OTC dose of doxylamine succinate be limited to 7.5 mg (41 FR
38312, 1976-9-9 at 38313).
Abbreviations: 6-11y, 6 to 11 years (i.e., “6 to under 12 years”); 2-5y, 2 to 5 years (i.e., “2 to under 6 years”); CCABA, Cough, Cold, Allergy, Bronchodilator, and Antiasthma; NTE, not
to exceed; OTC, over-the-counter; q4h, once every 4 hours; q4-6h, once every 4-6 hours; q6-8h, once every 4-8 hours




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NDAC Briefing Document: Oral Phenylephrine in the CCABA Monograph   A-1293
Table 18. CCABA Monograph Topical and/or Inhaled Ingredients: OTC Dosages and Age Groups1
                                                                    OTC Dosage (No Professional Labeling)
                               Adults and Children
Ingredient                     12 Years and Older                       6-11 Years                               2-5 Years
Topical Antitussives – M012.74(d)(2) (Previously 21 CFR 341.74 (d)(2))
Camphor Ointment (4.7 to       Adults and children 2 years and older: Rub on throat and chest in a thick layer up to 3 times/day
5.3%)
Menthol Ointment (2.6 to       Adults and children 2 years and older: Rub on throat and chest in a thick layer up to 3 times/day
2.8%)
Menthol Lozenge (5 to 10 mg) “Adults and children 2 to under 12 years of age: Allow lozenge to dissolve slowly in the mouth. May be repeated
                               every hour prn, or as directed
Camphor for Inhalation (6.2%) “[bullet] adults and children 2 years and older: (select one of the following, as appropriate: For products
                               formulated to be added directly to cold water inside a hot steam vaporizer. [bullet] use 1 tablespoonful of solution
                               for each quart of water or 1 1/2 teaspoonfuls of solution for each pint of water [bullet] add solution directly to cold
                               water only in a hot steam vaporizer [bullet] follow manufacturer's directions for using vaporizer or For products
                               formulated to be placed in the medication chamber of a hot steam vaporizer. [bullet] place water in the vaporizer
                               and follow manufacturer's directions for using vaporizer [bullet] place solution in the medication chamber only)
                               [bullet] breathe in the medicated vapors [bullet] use up to three times daily or as directed by a doctor [bullet]
                               children under 2 years of age: Ask a doctor.”
Menthol for Inhalations (3.2%) “[bullet] adults and children 2 years and older: (select one of the following, as appropriate: For products
                               formulated to be added directly to cold water inside a hot steam vaporizer. [bullet] use 1 tablespoonful of solution
                               for each quart of water or 1½ teaspoonfuls of solution for each pint of water [bullet] add solution directly to cold
                               water only in a hot steam vaporizer [bullet] follow manufacturer's directions for using vaporizer or For products
                               formulated to be placed in the medication chamber of a hot steam vaporizer. [bullet] place water in the vaporizer
                               and follow manufacturer's directions for using vaporizer [bullet] place solution in the medication chamber only)
                               [bullet] breathe in the medicated vapors [bullet] use up to three times daily or as directed by a doctor [bullet]
                               children under 2 years of age: Ask a doctor.
Inhaled Bronchodilators – M012.76(d)(2) (Previously 21 CFR 341.76(d)(2))
Epinephrine, epinephrine       Adults and children 4 years of age and older: 1-3 inhalations not more than every          Under 4 years of age: Ask
bitartrate, and racepinephrine 3 hours, NTE 12 inhalations/24 hours                                                       a doctor
hydrochloride (1% aq soln)




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                                                                    OTC Dosage (No Professional Labeling)
                                Adults and Children
Ingredient                      12 Years and Older                     6-11 Years                             2-5 Years
Intranasal Decongestants – M012.80(d)(2) (Previously 21 CFR 341.80(d)(2))
Levmetamfetamine: Inhalation “Adults: 2 inhalations in each nostril    (with adult supervision) 1 inhalation Ask a doctor
(800 mL air, 0.4 to 0.150 mg of not more often than every 2 hours.”    in each nostril NMT q2h
levmetamfetamine)
Ephedrine, ephedrine            2 or 3 drops or sprays in each nostril (With adult supervision) 1 or 2 drops Consult a doctor
hydrochloride, and ephedrine no more often than q4h                    or sprays in each nostril no more
sulfate: Nasal Drops or Spray                                          often than q4h
(0.5% aqueous solution)
Ephedrine, ephedrine            “Adults and children 6 to under 12 years of age (with adult supervision):     NOT STATED
hydrochloride, and ephedrine place a small amount in each nostril and inhale well back into the nasal
sulfate: Nasal Jelly (0.5%      passages. Use not more often than every 4 hours.”
water-based jelly)
Naphazoline hydrochloride:      1 or 2 drops or sprays in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.5%      NMT q6h
aqueous solution)
Naphazoline hydrochloride:      --                                     (With adult supervision) 1 or 2 drops Consult a doctor
Nasal Drops or Spray (0.25%                                            or sprays in each nostril NMTq6h
aqueous solution)
Naphazoline hydrochloride       Place a small amount in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Jelly (0.5% water-based and inhale well back into the nasal
jelly)                          passages, NMT q6h
Naphazoline hydrochloride       --                                     (With adult supervision) Place a       Consult a doctor
Nasal Jelly (0.25% water-                                              small amount in each nostril and
based jelly)                                                           inhale well back into the nasal
                                                                       passages, not more often than q6h
Oxymetazoline hydrochloride “Adults and children 6 to under 12 years of age (with adult supervision): 2 or Consult a doctor
Nasal Spray or Drops (0.05% 3 drops or sprays in each nostril not more often than every 10 to 12 hours.
aqueous solution)               Do not exceed 2 doses in any 24-hour period.”
Oxymetazoline hydrochloride --                                                                                2 or 3 drops or sprays in each
(0.025% aqueous solution                                                                                      nostril not more often than q10-
delivered by calibrated dropper                                                                               12h, NTE 2 doses in any 24-hour
or metered-dose spray that                                                                                    period
delivers NMT 0.027 mg per 3
drops or 3 sprays)




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                                                                    OTC Dosage (No Professional Labeling)
                                Adults and Children
Ingredient                      12 Years and Older                     6-11 Years                             2-5 Years
Oxymetazoline hydrochloride     “Adults and children 6 to under 12 years of age (with adult supervision):     Consult a doctor
Nasal Jelly (0.05-percent       place a small amount in each nostril and inhale well back into the nasal
water-based jelly)              passages. Use not more often than every 10 to 12 hours. Do not exceed 2
                                doses in any 24-hour period.”
Phenylephrine hydrochloride     2 or 3 drops or sprays in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (1 %       NMT q4h
aqueous solution)
Phenylephrine hydrochloride     2 or 3 drops or sprays in each nostril   Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.5 %     NMT q4h
aqueous solution)
Phenylephrine hydrochloride     (With adult supervision) 2 or 3 drops or sprays in each nostril NMT q4h        Consult a doctor
(0.25% aqueous solution)
Phenylephrine hydrochloride     --                                       --                                     (With adult supervision) 2 or 3
(0.125% aqueous solution)                                                                                       drops or sprays in each nostril NMT
                                                                                                                q4h
Phenylephrine hydrochloride     Place a small amount in each nostril     Do not give to children under 12 years of age unless directed by a doctor
Nasal Jelly (1% water-based     and inhale well back into the nasal
jelly)                          passages, NMT q4h
Phenylephrine hydrochloride     Place a small amount in each nostril     Do not give to children under 12 years of age unless directed by a doctor
Nasal Jelly 0.5% water-based    and inhale well back into the nasal
jelly)                          passages, NMT q4h
Phenylephrine hydrochloride     --                                       (With adult supervision) place a small Consult a doctor
Nasal Jelly (0.25% water-                                                amount in each nostril and inhale
based jelly)                                                             well back into the nasal passages,
                                                                         NMT q4h
Propylhexedrine Inhalation      “Adults and children 6 to under 12 years of age (with adult supervision): 2     Consult a doctor
(800 mL air, 0.4 to 0.5 mg of   inhalations in each nostril not more often than every 2 hours.”
propylhexedrine)
Xylometazoline hydrochloride    2 or 3 drops or sprays in each nostril   Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.1%      NMT every 8 to 10 hours
aqueous solution)




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                                                                                 OTC Dosage (No Professional Labeling)
                                       Adults and Children
Ingredient                             12 Years and Older                             6-11 Years                            2-5 Years
Xylometazoline hydrochloride           --                                             (With adult supervision) 2 or 3 drops (With adult supervision) 2 or 3
(0.05% aqueous solution in a                                                          or sprays in each nostril NMT every 8 drops or sprays in each nostril NMT
container having either a                                                             to 10 hours, NTE 3 doses in any       every 8 to 10 hours, NTE 3 doses
calibrated dropper or a                                                               24-hour period                        in any 24-hour period
metered-dose spray that
delivers no more than
0.054 mg of xylometazoline
per 3 drops or 3 sprays)
Xylometazoline hydrochloride           Place a small amount in each nostril           Do not give to children under 12 years of age unless directed by a doctor.
Nasal Jelly (0.1% water-based          and inhale well back into the nasal
jelly)                                 passages, NMT every 8 to 10 hours
Xylometazoline hydrochloride           --                                             (With adult supervision) place a small Consult a doctor
Nasal Jelly (0.05% water-                                                             amount in each nostril and inhale
based jelly)                                                                          well back into the nasal passages,
                                                                                      NMT every 8 to 10 hours
Source: CCABA Monograph.
1
  This table presents only the dosing directions for each ingredient. Warnings and other labeling are NOT shown.
Abbreviations: CCABA, Cough, Cold, Allergy, Bronchodilator, and Antiasthma; OTC, over-the-counter; NTE, not to exceed; NMT, prn, as needed; not more than or not more often
than; 6-11y, 6 through 11 years (i.e., 6 to under 12 years); 2-5y, 2 through 5 years (i.e., 2 to under 6 years)




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Table 19. Permitted Cough/Cold Combinations in M012.85 (Previously 21 CFR 341.40)
                               Analgesic
M012.40                        Acetaminophen     Oral        Oral Nasal     Oral                        Oral         Local
Letter      Antihistamine      Aspirin/Antacid   Demulcent   Decongestant   Antitussive   Expectorant   Anesthetic   Antitussive   Other
a           x                  x
b           x                                                x
c           x                  x                             x
d           x                                                               x
e           x                                                x              x
f           x                  x                                            x
g           x                  x                             x              x
h                                                                           x             x
i                                                            x              x
j                                                            x              x             x
k                                                                           x                           x            x
l                              x                                            x
m                              x                             x              x
n                              x                             x              x             x
o                              x                                                          x
p                                                            x                            x
q                              x                             x                            x
r                              x                             x              x
s                                                            x                                          x
t                                                            x              x                           x            x
u                                                                                                                                  Camphor, menthol,
                                                                                                                                   eucalyptus ointment
v                                                                                                                                  Levmetamfetamine,
                                                                                                                                   camphor, menthol,
                                                                                                                                   methyl salicylate,
                                                                                                                                   lavender oil nasal
                                                                                                                                   inhaler
w                                                x                          x                                        x
x                                                x           x
y                                                x           x              x
z                                                x                          x                           x            x
aa                                               x           x                                          x
bb                                               x                          x                           x
Source: M012.40 (previously 21 CFR 341.40).




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                                                                        for the

                                                             Southern District of Ohio


 NEWTON'S PHARMACY,                      INC., individually and on
             behalf of those similarly situated,




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                                                                           eee
                                                                             ae
                               Plaintiff(s)
                                    V.                                            Civil Action No.

 PROCTER & GAMBLE COMPANY; KENVUE, INC.;
 MCNEIL CONSUMER HEALTHCARE; RECKITT &
 BENCKISER LLC; and GLAXOSMITHKLINE, LLC,




                                                                           ee
                              Defendant(s)


                                                        SUMMONS            Nee
                                                                      IN A CIVIL ACTION

To: (Defendant’s name and address)            Procter   & Gamble Company
                                              clo CT Corporation System
                                              4400 Easton Commons Way, Suite 125
                                              Columbus, OH 43219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:      Alyson S. Beridon (#87496)
                                              Herzfeld, Suetholz, Gastel, Leniski & Walll, PLLC
                                              600 Vine St., Ste 2720
                                              Cincinatti, OH 45202
                                              Ph: 513-381-2224
                                              Email: alyson@hsglawgroup.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT


Date:                 09/28/2023
                                                                                                  Signature of Clerk or Deputy Clerk
             Case:
         CaseCase: 1:23-cv-00613-DRCDocument
              1:23-md-03089-BMC
                   1:23-cv-00613-DRC Doc #:
                                     Doc #: 1-3
                                            1-3253-2
                                                 Filed: 09/28/23
                                                 Filed: 09/28/23  Page: 2
                                                         Filed 11/15/24
                                                                  Page: 2 of
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                                                                                 120 of 129 119
                                                                                         #: 119
                                                                                             PageID
                                                #: 4502
AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)
                                                                        A-1299
 Civil Action No.


                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons          for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                        on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                         , aperson of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                             > Or

           O I returned the summons unexecuted because                                                                                      5 Or

           1 Other (specify):




           My fees are $                               for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                      Server’s address


 Additional information regarding attempted service, etc:
            Case:
        CaseCase: 1:23-cv-00613-DRCDocument
             1:23-md-03089-BMC
                  1:23-cv-00613-DRC Doc #:
                                    Doc #: 1-4
                                           1-4253-2
                                                Filed: 09/28/23
                                                Filed: 09/28/23  Page: 1
                                                        Filed 11/15/24
                                                                 Page: 1 of
                                                                         ofPage
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                                                                                121 of 129 120
                                                                                        #: 120
                                                                                            PageID
                                               #: 4503
AO 440 (Rev. 06/12)    Summons in a Civil Action
                                                                     A-1300
                                           UNITED STATES DISTRICT COURT
                                                                       for the

                                                            Southern District of Ohio


 NEWTON'S PHARMACY,                      INC., individually and on
             behalf of those similarly situated,




                                                                          SS
                                                                          eee
                                                                            ae
                               Plaintiff(s)
                                   Vv.                                           Civil Action No.

 PROCTER & GAMBLE COMPANY; KENVUE, INC.;
 MCNEIL CONSUMER HEALTHCARE; RECKITT &
 BENCKISER LLC; and GLAXOSMITHKLINE, LLC,




                                                                          ee
                              Defendant(s)


                                                        SUMMONS           Nee
                                                                     IN A CIVIL ACTION

To: (Defendant’s name and address)            Kenvue, Inc.
                                              c/o The Corporation Trust Company
                                              Corporation Trust Center 1209 Orange St
                                              Wilmington, DE 19801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:      Alyson S. Beridon (#87496)
                                              Herzfeld, Suetholz, Gastel, Leniski & Walll, PLLC
                                              600 Vine St., Ste 2720
                                              Cincinatti, OH 45202
                                              Ph: 513-381-2224
                                              Email: alyson@hsglawgroup.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:                 09/28/2023
                                                                                                  Signature of Clerk or Deputy Clerk
             Case:
         CaseCase: 1:23-cv-00613-DRCDocument
              1:23-md-03089-BMC
                   1:23-cv-00613-DRC Doc #:
                                     Doc #: 1-4
                                            1-4253-2
                                                 Filed: 09/28/23
                                                 Filed: 09/28/23  Page: 2
                                                         Filed 11/15/24
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                                                                                         #: 121
                                                                                             PageID
                                                #: 4504
AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)
                                                                        A-1301
 Civil Action No.


                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons          for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                        on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                         , aperson of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                             > Or

           O IT returned the summons unexecuted because                                                                                     5 Or

           1 Other (specify):




           My fees are $                               for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                      Server’s address


 Additional information regarding attempted service, etc:
            Case:
        CaseCase: 1:23-cv-00613-DRCDocument
             1:23-md-03089-BMC
                  1:23-cv-00613-DRC Doc #:
                                    Doc #: 1-5
                                           1-5253-2
                                                Filed: 09/28/23
                                                Filed: 09/28/23  Page: 1
                                                        Filed 11/15/24
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                                                                                123 of 129 122
                                                                                        #: 122
                                                                                            PageID
                                               #: 4505
AO 440 (Rev. 06/12)    Summons in a Civil Action
                                                                     A-1302
                                           UNITED STATES DISTRICT COURT
                                                                       for the

                                                            Southern District of Ohio


 NEWTON'S PHARMACY,                      INC., individually and on
             behalf of those similarly situated,




                                                                          SS
                                                                          eee
                                                                            ae
                               Plaintiff(s)
                                    V.                                           Civil Action No.

 PROCTER & GAMBLE COMPANY; KENVUE, INC.;
 MCNEIL CONSUMER HEALTHCARE; RECKITT &
 BENCKISER LLC; and GLAXOSMITHKLINE, LLC,




                                                                          ee
                              Defendant(s)


                                                        SUMMONS           Nee
                                                                     IN A CIVIL ACTION

To: (Defendant’s name and address)            McNeil Consumer Healthcare
                                              c/o The Corporation Trust Company
                                              Corporation Trust Center 1209 Orange St
                                              Wilmington, DE 19801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:      Alyson S. Beridon (#87496)
                                              Herzfeld, Suetholz, Gastel, Leniski & Walll, PLLC
                                              600 Vine St., Ste 2720
                                              Cincinatti, OH 45202
                                              Ph: 513-381-2224
                                              Email: alyson@hsglawgroup.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:                 09/28/2023
                                                                                                  Signature of Clerk or Deputy Clerk
             Case:
         CaseCase: 1:23-cv-00613-DRCDocument
              1:23-md-03089-BMC
                   1:23-cv-00613-DRC Doc #:
                                     Doc #: 1-5
                                            1-5253-2
                                                 Filed: 09/28/23
                                                 Filed: 09/28/23  Page: 2
                                                         Filed 11/15/24
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                                                                                             PageID
                                                #: 4506
AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)
                                                                        A-1303
 Civil Action No.


                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons          for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                        on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                         , aperson of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                             > Or

           O I returned the summons unexecuted because                                                                                      5 Or

           1 Other (specify):




           My fees are $                               for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                      Server’s address


 Additional information regarding attempted service, etc:
            Case:
        CaseCase: 1:23-cv-00613-DRCDocument
             1:23-md-03089-BMC
                  1:23-cv-00613-DRC Doc #:
                                    Doc #: 1-6
                                           1-6253-2
                                                Filed: 09/28/23
                                                Filed: 09/28/23  Page: 1
                                                        Filed 11/15/24
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                                                                                125 of 129 124
                                                                                        #: 124
                                                                                            PageID
                                               #: 4507
AO 440 (Rev. 06/12)    Summons in a Civil Action
                                                                     A-1304
                                           UNITED STATES DISTRICT COURT
                                                                           for the

                                                              Southern District of Ohio


 NEWTON'S PHARMACY,                      INC., individually and on
             behalf of those similarly situated,




                                                                             SS
                                                                             eee
                                                                               ae
                               Plaintiff(s)
                                    V.                                               Civil Action No.

 PROCTER & GAMBLE COMPANY; KENVUE, INC.;
 MCNEIL CONSUMER HEALTHCARE; RECKITT &
 BENCKISER LLC; and GLAXOSMITHKLINE, LLC,




                                                                             ee
                              Defendant(s)


                                                         SUMMONS             Nee
                                                                          IN A CIVIL ACTION

To: (Defendant’s name and address)            Reckitt   & Benckiser LLC
                                              c/o Corporation Service Company
                                              3366 Riverside Drive, Suite 103
                                              Upper Arlington, OH 43221




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:      Alyson S. Beridon (#87496)
                                              Herzfeld, Suetholz, Gastel, Leniski & Walll, PLLC
                                              600 Vine St., Ste 2720
                                              Cincinatti, OH 45202
                                              Ph: 513-381-2224
                                              Email: alyson@hsglawgroup.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                        CLERK OF COURT


Date:                 09/28/2023
                                                                                                   Signature of Clerk or Deputy Clerk
             Case:
         CaseCase: 1:23-cv-00613-DRCDocument
              1:23-md-03089-BMC
                   1:23-cv-00613-DRC Doc #:
                                     Doc #: 1-6
                                            1-6253-2
                                                 Filed: 09/28/23
                                                 Filed: 09/28/23  Page: 2
                                                         Filed 11/15/24
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                                                                                         #: 125
                                                                                             PageID
                                                #: 4508
AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)
                                                                        A-1305
 Civil Action No.


                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons          for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                        on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                         , aperson of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                             > Or

           O I returned the summons unexecuted because                                                                                      5 Or

           1 Other (specify):




           My fees are $                               for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                      Server’s address


 Additional information regarding attempted service, etc:
            Case:
        CaseCase: 1:23-cv-00613-DRCDocument
             1:23-md-03089-BMC
                  1:23-cv-00613-DRC Doc #:
                                    Doc #: 1-7
                                           1-7253-2
                                                Filed: 09/28/23
                                                Filed: 09/28/23  Page: 1
                                                        Filed 11/15/24
                                                                 Page: 1 of
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                                                                                127 of 129 126
                                                                                        #: 126
                                                                                            PageID
                                               #: 4509
AO 440 (Rev. 06/12)    Summons in a Civil Action
                                                                     A-1306
                                           UNITED STATES DISTRICT COURT
                                                                       for the

                                                            Southern District of Ohio


 NEWTON'S PHARMACY,                      INC., individually and on
             behalf of those similarly situated,




                                                                          SS
                                                                          eee
                                                                            ae
                               Plaintiff(s)
                                   Vv.                                           Civil Action No.

 PROCTER & GAMBLE COMPANY; KENVUE, INC.;
  MCNEIL CONSUMER HEALTHCARE; RECKITT
 BENCKISER LLC; and GLAXOSMITHKLINE, LLC,




                                                                          ee
                              Defendant(s)


                                                        SUMMONS           Nee
                                                                     IN A CIVIL ACTION

To: (Defendant’s name and address)            Glaxosmithkline, LLC
                                              c/o Corporation Service Company
                                              3366 Riverside Drive, Suite 103
                                              Upper Arlington, OH 43221




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:      Alyson S. Beridon (#87496)
                                              Herzfeld, Suetholz, Gastel, Leniski & Walll, PLLC
                                              600 Vine St., Ste 2720
                                              Cincinatti, OH 45202
                                              Ph: 513-381-2224
                                              Email: alyson@hsglawgroup.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:                 09/28/2023
                                                                                                  Signature of Clerk or Deputy Clerk
             Case:
         CaseCase: 1:23-cv-00613-DRCDocument
              1:23-md-03089-BMC
                   1:23-cv-00613-DRC Doc #:
                                     Doc #: 1-7
                                            1-7253-2
                                                 Filed: 09/28/23
                                                 Filed: 09/28/23  Page: 2
                                                         Filed 11/15/24
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                                                                                         #: 127
                                                                                             PageID
                                                #: 4510
AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)
                                                                        A-1307
 Civil Action No.


                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons          for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                        on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                         , aperson of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                        on (date)                             > Or

           O I returned the summons unexecuted because                                                                                      5 Or

           1 Other (specify):




           My fees are $                               for travel and $                      for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                      Server’s address


 Additional information regarding attempted service, etc:
    Case:
CaseCase: 1:23-cv-00613-DRCDocument
     1:23-md-03089-BMC
          1:23-cv-00613-DRC Doc #:
                            Doc #: 1-8
                                   1-8253-2
                                        Filed: 09/28/23
                                        Filed: 09/28/23  Page: 1
                                                Filed 11/15/24
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                                                                        129 of 129 128
                                                                                #: 128
                                                                                    PageID
                                       #: 4511
                                                      A-1308

                                  THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION


  NEWTON'S PHARMACY,             INC., individ              .    Case No.
                                                                 Judge:
                  v.                                        :    Corporate Disclosure Statement

  PROCTER & GAMBLE          COMPANY; KE


          Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
 governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
 statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
 held company that “controls, is controlled by, or is under common control with a publicly controlled
 corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
 pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
 throughout the pendency of this case.

         In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

         Newton's Pharmacy, Inc.

  1.     Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

              YES         YY NO

         If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
         and the relationship between it and the named party:




 2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
         outcome?

              YES          Y_    NO

         If the answer is YES, list the identity of such corporation and the nature of the financial interest.




         /s/ Alyson S. Beridon                                              09/28/2023
         Signature of Counsel                                               Date


                                                 “Certificate of Service”

               COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                     TO UPDATE AND SUPPLEMENT THIS STATEMENT
Case 1:23-md-03089-BMC
Case 1:23-md-03089-BMC   Document 253-3
                         Document 253-3   Filed 11/15/24
                                          Filed 11/15/24   Page 1
                                                           Page 1 of
                                                                  of 5
                                                                     5 PageID
                                                                       PagelD #:
                                                                              #:
                                   4512
                                   4512
                                A-1309




                     EXHIBITB
                     EXHIBIT B
Case
   Case:
     1:23-md-03089-BMC
         1:23-cv-00613-DRCDocument
                           Doc #: 11 253-3
                                     Filed: 12/18/23
                                              Filed 11/15/24
                                                     Page: 1 of Page
                                                                4 PAGEID
                                                                     2 of 5 #:
                                                                            PageID
                                                                               155 #:
                                      4513
                                               A-1310
                                     UNITED STATES JUDICIAL PANEL
                                                  on
                                      MULTIDISTRICT LITIGATION



  IN RE: ORAL PHENYLEPHRINE MARKETING AND
  SALES PRACTICES LITIGATION                                                                       MDL No. 3089



                                         (SEE ATTACHED SCHEDULE)



                               CONDITIONAL TRANSFER ORDER (CTO −1)



  On December 6, 2023, the Panel transferred 8 civil action(s) to the United States District Court for the
  Eastern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
  1407. See _F.Supp.3d_ (J.P.M.L. 2023). Since that time, no additional action(s) have been transferred to the
  Eastern District of New York. With the consent of that court, all such actions have been assigned to the
  Honorable Brian M. Cogan.

  It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
  actions previously transferred to the Eastern District of New York and assigned to Judge Cogan.

  Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
  the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of New
  York for the reasons stated in the order of December 6, 2023, and, with the consent of that court, assigned to
  the Honorable Brian M. Cogan.

  This order does not become effective until it is filed in the Office of the Clerk of the United States District
  Court for the Eastern District of New York. The transmittal of this order to said Clerk shall be stayed 7 days
  from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
  period, the stay will be continued until further order of the Panel.



                                                             FOR THE PANEL:

                         Dec 15, 2023

                                                             Tiffaney D. Pete
                                                             Clerk of the Panel
Case
   Case:
     1:23-md-03089-BMC
         1:23-cv-00613-DRCDocument
                           Doc #: 11 253-3
                                     Filed: 12/18/23
                                              Filed 11/15/24
                                                     Page: 2 of Page
                                                                4 PAGEID
                                                                     3 of 5 #:
                                                                            PageID
                                                                               156 #:
                                      4514
                                     A-1311


  IN RE: ORAL PHENYLEPHRINE MARKETING AND
  SALES PRACTICES LITIGATION                                                         MDL No. 3089



                         SCHEDULE CTO−1 − TAG−ALONG ACTIONS



     DIST      DIV.       C.A.NO.       CASE CAPTION


  ARIZONA

                                        Bader et al v. Johnson & Johnson Consumer Incorporated et
      AZ         2        23−02108      al

  ARKANSAS WESTERN

     ARW         5        23−05165      Holmes v. WalMart, Inc.

  CALIFORNIA NORTHERN

     CAN         3        23−04807      Jones v. Reckitt Benckiser Pharmaceuticals, Inc. et al
     CAN         3        23−04817      Hernandez v. Johnson & Johnson Consumer, Inc.
     CAN         3        23−04909      Taylor et al v. Procter & Gamble Company
     CAN         3        23−05466      Hansen et al v. Walmart, Inc.
     CAN         3        23−05715      Enriquez v. The Procter & Gamble Company et al
     CAN         4        23−04875      Nelson et al v. Johnson & Johnson Consumer, Inc.et al
                                        McPhee et al v. Johnson & Johnson Consumer Companies,
     CAN         4        23−05128      Inc. et al
     CAN         4        23−05367      Flores v. Costco Wholesale Corporation

  FLORIDA MIDDLE

     FLM         8        23−02226      Rampalli v. Publix Super Markets, Inc.

  FLORIDA NORTHERN

     FLN         3        23−24588      GRIMSLEY v. RECKITT BENCKISER LLC
     FLN         3        23−24628      MORGAN v. PROCTER & GAMBLE

  FLORIDA SOUTHERN

      FLS        1        23−23939      Valdes v. McNeil Consumer Healthcare et al
      FLS        1        23−24112      Silva v. Reckitt Benckiser LLC et al

  ILLINOIS NORTHERN

                                        NOVISKIS v. JOHNSON & JOHNSON CONSUMER INC.
      ILN        1        23−13926      et al
      ILN        1        23−14015      Rampalli v. Walgreen Co.
      ILN        1        23−14060      De Priest et al v. Walgreen Co. et al
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      ILN        1        23−14155   A-1312
                                       Cohen et al v. Walgreens Boots Alliance, Inc.
      ILN        1        23−14404       Hsieh et al. v. Procter & Gamble Company et al.
      ILN        1        23−14558       Derosa v. Walgreen Co.

  ILLINOIS SOUTHERN

      ILS        3        23−03494       Means v. Johnson & Johnson Consumer Inc.

  KANSAS

      KS         2        23−02426       Nyanjom v. Reckitt Benckiser LLC et al
      KS         2        23−02430       Fong v. Johnson & Johnson Consumer Inc. et al

  LOUISIANA EASTERN

     LAE         2        23−05846       Murdock et al v. RB Health (US), LLC et al

  MARYLAND

      MD         8        23−02864       Rankin v. Harris Teeter, LLC et al

  MINNESOTA

      MN         0        23−02915       Rampalli v. Target Corporation
      MN         0        23−03471       Etten v. Johnson & Johnson Consumer, Inc. et al Vacated 12/15/23

  MISSOURI EASTERN

     MOE         4        23−01342       Heaghney v. Johnson & Johnson Consumer Inc. et al

  MISSOURI WESTERN

     MOW         2        23−04200       Isom v. Johnson & Johnson Consumer Inc. et al
     MOW         4        23−00663       Walker v. Johnson & Johnson Consumer Inc. et al
     MOW         5        23−06120       Wright v. Johnson & Johnson Consumer Inc. et al

  NEW JERSEY

                                         REINKRAUT v. JOHNSON & JOHNSON CONSUMER,
      NJ         2        23−20444       INC. et al
      NJ         2        23−20480       KLEIMAN v. BAYER HEALTH CARE, LLC
      NJ         2        23−20529       SCOFFIER v. RB HEALTH (US) LLC
      NJ         2        23−20552       STRIEGEL v. RB HEALTH (US) LLC
      NJ         2        23−20962       PAGE v. RB HEALTH (US) LLC et al
                                         ADKINS et al v. RECKITT BENCKISER
      NJ         2        23−21051       PHARMACEUTICALS INC. et al
      NJ         2        23−21090       SYGAL et al v. RB HEALTH (US) LLC
      NJ         2        23−21126       LEE et al v. THE PROCTER & GAMBLE COMPANY et al
      NJ         2        23−21163       SANES et al v. BAYER HEALTHCARE LLC
                                         WILSON v. JOHNSON & JOHNSON CONSUMER, INC. et
      NJ         2        23−21276       al
      NJ         2        23−21411       JONES v. BAYER CORPORATION et al
      NJ         3        23−20478       ROURK v. HALEON, PLC
                                         LAWRENCE v. JOHNSON & JOHNSON CONSUMER,
      NJ         3        23−20551       INC.
      NJ         3        23−20558       JOYNER v. JOHNSON & JOHNSON CONSUMER, INC.
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                                       Lewis et al v. JOHNSON & JOHNSON CONSUMER , INC.
      NJ         3        23−20816      et al
      NJ         3        23−20818      WARD et al v. JOHNSON & JOHNSON CONSUMER INC
      NJ         3        23−20895      THOMAS et al v. KENVUE, INC. et al

  NEW MEXICO

      NM         1        23−00883      Chavez v. Johnson & Johnson Consumer, Inc. et al

  OHIO SOUTHERN

     OHS         1        23−00590      Kleiman v. Procter and Gamble Company
     OHS         1        23−00607      Travis v. Procter & Gamble Company et al
     OHS         1        23−00613      Newton's Pharmacy, Inc. v. Procter & Gamble Company et al
     OHS         1        23−00623      Reyes v. The Procter & Gamble Company et al
     OHS         1        23−00680      Vent v. The Procter & Gamble Company

  OREGON

      OR         3        23−01355      Thorns et al v. Johnson & Johnson et al

  PENNSYLVANIA EASTERN

     PAE         2        23−03663      PARKER v. RITE AID CORPORATION et al
     PAE         2        23−03783      KASPARIE et al v. BAYER HEALTHCARE LLC et al
     PAE         2        23−03856      BENJAMIN et al v. GLAXOSMITHKLINE LLC et al
                                        EMMONS et al v. MCNEILL CONSUMER HEALTHCARE
     PAE         2        23−03874      et al
                                        ANDERSON et al v. THE PROCTER & GAMBLE
     PAE         2        23−03899      COMPANY et al
                                        CHAMBERLAIN v. JOHNSON & JOHNSON CONSUMER
     PAE         2        23−04435      INC et al

  RHODE ISLAND

      RI         1        23−00403      Emily Cohen v. CVS Pharmacy, Inc.

  SOUTH CAROLINA

      SC         2        23−04727      Kleiman v. CVS Health Corporation

  WASHINGTON WESTERN

     WAW         2        23−01481      Carrigan v. Johnson & Johnson et al
     WAW         2        23−01606      Thompson v. Reckitt Benckiser LLC
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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


   IN RE: ORAL PHENYLEPHRINE
   MARKETING AND SALES PRACTICES
   LITIGATION                                          MDL No. 3089
                                                       Case No. 1:23-md-03089-BMC
   THIS DOCUMENT APPLIES TO:

   Newton’s Pharmacy, Inc. v. Proctor &
   Gamble Company, et al.

   CASE NO. 1:23-CV-09307-BMC



            PLAINTIFF NEWTON’S PHARMACY, INC.’S NOTICE OF APPEAL


         Pursuant to Fed. R. App. P. 3(c)(1) and Fed. R. App. P. 4(a), Plaintiff Newton’s Pharmacy,

  Inc., hereby notices its appeal to the United States Court of Appeals for the Second Circuit from

  the District (Eastern District of New York) Court’s Orders dated November 12, 2024, dismissing

  with prejudice all claims in the complaints transferred into the master docket (Dkt. 252) and dated

  December 13, 2024 denying its Motion for Partial Relief from this Court’s November 12, 2024,

  Order Entering Judgment Pursuant to Fed. R. Civ. P. 60(b) and for Remand of its Lanham Act

  Claim to the Southern District of Ohio (Dkt. 259).



  DATE: January 10, 2025.                      Respectfully submitted,

                                               /s/ Alyson S. Beridon______________
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 10, 2025, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system which will send notification of such filing

  to all attorneys of record.

                                                /s/ Alyson S. Beridon
                                                Alyson S. Beridon




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